         EXHIBIT B




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              4,                         DECLARATIONS
                                         HISCOX INSURANCE COMPANY INC. (A Stock Company)
    HISCOX                               104 South Michigan Avenue, Suite 600, Chicago, IL 60603
                                         (646) 452-2353
NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.
    About This Policy: This is a Claims-Made Policy, coverage is limited to those Claims first made during the Policy Period
    or any applicable Discovery Period.

    The Insurer does not assume a duty to defend unless expressly provided for in a Coverage Part. When the Insurer does
    not assume the duty to defend it will advance defense costs in excess of the applicable Retention, subject to the terms
    of this Policy. Defense Costs are included within, serve to reduce and may completely exhaust the applicable Limits of
    Liability. Defense Costs shall also reduce the applicable Retention.

    Please review this Policy carefully and discuss its terms, conditions and exclusions with your insurance broker or

    Broker No.:         US 0000425                                Marsh USA Inc
    Policy No.:         UVA1901769.17                             1166 Avenue of the Americas
                                                                  New York, New York 10036-2774
    Renewal of:         New
    Private Company Management Liability Policy
    1.      Named Entity:                    Rochester Drug Cooperative, Inc.

            Address:                         50 ]etview Dr
                                             Rochester, New York 14624-4900

    2.      Policy period:                   Inception date:     03/08/2017                 Expiration date:   03/08/2016

                                             Both dates at 12:01 A.M. (Standard lime) at the address of the Named Entity.

    3.      Policy Aggregate Limit of        $15,000,000
    4.      Coverage Summary
            Coverage Part                 Coverage Part        Separate Limit   Retention         Continuity        Premium
                                          Limit of Liability   or Shared                          Date
                                                               Limit

            Directors & Officers              $   5,000,000    Separate            $ 25,000        03/08/07     $
            Liability (DO)

                                                               Separate
            Employment Practices              $ 5,000,000                          $ 25,000        03/08/07     $
            Liability (EPLI)

            Fiduciary Liability(FLI)          $ 5,000,000      Separate                     $0     03/08/07         $


            Employed Lawyers                            N/A
            Liability (ELAW)

            It “N/A” appears in the Coverage Part Limit of Liability column for any of the above Coverage Parts, such
            Coverage Part was not purchased and no coverage is provided under this Policy with respect to this
            Coverage Part.



    5.      Total Premium:

            Premium attributed to TRIA

    6(a)    Reputation Loss Limit:
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 6(b)    Derivative Demand Limit:      $ 250000
 6(c)    Additional Executive Limit:   $ 500,000

 6(d)    Voluntary Comp. Loss Limit:   $ 100,000                                                                           I
 •
         Notice of Claim to:           Hiscox I Management Liability Claims do Christopher McNulty
                                       520 Madison Avenue, 32nd Floor New York, NY 10022
                                       Fax 212-922-9652 I Email d&oclaims@hiscox.com
                                           -                      -




 8.      Attachments:                   (1) E4132.1. New York Amendatory Endorsement
                                        (2) E9997.4. Policyholder Disclosure Notice of Terrorism Insurance Coverage
                                        (3) E7002.2. Coverage Amendatory Endorsement
                                        (4) E3840. 1. Specific Claim/Investigation Exclusion
                                        (5) E3943.1. Bodily Injury/Property Damage Exclusion (Absolute)
                                        (6) E3837.1. Reliance on Other Carriers Application
                                        (7) E999.2. Antitrust Exclusion (Applicable to all Coverages)
                                        (8) E4214.1. Amend Insured vs. Insured Exclusion Endorsement (Creditor Co
                                        (9) E3958.2. Extradition Costs Coverage Endorsement [D&OJ
                                        (10) E4222.1. TCPA Defense Costs Endorsement tD&O]
                                        (11) E4221.1. WARN Act Defense Costs Endorsement
                                        (12) E3959.2. Immigration Proceeding Coverage [D&O]
                                        (13) E4238.1. Amend Public Offering Exclusion (Road Show Carveback) [D&O]
                                        (14) E4213.1. Retention Reduction Incentive Endorsement (90/10) [EPLI]
                                        (15) E4227.1. Workplace Violence Extension Endorsement
                                        (16) E3822.1. Nuclear Energy Exclusion
                                        (17) E4201.2. Defense Costs Outside Limit (Capped Lower than Coverage Part
                                        (18) E998.2. Patient Protection and Affordable Care Act Penalties Sublimi


 IN WITNESS WHEREOF, the Insurer indicated above has caused this Policy to be signed by its President and Secretary, but this
 Policy shall not be effective unless also signed by our duly authorized representative.




President




Secretary




        Gqifr
Authorized Representative

103/06/2017
Date




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                          Private Company Management Liability Insurance Policy
                          General Terms and Conditions

                          In consideration of the premium charged, and in reliance upon the statements made by
                          the Insureds in the Application, which forms a part of this Policy, the Insurer agrees as
                          follows:


I. Terms and Conditions   Except for the terms and conditions appearing in these General Terms and Conditions,
                          the terms and conditions of each Coverage Part shall only apply to that particular
                          Coverage Part and in no way shall be construed to apply to any other Coverage Part. If
                          any provision in these General Terms and Conditions is inconsistent or in conflict with
                          the terms and conditions of any Coverage Part, then any defined term referenced in
                          these General Terms and Conditions but defined in a Coverage Part shall, for
                          purposes of coverage under that Coverage Part, have the meaning set forth in that
                          Coverage Part.


N. Definitions            A.    Affiliate means any:
                                (i)      entity, other than a Subsidiary, which the Named Entity or any
                                         Subsidiary controls or otherwise has the ability to direct the financial or
                                         managerial decisions of such entity, whether through the operation of law,
                                         oral or written contract or agreement, membership, charter, articles of
                                         incorporation or by-law provisions; or
                                (ii)     entity, other than a Subsidiary, which is granted by oral or written contract
                                         the right to control the financial or managerial decisions of the Named
                                         Entity or any Subsidiary;
                                provided, however, such coverage as may be provided under this Policy for any
                                entity described in subparagraphs (i) and (ii) of this Definition shall be limited
                                solely to Wrongful Acts occurring in the course of the exercise of such control of
                                financial or managerial decisions.
                          B.    Application means the signed application for the Policy, including any
                                attachments and other materials or information submitted in conjunction with the
                                signed application. The Application shall be deemed attached to and part of this
                                Policy. If this Policy is a renewal or replacement of a previous policy or policies
                                issued by the Insurer, all signed applications and other materials that were
                                attached to and part of those previous policies shall also be considered part of the
                                Application for this Policy. With respect to the FLI Coverage Part (if purchased),
                                Application shall also mean any public documents filed by the Named Entity or
                                any Subsidiary with any federal, state, local or foreign regulatory agency.
                          C.    Company means: (1) the Named Entity; (2) any Subsidiary thereof; and (3) any
                                Affiliate thereof listed by endorsement to this Policy, but solely with respect to the
                                Coverage Part(s) indicated on such endorsement. In the event a bankruptcy
                                proceeding shall be instituted by or against a Company, the term Company shall
                                also mean the resulting debtor-in-possession (or equivalent status outside the
                                United States of America), if any, but only for acts on behalf of a Company.
                                Company does not include and coverage shall not extend under any Coverage
                                Part for any Subsidiary or Affiliate, or an Individual Insured of such Subsidiary
                                or Affiliate, for any Wrongful Act committed, attempted, or allegedly committed
                                or attempted, during any time when such entity was not a Subsidiary or Affiliate.

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                D.   Continuity Date means the date set forth in Item 4. of the Declarations (or
                     Management Liability Supplemental Declarations if issued as a package policy) as
                     applicable for each Coverage Part purchased.
                E.   Coverage Part means each Coverage Part that is purchased by the Insured as
                     set forth in Item 4. of the Declarations (or Management Liability Supplemental
                     Declarations if issued as a package policy).
                F.   Coverage Part Limit of Liability means the Coverage Part Limit of Liability set
                     forth in Item 4. of the Declarations (or Management Liability Supplemental
                     Declarations if issued as a package policy).
                G.   Discovery Period means Discovery Period as that term is defined in Clause
                     VIII. of these General Terms and Conditions and as set forth by endorsement to
                     this Policy.
                H.   Domestic Partner means a person legally recognized as a domestic or civil union
                     partner under the provisions of any applicable federal, state or local law or under
                     the provisions of any formal program established by a Company.
                I.   Full Annual Premium means:
                     (i)    with regard to a canceled or non-renewed policy, the total annual premium
                            charged for this Policy; or
                     (ii)   with regard to a canceled or non-renewed Coverage Part, the total annual
                            premium charged for such Coverage Part.
                J.   Insurer means the insurance company set forth in the Declarations.
                K.   Limit of Liability means any and all of the following (including any sublimit made
                     part thereof) as applicable to this Policy and Coverage Part thereof: (i) the Policy
                     Aggregate Limit of Liability; (ii) each Coverage Part Limit of Liability; (iii) the
                     Shared Limit(s) of Liability; and (iv) each Separate Limit of Liability.
                L.   Management Control means: (i) owning interests representing more than fifty
                     percent (50%) of the voting, appointment or designation power for the selection of
                     a majority of: the board of directors of a corporation, the management committee
                     members of a joint venture or partnership, or the members of the management
                     board of a limited liability company; or (ii) having the right, pursuant to written
                     contract or the by-laws, charter, operating agreement or similar documents of a
                     Company, to elect, appoint or designate a majority of: the board of directors of a
                     corporation, the management committee of a joint venture or partnership, or the
                     management board of a limited liability company.
                M.   Named Entity means the entity set forth in Item 1. of the Declarations.
                N.   Policy Aggregate Limit of Liability means the Policy Aggregate Limit of
                     Liability set forth in Item 3. of the Declarations (or Management Liability
                     Supplemental Declarations if issued as a package policy).
                0.   Policy Period means the period of time from the inception date set forth in Item 2.
                     of the Declarations to the earlier of the expiration date set forth in Item 2. of the
                     Declarations or the effective date of cancellation of this Policy.
                P.   Related Wrongful Act(s) means Wrongful Act(s) which are the same, repeated
                     or continuous, or Wrongful Act(s) which arise from a common causal connection

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                               or cause the same or related damages, or a common nexus or nucleus of facts.
                               Claims can allege Related Wrongful Act(s) regardless of whether such Claims
                               involve the same or different claimants, Insureds or legal causes of action.
                         Q.    Separate Limit of Liability means the applicable Separate Limit of Liability (to
                               the extent elected for a Coverage Part) set forth in Item 4. of the Declarations (or
                               Management Liability Supplemental Declarations if issued as a package policy).
                         R.    Shared Limit of Liability means the Shared Limit of Liability (to the extent
                               elected for a Coverage Part) set forth in Item 4. of the Declarations (or
                               Management Liability Supplemental Declarations if issued as a package policy).
                         S.    Subsidiary means:
                               (i)      any for-profit entity, whose securities are not publicly traded, of which the
                                        Named Entity has or had Management Control (Controlled Entity”)
                                        either directly or indirectly through one or more other Controlled Entities;
                                        and
                               (ii)     any not-for-profit entity under section 501 (c)(3) of the Internal Revenue
                                        Code of 1986 (as amended) sponsored exclusively by a Company.
                               Notwithstanding the foregoing, coverage afforded under this Policy with respect to
                               a Claim made against any Subsidiary or any Individual Insureds thereof shall
                               only apply for Wrongful Acts committed or allegedly committed after the effective
                               time that the Named Entity obtained Management Control of such Subsidiary
                               and prior to the time that such Named Entity ceased to have Management
                               Control of such Subsidiary.
                         T.    Wrongful Act shall have the same meaning set forth in each applicable
                               Coverage Part.


Ill. Spouses, Estates,   Subject otherwise to the terms, conditions and limitations of these General Terms and
     and Legal           Conditions and any applicable Coverage Part, coverage shall extend to Loss arising
     Representatives     from any Claim for the Wrongful Acts of an Individual Insured made against:
                         A.    the estates, heirs or legal representatives of deceased Individual Insureds, and
                               the legal representatives of Individual Insureds in the event of such Individual
                               Insured’s incompetency, insolvency or bankruptcy, provided such persons were
                               Individual Insureds at the time the Wrongful Acts upon which such Claims are
                               based were committed; or
                         B.    the lawful spouse (whether such status is derived by reason of statutory law,
                               common law or otherwise of any applicable jurisdiction in the world) or Domestic
                               Partner of an Individual Insured for all Claims arising solely out of his or her
                               status as the spouse or Domestic Partner of an Individual Insured, including a
                               Claim that seeks damages recoverable from marital community property, property
                               jointly held by the Individual Insured and the spouse or Domestic Partner, or
                               property transferred from the Individual Insured to the spouse or Domestic
                               Partner; provided, however, this extension shall not afford coverage for any
                               Claim for any actual or alleged Wrongful Act of the spouse or Domestic
                               Partner, subject to the Policy’s terms, conditions and Exclusions.



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IV. Limits of Liability   Regardless of the number of Claims made during the Policy Period or Discovery
                          Period (if applicable), or any Claim deemed to be made during the Policy Period or
                          Discovery Period pursuant to Clause VI.B. or VI.C., the maximum the Insurer shall be
                          liable to pay for all covered Loss (including Defense Costs) under this Policy shall be
                          as follows:
                          A.    The Policy Aggregate Limit of Liability shall be the maximum amount for all
                                Loss under the Policy for any and all Coverage Parts.
                          B.    The Coverage Part Limit of Liability shall be the maximum amount for all Loss
                                under the respective Coverage Part for which such amount is designated.
                                Subject to subparagraphs C. or D. below, a Coverage Part Limit of Liability may
                                either be a Shared Limit of Liability or a Separate Limit of Liability, depending
                                upon how designated in Item 4. of the Declarations (or Management Liability
                                Supplemental Declarations if issued as a package policy).
                          C.    With respect to each Coverage Part Limit of Liability designated in Item 4. of
                                the Declarations (or Management Liability Supplemental Declarations if issued as
                                a package policy) as part of a Shared Limit of Liability:
                                The Shared Limit of Liability shall be the maximum amount for all Loss under
                                any and all Coverage Parts set forth in Item 4. of the Declarations (or
                                Management Liability Supplemental Declarations if issued as a package policy) as
                                part thereof, regardless of any amounts remaining under a participating Coverage
                                Part Limit of Liability. The Shared Limit of Liability shall be part of, and not in
                                addition to, the Policy Aggregate Limit of Liability.
                          D.    With respect to each Coverage Part Limit of Liability designated in Item 4. of
                                the Declarations (or Management Liability Supplemental Declarations if issued as
                                a package policy) as a Separate Limit of Liability:
                                The Separate Limit of Liability shall be the maximum amount for all Loss under
                                the respective Coverage Part for which such amount is designated. The
                                Separate Limit of Liability shall be part of, and not in addition to, the Policy
                                Aggregate Limit of Liability.


V. Retention              The Retentions set forth in the Declarations are separate Retentions pertaining only to
                          the applicable Coverage Part for which they are set forth in the Declarations. The
                          application of a Retention under one Coverage Part shall not reduce the Retention
                          under any other Coverage Part.
                          In the event a Claim triggers a Retention in multiple Coverage Parts, then the following
                          shall apply:
                          A.    with regard to Loss which is payable under any Coverage Part which is subject
                                to a Separate Limit of Liability, the Retention applicable to such Loss pursuant
                                to the Retention Clause of such Coverage Part (or pursuant to any applicable
                                endorsement) shall apply separately to such Loss, and the applicable Retention
                                for such Coverage Part shall not be reduced by payments of Loss made towards
                                the Retention required under any other Coverage Part; and
                          B.    with regard to Loss which is payable under any Coverage Part which is subject
                                to a Shared Limit of Liability, the highest applicable Retention of any Coverage

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                                 Part triggered under such Shared Limit of Liability shall be deemed the
                                 Retention applicable to Loss arising from such Claim.


VI. Reporting and Notice   Notice hereunder shall be given in writing at the address set forth in Item 7. of the
                           Declarations. (and Item 6 of the Common Declaration if issued as a package policy)
                           Notice shall reference the policy number set forth in the Declarations, as well as the
                           Coverage Part(s) under which the Claim is being noticed. If mailed, the date of mailing
                           shall constitute the date that such notice was given and proof of mailing shall be
                           sufficient proof of notice.
                           With respect to all Coverage Parts, the following shall apply:
                           A.    The Insureds shall, as a condition precedent to the obligations of the Insurer
                                 under this Policy, give written notice to the Insurer of any Claim made against an
                                 Insured as soon as practicable.
                           B.    If written notice of a Claim has been given to the Insurer pursuant to Clause VI.A.
                                 above, then any Claim which is subsequently made against the Insureds and
                                 reported to the Insurer alleging, arising out of, based upon or attributable to the
                                 facts alleged in the Claim for which such notice has been given, or alleging any
                                 Wrongful Act which is the same as or is a Related Wrongful Act to that alleged
                                 in the Claim of which such notice has been given, shall be considered made at
                                 the time such notice was originally given pursuant to Clause VI.A. above.
                           C.    If during the Policy Period or the Discovery Period (if applicable) the Insured(s)
                                 shall become aware of any circumstances which may reasonably be expected to
                                 give rise to a Claim being made against the Insured(s) and shall give written
                                 notice to the Insurer of the circumstances, the Wrongful Act allegations
                                 anticipated and the reasons for anticipating such a Claim, with full particulars as
                                 to dates, persons and entities involved, then any Claim which is subsequently
                                 made against the Insureds and reported to the Insurer alleging, arising out of,
                                 based upon or attributable to such circumstances or alleging any Wrongful Act
                                 which is the same as or is a Related Wrongful Act to that alleged or contained in
                                 such circumstances, shall be considered made at the time such notice of such
                                 circumstances was originally reported.
                           D.    Any matter which could involve the payment of Reputation Loss under the D&O
                                 Coverage Part shall be reported to the Insurer in the same manner as a Claim
                                 under Clause VI.A. above.
                           F.    Any matter which could involve the payment of Voluntary Compliance Loss
                                 under the FLI Coverage Part shall be reported to the Insurer in the same manner
                                 as a Claim under Clause VI.A. above.
                           The Insured(s) shall, as a condition precedent to exercising any right to coverage under
                           this Policy, give to the Insurer such information, assistance and cooperation as the
                           Insurer may reasonably require, and shall include in any notice under Clause VI.A., B.,
                           C., D. or E. above a description of the Claim or circumstances, the nature of any alleged
                           Wrongful Acts, the nature of the alleged or potential damage, the names of all actual or
                           potential claimants, the names of all actual or potential defendants, and the manner in
                           which such Insured first became aware of the Claim or circumstances.



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VII. Cancellation        This Policy or any individual Coverage Part may be canceled by the Named Entity at
                         any time by either surrendering or mailing written notice to the Insurer or its authorized
                         agent stating: (i) which Coverage Part(s) is/are to be canceled or that the entire Policy
                         is to be canceled; and (ii) when thereafter such cancellation shall be effective. In no
                         event shall such cancellation be effective prior to the Insurer’s receipt of such notice or
                         such surrender.
                         This Policy may be canceled by or on the behalf of the Insurer only in the event of non
                         payment of premium by the Insured. In the event of non-payment of premium by the
                         Insured, the Insurer may cancel this Policy by written notice stating when, not less than
                         fifteen (15) days thereafter, the cancellation shall be effective. The mailing of such
                         notice as aforesaid shall be sufficient proof of notice. The Policy Period terminates at
                         the date and hour specified in such notice, or at the date and time of surrender.
                         If the Policy or any Coverage Part shall be canceled by the Named Entity, the Insurer
                         shall retain the short rate proportion of the applicable premium herein.
                         If the Policy is canceled by the Insurer, the Insurer shall retain the pro rata proportion of
                         the applicable premium herein.
                         Payment or tender of any unearned premium by the Insurer shall not be a condition
                         precedent to the effectiveness of cancellation, but such payment shall be made as soon
                         as practicable.
                         If the period of limitation relating to the giving of notice as set forth above is also set forth
                         in any law controlling the construction thereof, the period set forth above shall be
                         deemed to be amended so as to be equal to the minimum period of limitation set forth in
                         the controlling law.


VIII. Discovery Period   A.     Cancellation or Non-Renewal
                                If the Policy or any Coverage Part is either cancelled or not renewed for any
                                reason other than non-payment of premium, the Named Entity shall have the
                                right to purchase a Discovery Period for a length of time indicated by
                                endorsement to this Policy, subject to the following:
                                (i)     The premium for the purchased Discovery Period shall be the Full Annual
                                        Premium multiplied by the applicable percentage amount set forth by
                                        endorsement to this Policy. If no such percentage is set forth, or the
                                        percentage is set forth as “to be determined,” then the premium for such
                                        Discovery Period shall be an amount as the Insurer may reasonably
                                        decide.
                                (ii)    Unless notice of election and the premium contemplated above are
                                        received by the Insurer within thirty (30) days of the cancellation or non-
                                        renewal date, the Insured’s rights contained in this Clause shall lapse.
                                (iii)   The Insured shall have the right to give the Insurer written notice of
                                        Claims first made against any Insured during the Discovery Period, but
                                        only for Wrongful Acts occurring: (1) in the event of a cancellation, prior to
                                        the termination date for the Policy or Coverage Part; or (2) in the event of a
                                        nonrenewal, prior to the end of the Policy Period.
                                (iv)    Notwithstanding the foregoing, the Discovery Period shall not apply to a

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                                     Reputation Risk Event occurring during the Discovery Period.
                        B.    Change in Control
                              If there is a Change in Control as defined in Clause IX. of these General Terms
                              and Conditions, the Named Entity shall have the right within thirty (30) days
                              before the end of the Policy Period to request an offer from the Insurer of a
                              Discovery Period for a length of time that does not exceed those lengths offered
                              by endorsement to this Policy per subparagraph A. above and subject to such
                              terms, conditions and premium as the Insurer may reasonably decide.
                              In the event of a Change in Control, the right to a Discovery Period shall not
                              otherwise exist except as indicated in this subparagraph B.
                        C.    General
                              If any premium is owed for the Policy, any premium received from the Named
                              Entity shall first be applied to the premium owing for the Policy with the remainder
                              applied to the premium for the Discovery Period. The Discovery Period shall
                              not take effect unless the outstanding premium for the Policy is paid in full and the
                              premium for the Discovery Period is paid when due.


IX. Change in Control   If during the Policy Period:
                        A.    the Named Entity shall consolidate with or merge into, or sell all or substantially
                              all of its assets to any other person or entity or group of persons or entities acting
                              in concert; or
                        B.    any person or entity or group of persons or entities acting in concert shall acquire
                              Management Control of the Named Entity;
                        (any of the above events herein referred to as a “Change In Control”),
                        then coverage under this Policy and any purchased Coverage Part shall continue until
                        termination of such Policy or Coverage Part, but only with respect to Claims alleging
                        Wrongful Acts committed, attempted or allegedly committed or attempted by the
                        Insureds before such Change In Control.
                        This Policy and any purchased Coverage Part may not be canceled after the effective
                        time of the Change In Control. The Named Entity shall also have the right to an offer
                        by the Insurer of a Discovery Period described in Clause VIII. of these General Terms
                        and Conditions.
                        The Named Entity shall give the Insurer written notice of the Change In Control as
                        soon as practicable, but no later than thirty (30) days after the effective date of the
                        Change In Control together with such other information as the Insurer may require.


X. Subrogation          In the event of any payment under this Policy, the Insurer shall be subrogated to the
                        extent of such payment to all the Insureds’ rights of recovery thereof, and the Insureds
                        shall execute all papers required and shall do everything that may be necessary to
                        secure such rights, including the execution of such documents necessary to enable the
                        Insurer to effectively bring suit in the name of any Insured. In no event, however, shall
                        the Insurer exercise its rights of subrogation against an Individual Insured under this
                        Policy unless such Individual Insured has been convicted of a criminal act, or been

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                           determined by a final adjudication to have committed a dishonest or fraudulent act or to
                           have obtained any profit or advantage to which such Individual Insured was not legally
                           entitled.
                           Additionally, in the event that the Insurer shall for any reason pay Indemnifiable Loss
                           on behalf of an Individual Insured, the Insurer’s subrogation rights shall include, but
                           not be limited to, the assertion of indemnification or contribution rights with respect to
                           any such payments it makes or advances. Additionally, upon the Insurer making any
                           payment of Loss within the Retention, the Insurer shall have a direct contractual right
                           under this Policy to recover from the Company, or in the event of the bankruptcy of the
                           Company, from the debtor-in-possession (or equivalent status outside the United
                           States) such Loss which was paid within the Retention. Such direct contractual right of
                           recovery against the Company shall be in addition to and independent of the Insurer’s
                           subrogation right pursuant to this Clause X. and any other rights the Insurer may have
                           under applicable law.


XI. Other Insurance        With respect to all Coverage Parts, other than the EPLI Coverage Part, such insurance
                           as is provided by this Policy shall apply only as excess over any other valid and
                           collectible insurance, unless such other insurance is expressly written to be excess over
                           any applicable Limit of Liability for this Policy or any Coverage Part. This Policy
                           specifically shall be excess of any other policy pursuant to which any other insurer has a
                           duty to defend a Claim for which this Policy may be obligated to pay Loss.
                           Such insurance as is provided by the EPLI Coverage Part shall be primary unless
                           expressly written to be excess over other applicable insurance.
                           With respect to all Coverage Parts, in the event of a Claim against an Insured arising
                           out of his or her service as an Outside Entity Executive, or a Claim against an Insured
                           for the Insured’s liability with respect to a leased Employee or independent contractor
                           Employee as described in the Definition of Employee in the applicable Coverage Part,
                           coverage as is afforded by this Policy shall be specifically excess of any: (i)
                           indemnification provided by such Outside Entity or leasing company; and (ii) any other
                           insurance provided to such Outside Entity, leasing company or independent contractor.


Xli. Representations and   In granting coverage under this Policy, it is agreed that the Insurer has relied upon the
     Severability          statements and representations contained in the Application for this Policy as being
                           accurate and complete. All such statements and representations are the basis of this
                           Policy and are to be considered as incorporated into this Policy.
                           The Insureds agree that in the event that the particulars and statements contained in
                           the Application are not accurate and complete and materially affect either the
                           acceptance of the risk or the hazard assumed by the Insurer under the Policy, then this
                           Policy shall be void ab initlo as to any Insured who knew as of the inception date of the
                           Policy Period of the facts that were not accurately and completely disclosed in the
                           Application (whether or not such Insured knew that such facts were not accurately and
                           completely disclosed in the Application). Solely for purposes of determining whether
                           this Policy shall be void ab initio as to an Insured, such aforesaid knowledge possessed
                           by any Insured shall not be imputed to any other Insured.



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                             Private Company Management Liability Insurance Policy
                            General Terms and Conditions

XIII. Notice and Authority It is agreed that the Named Entity shall act on behalf of its Subsidiaries and all
                           lnsureds with respect to the giving of notice of any Claim, the giving and receiving of
                           notice of cancellation and non-renewal, the payment of premiums and the receiving of
                           any return premiums that may become due under this Policy, the receipt and
                           acceptance of any endorsements issued to form a part of this Policy, the exercising or
                           declining of the right to tender the defense of a Claim to the Insurer and the exercising
                           or declining to exercise any right to a Discovery Period.


XIV. Assignment             No change in, modification of or assignment of interest under this Policy shall be
                            effective except when made by written endorsement to this Policy which is signed by an
                            authorized representative of the Insurer.


XV. Action Against          No action shall lie against the Insurer unless, as a condition precedent thereto, there
    Insurer                 shall have been full compliance with all of the terms of this Policy, nor until the amount of
                            the Insured’s obligation to pay shall have been finally determined either by final
                            judgment against the Insured or by written agreement of the Insured, the claimant and
                            the Insurer.
                            Any person or entity or the legal representative thereof who has secured such judgment
                            or written agreement shall thereafter be entitled to recover under this Policy to the extent
                            of the insurance afforded by this Policy. No person or entity shall have any right under
                            this Policy to join the Insurer as a patty to any action against the Insured or a
                            Company to determine the Insured’s liability, nor shall the Insurer be impleaded by the
                            Insured or a Company or their legal representatives.


XVI. Bankruptcy             Bankruptcy or insolvency of any Insured or the Insured’s estate shall not relieve the
                            Insurer of its obligations nor deprive the Insurer of its rights or defenses under this
                            Policy.


XVII. Coverage Territory    Where legally permissible, this Policy shall apply to any Claim made against any
                            Insured anywhere in the world.


XVIII. Governmental         This Policy does not apply to the extent that trade or economic sanctions or other laws
       Restrictions         or regulations prohibit the Insurer from providing insurance.


XIX. Headings               The descriptions in the headings and subheadings of this Policy are solely for
                            convenience, and form no part of the terms and conditions of coverage.



                                      [The balance of this page is intentionally left blank.]




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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE DEPARTMENT.
HOWEVER, SUCH FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE
NEW YORK INSURANCE LAW AND REGULATIONS.




                         In consideration of the premium charged and in reliance upon the statements made by
                         the Insureds in the Application, which forms a part of this Policy, the Insurer agrees as
                         follows:


I. Insuring Agreements   This D&O Coverage Part affords the following coverage:
                         Coverage A: Individual Insurance Coverage
                         This D&O Coverage Part shall pay the Loss of an Individual Insured arising from a
                         Claim first made against such Individual Insured during the Policy Period or the
                         Discovery Period (if applicable) for any actual or alleged Wrongful Act of such
                         Individual Insured, except when and to the extent that a Company has indemnified the
                         Individual Insured for such Loss.
                         Coverage B: Company Reimbursement Coverage
                         This D&O Coverage Part shall pay the Loss of a Company arising from a Claim first
                         made against an Individual Insured during the Policy Period or the Discovery Period
                         (if applicable) for any actual or alleged Wrongful Act of such Individual Insured, but
                         only when and to the extent that such Company has indemnified such Individual
                         Insured for such Loss.
                         Coverage C: Company Coverage
                         This D&O Coverage Part shall pay the Loss of a Company arising from a Claim first
                         made against a Company during the Policy Period or the Discovery Period (if
                         applicable) for any actual or alleged Wrongful Act of a Company.
                         Coverage D: Reputation Coverage
                         This D&O Coverage Part shall pay the Reputation Loss of a Company solely with
                         respect to a Reputation Risk Event that first commences and is reported to the Insurer
                         during the Policy Period up to the amount of the Reputation Loss Limit of Liability.
                         Payment of any Reputation Loss under this D&O Coverage Part shall not waive any of
                         the Insurer’s rights under this Policy or at law. Coverage D shall apply regardless of
                         whether a Claim is ever made against an Insured arising from such Reputation Risk
                         Event and, in the case where a Claim is made, regardless of whether the amount is
                         incurred prior to or subsequent to the making of the Claim.
                         A Reputation Risk Event first commences when a Company or any of its Executives
                         first become aware of such Reputation Risk Event during the Policy Period and shall
                         conclude at the earliest of the time when a risk management, public relations or law firm
                         advises a Company that such Reputation Risk Event no longer exists or when the
                         Reputation Loss Limit of Liability has been exhausted.

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                      Coverage E: Derivative Demand Coverage
                      This D&O Coverage Part shall pay the Investigation Costs of a Company arising from
                      a Derivative Demand Investigation in response to a Derivative Demand first made
                      during the Policy Period or the Discovery Period (if applicable), up to the amount of the
                      Derivative Demand Limit of Liability.
                      Defense Provision
                      The Insurer does not assume any duty to defend; provided, however, the Named Entity
                      may at its sole option tender to the Insurer the defense of a Claim for which coverage is
                      provided by Clause VII. of this D&O Coverage Part. Regardless of whether the defense
                      is so tendered, the Insurer shall advance Defense Costs in excess of the applicable
                      Retention on behalf of the Insured prior to final disposition of the Claim.
                      With respect to Coverage E above, it shall be the duty of the Company and not the duty
                      of the Insurer to conduct, investigate and evaluate any Derivative Demand against its
                      own Executives; provided, however, that the Insurer shall be entitled to effectively
                      associate in the investigation, evaluation, negotiation and settlement of any Derivative
                      Demand Investigation.


II. Definitions       A.   Claim means:
                           (i)     a written demand for monetary, non-monetary or injunctive relief (including any
                                   request to toll or waive any statute of limitations);
                           (ii)    a civil, criminal, administrative, regulatory or arbitration proceeding for
                                   monetary, non-monetary or injunctive relief which is commenced by:
                                   (1)   service of a complaint or similar pleading;
                                   (2)   return of an indictment, information or similar document (in the case of a
                                         criminal proceeding); or
                                   (3)   receipt or filing of a notice of charges; or
                           (iii)   a civil, criminal, administrative or regulatory investigation of an Individual
                                   Insured:
                                   (1)   once such Individual Insured is identified in writing by such investigating
                                         authority as a person against whom a proceeding described in
                                         subparagraph (ii) of this Definition may be commenced; or
                                   (2)   in the case of an investigation by the Securities Exchange Commission
                                         (“SEC”) or a similar state or foreign government authority, after:
                                         (a) the service of a subpoena upon such Individual Insured; or
                                         (b) the Individual Insured is identified in a written ‘Wells” or other notice
                                             from the SEC or a similar state or foreign government authority that
                                             describes actual or alleged violations of laws by such Individual
                                             Insured.
                           The term “Claim” shall also include any Securities Claim and, with respect to
                           Coverage F above, any Derivative Demand.
                      B.   Cleanup Costs means expenses (including, but not limited to, legal and
                    ——
                           professionaI fees)1ncurred-intestingfor,_monitor4ng,cIeaningup,rernoving,
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                      containing, treating, neutralizing, detoxifying or assessing the effects of Pollutants.
                 C.   Defense Costs means reasonable and necessary fees, costs and expenses
                      consented to by the Insurer (including premiums for any appeal bond, attachment
                      bond or similar bond arising out of a covered judgment, but without any obligation to
                      apply for or furnish any such bond), resulting solely from the investigation,
                      adjustment, defense and appeal of a Claim against an Insured, but excluding
                      compensation of any Individual Insured. Defense Costs shall not include any
                      tees, costs or expenses incurred prior to the time that a Claim is first made against
                      an Insured.
                 D.   Derivative Demand means a written demand by one or more security holders of a
                      Company without the assistance, participation or solicitation of any Executive,
                      upon the board of directors (or equivalent management body) of such Company
                      requesting that it file, on behalf of the Company, a civil proceeding in a court of law
                      against any Executive of the Company for a Wrongful Act of such Executive in
                      order to obtain relief from damages arising out of such Wrongful Acts.
                 F.   Derivative Demand Investigation means the investigation by the Company or on
                      behalf of the Company by its board of directors (or the equivalent management
                      body) or any committee of the board of directors (or the equivalent management
                      body) as to whether or not the Company should bring the civil proceeding
                      demanded in a Derivative Demand.
                 F.   Derivative Demand Limit of Liability means the dollar amount set forth in Item
                      6(b) of the Declarations (or Management Liability Supplemental Declarations if
                      issued as a package policy).
                 G.   Employee means any past, present or future employee of a Company, whether
                      such employee is in a supervisory, co-worker or subordinate position or otherwise,
                      including any part-time, seasonal and temporary employee or volunteer of a
                      Company in his or her capacity as such. An individual who is leased to a
                      Company shall also be an Employee, but only if such Company provides
                      indemnification to such leased individual in the same manner as is provided to such
                      Company’s own employees.
                      Employee shall also mean any other individual who is contracted to perform work
                      for a Company, or who is an independent contractor for a Company, but only if
                      such Company provides or is required to provide indemnification to such individual
                      in the same manner as provided to such Company’s own employees, pursuant to a
                      written contract; provided, however, a Company may request that no coverage be
                      provided under this D&O Coverage Part for an independent contractor named in a
                      specific Claim. Such request must be made in writing and within ninety (90) days of
                      the Claim being reported to the Insurer. If no such request is made, this D&O
                      Coverage Part shall apply as if such Company determined that such independent
                      contractor shall receive coverage.
                 H.   Executive means:
                      fi)    any past, present or future duly elected or appointed director, officer,
                             management committee member (of a duly constituted committee) or member
                             of the Board of Managers;
                      (ii)   any past, present or future person in a duly elected or appointed position in an

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                            entity which is organized and operated in a Foreign Jurisdiction that is
                            equivalent to an executive position listed in subparagraph (i) of this Definition;
                            or
                     (iii) any past, present or future General Counsel and Risk Manager (or equivalent
                           position) of the Named Entity.
                     Financial Insolvency means: fi) the appointment by any government official,
                     agency, commission, court or other governmental authority of a receiver,
                     conservator, liquidator, trustee, rehabilitator or similar official to take control of,
                     supervise, manage or liquidate an insolvent Company; (ii) the filing of a petition
                     under the bankruptcy laws of the United States of America; or (iii) as to both (i) or (ii)
                     of this Definition, any equivalent events outside the United States of America.
                J.   Foreign Jurisdiction means any jurisdiction other than the United States of
                     America or any of its territories or possessions.
                K.   Foreign Policy means any standard executive management liability insurance
                     policy (including all mandatory endorsements, if any) of the Insurer or an affiliate of
                     the Insurer, which has been approved for sale within a Foreign Jurisdiction that
                     provides coverage substantially similar to the coverage afforded under this D&O
                     Coverage Part. If more than one such policy exists, then Foreign Policy means the
                     standard basic policy form typically offered for sale in that Foreign Jurisdiction for
                     comparable risks by the Insurer or any other affiliate company of the Insurer. The
                     term Foreign Policy shall not include any partnership management, pension trust
                     or professional liability coverage.
                L.   Indemnifiable Loss means Loss for which a Company has indemnified or is
                     permitted or required to indemnify an Individual Insured pursuant to law, contract
                     or the charter, by-laws, operating agreement or similar documents of such
                     Company.
                M.   Individual Insured means any:
                     (i)    Executive of a Company;
                     (ii)   Employee of a Company; or
                     (iii) Outside Entity Executive.
                N.   Insured means:
                     (i)    a Company; or
                     (ii)   an Individual Insured.
                0.   Investigation Costs means the reasonable and necessary costs, charges, fees
                     and expenses consented to by the Insurer (including, but not limited to, attorney’s
                     fees and expert’s fees but not including any settlement, judgment or damages and
                     not including any compensation or fees of any Individual Insured) incurred by the
                     Company or its board of directors (or any equivalent management body), or any
                     committee of the board of directors (or any equivalent management body), solely in
                     connection with a Derivative Demand Investigation.
                P.   Loss means the amount that any Insured becomes legally obligated to pay in
                     connection with any covered Claim, including, but not limited to:
                     (i)    J udg                                                     interest on any covered

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                                 portion thereof) and settlements;
                          (ii)   Defense Costs;
                          (iii) damages, including punitive or exemplary damages and the multiple portion of
                                multiplied damages relating to punitive or exemplary damages. The
                                enforceability of this subparagraph (iii) shall be governed by such applicable
                                law that most favors coverage for such punitive, exemplary and multiple
                                damages;
                           iv) with respect to Coverage D, Reputation Loss; and
                          (v)    with respect to Coverage E, Investigation Costs.
                          Loss shall not include: (i) any amount for which the lnsureds are not financially
                          liable or which are without legal recourse to the Insureds; (ii) matters which may be
                          deemed uninsurable under the law pursuant to which this Policy shall be construed;
                          (iii) civil or criminal lines or penalties; (iv) taxes or tax penalties (whether imposed by
                          federal, state, local or other governmental authority); or (v) the costs and expenses
                          of complying with any injunctive relief or other form of non-monetary relief. Defense
                          Costs shall be provided for items specifically excluded from Loss pursuant to
                          subparagraphs (i) through (v) of this subparagraph provided such Defense Costs
                          result from a covered Claim.
                          Loss shall also not include any compensation, salary, wages, fees, benefits,
                          overhead, charges or expenses of any Insured.
                 Q.       Material Publication means the publication, broadcast or circulation of unfavorable
                          information regarding a Company which can reasonably be expected to lessen
                          public confidence in the competence of the Company or its products and/or
                          services, received or circulated in the geographic area of a Company.
                 R.       Non-Indemnifiable Loss means Loss for which a Company has neither
                          indemnified nor is permitted or required to indemnify an Individual Insured
                          pursuant to law or contract or the charter, by-laws, operating agreement or similar
                          document of a Company.
                 S.       Outside Entity means:
                          (i)    any not-for-profit organization, other than a Subsidiary or Affiliate; or
                          (ii)   any other entity listed as an Outside Entity by endorsement to this Policy.
                 I.       Outside Entity Executive means: (i) any Executive of a Company serving in the
                          capacity as director, officer, trustee, trustee emeritus or governor of an Outside
                          Entity, but only if such service is at the specific request or direction of a Company;
                          or (ii) any other person listed as an Outside Entity Executive in an endorsement to
                          this D&O Coverage Part. It is understood and agreed that, in the event of a
                          disagreement between a Company and an individual as to whether such individual
                          was acting at the specific request or direction of such Company, this D&O
                          Coverage Part shall abide by the determination of the Named Entity on this issue
                          and such determination shall be made by written notice to the Insurer within ninety
                          (90) days after the Claim is first reported to the Insurer pursuant to the terms of the
                          Policy. In the event no determination is made within such period, this D&O
                          Coverage Part shall apply as if the Named Entity determined that such Individual
                      -   Insured was not acting at such Company’s specific request or direction.

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                U.   Pollutants means any solid, liquid, gaseous, biological, radiological or thermal
                     irritant or contaminant, including smoke, vapor, dust, fibers, mold, spores, fungi,
                     germs, soot, fumes, acids, alkalis, chemicals and Waste. “Waste” includes, but is
                     not limited to, materials to be recycled, reconditioned or reclaimed and nuclear
                     materials.
                V.   Reputation Loss means the following amounts incurred during the pendency of or
                     within ninety (90) days prior to and in anticipation of a Reputation Risk Event,
                     regardless of whether a Claim is ever made against an Insured arising from a
                     Reputation Risk Event and, in the case where a Claim is made, regardless of
                     whether the amount is incurred prior to or subsequent to the making of the Claim:
                     (i)     the reasonable and necessary tees and expenses incurred by a risk
                             management, public relations or law firm in the performance of Reputation
                             Risk Management Services for a Company arising from a Reputation Risk
                             Event; and
                     (ii)    the reasonable and necessary fees and expenses incurred in the printing,
                             advertising or mailing of Reputation Risk Event materials in the performance
                             of Reputation Risk Management Services for a Company arising from a
                             Reputation Risk Event.
                W.   Reputation Loss Limit of Liability means the dollar amount set forth in Item 6(a)
                     of the Declarations (or Management Liability Supplemental Declarations if issued as
                     a package policy).
                X.   Reputation Risk Event means the public announcement of one of the following
                     events which, in the good faith opinion of a Company, did cause or is reasonably
                     likely to cause a Material Publication:
                     (i)     ManaQement Risk Event: the death, incapacity or criminal indictment of any
                             Individual Insured for whom a Company maintains key person life insurance;
                      ii)    Bankruptcy/Debt DefauIt/Downsizin: that: (1) a Company intends to file for
                             bankruptcy protection or that a third party is seeking to file for involuntary
                             bankruptcy on behalf of such Company; (2) a Company has defaulted or
                             intends to default on any debt obligation; or (3) the closing or forced sale of a
                             departmentlunit/division of a Company;
                      iii)   ReQulatory Risk Event: the commencement or threat of litigation or other
                             proceedings by any governmental or regulatory agency against a Company;
                     (iv) Bodily Injury/Abuse Risk Event: an accusation that an Individual Insured (or
                          an individual an Insured is legally responsible for) has intentionally caused
                          bodily injury to or death of any person in the performance of his or her duties
                          with a Company;
                     (v)     Workplace Violence: an Employee of a Company was the victim of a violent
                             crime while on the premises of such Company; or
                     (vi) Child Abduction: a child was abducted or kidnapped while under the care or
                          supervision of a Company.
                Y.   Reputation Risk Management Services means those services performed by a risk
                     management, public relations or law firm retained by the Insured, with the prior
                     written consent of the Insurer, to advise the Insured on minimizing potential harm

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                               to a Company arising from a Reputation Risk Event, including maintaining and
                               restoring public confidence in such Company.
                          Z.   Securities Claim means a Claim made against any Insured:
                               (i)    alleging a violation of any federal, state, local or foreign regulation, rule or
                                      statute regulating securities, including, but not limited to, the purchase or sale,
                                      or offer or solicitation of an offer to purchase or sell securities which is:
                                      (1)   brought by any person or entity alleging, arising out of, based upon or
                                            attributable to the purchase or sale of, or offer or solicitation of an offer to
                                            purchase or sell, any securities of a Company; or
                                      (2)   brought by a security holder of a Company with respect to such security
                                            holder’s interest in securities of such Company; or
                               (ii)   brought derivatively on behalf of a Company by a security holder of such
                                      Company.
                          AA. Settlement Opportunity means an Insurer recommended settlement that is within
                              any applicable Limit of Liability and that is acceptable to the claimant.
                          BR. Third Party Violation means any actual or alleged harassment (including sexual
                              harassment) or discrimination (including, but not limited to, discrimination based
                              upon age, gender, race, color, national origin, religion, sexual orientation or
                              preference, pregnancy or disability), or the violation of the civil rights of a person
                              relating to such harassment or discrimination, when such acts are alleged to be
                              committed against anyone other than an Individual Insured or an applicant for
                              employment with a Company or an Outside Entity, including, but not limited to,
                              customers, vendors and suppliers.
                          CC. Wrongful Act means:
                               (i)    with respect to any Executive or Employee of a Company, any breach of
                                      duty, neglect, error, misstatement, misleading statement, omission or act by
                                      such Executive or Employee in their respective capacities as such, or any
                                      matter claimed against such Executive or Employee of a Company solely by
                                      reason of his or her status as an Executive or Employee of a Company;
                               (ii)   with respect to a Company under Coverage C, any breach of duty, neglect,
                                      error, misstatement, misleading statement, omission or act by a Company; or
                               (iii) with respect to service on an Outside Entity, any breach of duty, neglect,
                                     error, misstatement, misleading statement, omission or act by an Outside
                                     Entity Executive in his or her capacity as such, or any matter claimed against
                                     such Outside Entity Executive solely by reason of his or her status as an
                                     Outside Entity Executive of an Outside Entity.


III. Worldwide Coverage   For Claims made and maintained in a Foreign Jurisdiction for Wrongful Acts
                          committed in such Foreign Jurisdiction, the Insurer shall apply to such Claims the
                          provisions of the Foreign Policy in the Foreign Jurisdiction that are more favorable to
                          such Insured in the Foreign Jurisdiction; provided, however, this paragraph shall apply
                          only to provisions more favorable by virtue of insuring clauses, extensions, definitions,
                          exclusions, selection of other defense counsel, discovery or extended reporting period,
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                     the Foreign Policy when compared to the same or similar clauses of this D&O
                     Coverage Part. This paragraph shall not apply to excess provisions or Policy provisions
                     that address cancellation and non-renewal, duty to defend, defense within or without
                     limits, taxes, claims made provisions or any other provision of this Policy intended to
                     govern coverage worldwide.
                     All premiums, limits, Retentions, Loss and other amounts under this D&O Coverage
                     Part are expressed and payable in the currency of the United States of America. If
                     judgment is rendered, settlement is denominated or other elements of Loss are stated or
                     incurred in a currency other than United States of America dollars, payment of covered
                     Loss due under this D&O Coverage Part (subject to the terms, conditions and limitations
                     of this D&O Coverage Part) will be made either in such other currency (at the option of
                     the Insurer and if agreeable to the Named Entity) or, in United States of America
                     dollars, at the rate of exchange published in The Wall Street Journal on the date the
                     Insurer’s obligation to pay such Loss is established (or if not published on such date the
                     next publication date of The Wall Street Journal).


IV. Exclusions       The Insurer shall not be liable to make any payment for Loss in connection with any
                     Claim made against any Insured:
                     A.   arising out of, based upon or attributable to the:
                          (i)    gaining of any profit or advantage to which any final adjudication establishes
                                 the Insured was not legally entitled;
                          (ii)   purchase or sale by an Insured of securities of the Company within the
                                 meaning of Section 16(b) of the Securities Exchange Act of 1934 and
                                 amendments thereto or similar provisions of any state statutory law if any final
                                 adjudication establishes that such Section 16(b) violation occurred;
                          (iii) payment to any Insured of any remuneration without the previous approval of
                                the security holders of the Company, if any final adjudication establishes such
                                payment was illegal; or
                          (iv) committing of any deliberate criminal or deliberate fraudulent act, or any willful
                               violation of any statute, rule or law, if any final adjudication establishes that
                               such deliberate criminal or deliberate fraudulent act, or willful violation of
                               statute, rule or law was committed;
                     B.   alleging, arising out of, based upon or attributable to the facts alleged, or the same
                          or Related Wrongful Act(s) alleged or contained in any claim or demand which has
                          been reported, or in any circumstances of which notice has been given, under any
                          prior insurer’s policy or policy of which this D&O Coverage Part is a renewal or
                          replacement or which it may succeed in time;
                     C.   alleging, arising out of, based upon or attributable to any demand, suit or other
                          proceeding pending against, or order, decree or judgment entered for or against any
                          Insured, on or prior to the Continuity Date for this D&O Coverage Part, or the
                          alleging of any Wrongful Act which is the same or a Related Wrongful Act to that
                          alleged in such pending or prior demand, suit, proceeding or in the underlying
                          demand, order, decree or judgment;
                     D.   with respect to an Outside Entity Executive, for any Wrongful Act occurring prior
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                      have reasonably foreseen that such Wrongful Act could lead to a Claim under this
                      D&O Coverage Part;
                 E.   alleging, arising out of, based upon or attributable to any actual or alleged act, error
                      or omission of an Individual Insured serving in any capacity, other than as an
                      Executive or Employee of a Company, or as an Outside Entity Executive of an
                      Outside Entity;
                 F.   which is brought by or on behalf of a Company or any Individual Insured, other
                      than an Employee of a Company; or which is brought by any security holder of the
                      Company, whether directly or derivatively, unless such security holders Claim is
                      instigated and continued totally independent of, and totally without the solicitation of,
                      assistance of, active participation of or intervention of any Company or any
                      Executive of a Company; provided, however, this exclusion shall not apply to:
                      (i)    any Claim brought by an Individual Insured in the form of a cross-claim or
                             third-party claim for contribution or indemnity which is part of and results
                             directly from a Claim which is covered by this Policy;
                      (ii)   in any bankruptcy proceeding by or against a Company, any Claim brought by
                             the examiner, trustee, receiver, liquidator or rehabilitator (or any assignee
                             thereof) of such Company;
                      (iii) any Claim brought by any past Executive of a Company provided he/she has
                            not served as an Executive, General Counsel, Risk Manager or consultant of a
                            Company at any time during the three (3) years prior to the Claim being first
                            made against any Insured; or
                      (iv) any Claim brought by an Executive of a Company formed and operating in a
                           Foreign Jurisdiction against such Company or any Executive thereof,
                           provided that such Claim is brought and maintained outside the United States,
                           Canada or any other common law country (including any territories thereof);
                 G.   for any Wrongful Act arising out of an Individual Insured serving in a capacity as
                      an Outside Entity Executive if such Claim is brought by the Outside Entity or any
                      Executive thereof; or which is brought by any security holder of the Outside Entity,
                      whether directly or derivatively, unless such security holder’s Claim is instigated and
                      continued totally independent of, and totally without the solicitation of, or assistance
                      of, or active participation of, or intervention of the Outside Entity, the Company, or
                      any Executive of the Outside Entity or the Company; provided, however, this
                      Exclusion shall not apply to:
                      (i)    any Claim brought by an Executive of an Outside Entity in the form of a
                             cross-claim or third-party claim for contribution or indemnity which is part of and
                             results directly from a Claim that is covered by this D&O Coverage Part;
                      (ii)   in any bankruptcy proceeding by or against an Outside Entity, any Claim
                             brought by the examiner, trustee, receiver, liquidator or rehabilitator (or any
                             assignee thereof) of such Outside Entity;
                      (iii) any Claim brought by any past Executive of an Outside Entity provided
                            he/she has not served as an Executive, General Counsel, Risk Manager or
                            consultant of an Outside Entity at any time during the three (3) years prior to
                            the Claim being first made against any Insured; or
                      (iv) ariyClaim broughthyan. Executivent an Outside Entityformedand                 ——




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                            operating in a Foreign Jurisdiction against any Outside Entity Executive of
                            such Outside Entity, provided that such Claim is brought and maintained
                            outside the United States, Canada or any other common law country (including
                            any territories thereof);


                H.   alleging, arising out of, based upon or attributable to any public offering of securities
                     by a Company, an Outside Entity or an Affiliate or alleging, arising out of, based
                     upon or attributable to the purchase or sale of such securities subsequent to such
                     public offering; provided, however, this exclusion will not apply to:
                     (i)    any purchase or sale of securities, whether debt or equity, in a transaction or a
                            series of transactions that are exempt from registration under the Securities Act
                            of 1933. Coverage for such purchase or saTe transaction shall not be
                            conditioned upon payment of any additional premium; provided, however, the
                            Named Entity shall give the Insurer written notice of any exempt public
                            offering, together with full particulars, as soon as practicable but not later than
                            thirty (30) days after the effective date of the exempt public offering; or
                      ii)   any Claim made by any security holder of a Company for the failure of such
                            Company to undertake or complete the initial public offering or sale of
                            securities of such Company;
                     alleging, arising out of, based upon or attributable to the purchase by a Company of
                     securities of a “Publicly Traded Entity” in a transaction which resulted, or would
                     result, in such entity becoming an Affiliate or a Subsidiary of a Company. An
                     entity is a “Publicly Traded Entity” if any securities of such entity have previously
                     been subject to a public offering;
                J.   for bodily injury, emotional distress, mental anguish, sickness, disease or death of
                     any person, or damage to, loss of use or destruction of any tangible property;
                     provided, however, this Exclusion shall not apply to a Securities Claim;
                K.   for any actual, alleged or threatened discharge, dispersal, release or escape of
                     Pollutants; or any direction or request to test for, monitor, clean up, remove,
                     contain, treat, detoxify or neutralize Pollutants; provided, however, this Exclusion
                     shall not apply to:
                     (i)    Non-Indemnifiable Loss, other than Non-Indemnifiable Loss constituting
                            Cleanup Costs; or
                     (ii)   Loss in connection with a Securities Claim, other than Loss constituting
                            Clean-up Costs;
                L.   for violation(s) of any of the responsibilities, obligations or duties imposed by the
                     Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act,
                     the National Labor Relations Act, the Worker Adjustment and Retraining Notification
                     Act, the Consolidated Omnibus Budget Reconciliation Act, the Occupational Safety
                     and Health Act, any rules or regulations of the foregoing promulgated thereunder,
                     and amendments thereto or any similar federal, state, locaT or foreign statutory law
                     or common law;
                M.   alleging, arising out of, based upon or attributable to:
                     (i)    the refusal, failure or inability of any Insured to pay wages or overtime pay (or

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                                 amounts representing such wages or overtime pay) for services rendered;
                       ii)       improper payroll deductions taken by any Insured from any Employee or
                                 purported Employee; or
                      (iii) failure to provide or enforce legally required meal or rest break periods;
                 N.   alleging, arising out of, based upon, or attributable to the employment of any
                      individual or any wrongful employment practice, including, but not limited to,
                      wrongful dismissal, discharge or termination, discrimination, harassment, retaliation
                      or other employment-related claim;
                 0.   alleging, arising out of, based upon, or attributable to a Third Party Violation;
                      provided, however, this Exclusion shall not apply to a Securities Claim;
                 P.   alleging, arising out of, based upon or attributable to:
                      (i)        payments, commissions, gratuities, benefits or any other favors to or for the
                                 benefit of any full or part-time domestic or foreign governmental or armed
                                 services officials, agents, representatives, employees or any members of their
                                 family or any entity with which they are affiliated;
                      (ii)       payments, commissions, gratuities, benefits or any other favors to or for the
                                 benefit of any full or part-time officials, directors, agents, partners,
                                 representatives, members, principal security holders, owners or employees, or
                                 affiliates (as defined in the Securities Exchange Act of 1934, including any of
                                 their officers, directors, agents, owners, partners, representatives, principal
                                 security holders or employees) or any customers of a Company or any
                                 members ot their family or any entity with which they are affiliated; or
                      (iii) political contributions, whether domestic or foreign;
                 Q.   with respect to Coverage C only:
                      (i)        alleging, arising out of, based upon or attributable to plagiarism,
                                 misappropriation, infringement or violation of copyright, patent, trademark,
                                 trade secret or any other intellectual property rights;
                      (ii)       for any actual or alleged violation of any law, whether statutory, regulatory or
                                 common law, as respects the following activities: anti-trust, business
                                 competition, unfair trade practices or tortious interference in another’s business
                                 or contractual relationships;
                      (iii) alleging, arising out of, based upon or attributable to any actual or alleged
                            contractual liability of the Company or any other Insured under any express
                            contract or agreement; provided, however, this Exclusion shall not apply to
                            liability which would have attached in the absence of such express contract or
                            agreement;
                      (iv) for injury resulting from libel, slander, oral or written publication of defamatory
                           or disparaging material, invasion of privacy, wrongful entry, eviction, false
                           arrest, false imprisonment, malicious prosecution, malicious use or abuse of
                           process, assault, battery or loss of consortium;
                      (v)        alleging, arising out of, based upon or attributable to any actual or alleged
                                 error, misstatement, misleading statement, act, omission, neglect or breach of
                                 duty committed, attempted or allegedly committed or attempted in connection

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                                   with the rendering of, or actual or alleged failure to render, any professional
                                   services for others by any person or entity otherwise entitled to coverage under
                                   this D&O Coverage Part; provided, however, this Exclusion shall not apply to
                                   any Securities Claim; or
                              (vi) seeking fines or penalties or non-monetary relief against the Company;
                                   provided, however, that this exclusion shall not apply to any Securities Claim.
                         For the purpose of determining the applicability of the foregoing Exclusions, other than
                         Exclusions B., C., D., F., G. and Q.: (1) the facts pertaining to and knowledge possessed
                         by any Insured shall not be imputed to any Individual Insured; and (2) only facts
                         pertaining to and knowledge possessed by any past, present or future chairman, chief
                         executive officer or chief financial officer (or equivalent positions) of a Company shall be
                         imputed to such Company.
                         However, Exclusions A. through Q. do not apply to Reputation Loss or Reputation Risk
                         Events
                         The Insurer shall not be liable to make any payment for such Reputation Loss:
                         R.   arising out of, based upon or attributable to the facts alleged, or the same or related
                              Reputation Risk Event alleged or contained in any claim which has been reported,
                              or in any circumstances of which notice has been given, under any policy of which
                              this D&O Coverage Part is a renewal or replacement or which it may succeed in
                              time;
                         S.   arising out of, based upon or attributable to any demand, suit or other proceeding
                              pending against, or order, decree or judgment entered for or against any Insured,
                              on or prior to the Continuity Date for this D&O Coverage Part, or involving any
                              Reputation Risk Event which is the same or a related Reputation Risk Event to
                              that alleged in such pending or prior demand, suit, proceeding or in the underlying
                              demand, order, decree or judgment.
                         T.   arising out of, based upon or attributable to any actual, alleged or threatened
                              discharge, dispersal, release or escape of Pollutants; or any direction or request to
                              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize Pollutants;
                              or
                         U.   arising out of, based upon or attributable to the hazardous properties of nuclear
                              materials.


V. Limits of Liability   The following provisions shall apply in addition to the provisions of Clause IV. LIMITS OF
                         LIABILITY of the General Terms and Conditions:
                         Additional Executive Limit of Liability
                         The Additional Executive Limit of Liability, if purchased as set forth in Item 6(c) of the
                         Declarations (or Management Liability Supplemental Declarations if issued as a package
                         policy), will be an additional Limit of Liability in an amount not to exceed $500,000,
                         which amount is in addition to, and not part of, the Coverage Part Limit of Liability
                         applicable to this D&O Coverage Part as set forth in the Declarations (“Additional
                         Executive Limit of Liability”).
                         This Additional Executive Limit of Liability is available solely for Loss resulting from
                         any Claim aoainst any Executive of a Comoanv covered under CoveragAjjbjs&O

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                      Coverage Part.
                      Notwithstanding anything in this Policy to the contrary, the Additional Executive Limit
                      of Liability shall be excess of any insurance available that is specifically excess to this
                      Policy and such excess insurance must be completely exhausted by payment of loss,
                      damages or defense costs thereunder before the Insurer shall have any obligation to
                      make any payment on account of the Additional Executive Limit of Liability.
                      Reputation Insurance
                      The maximum limit of the Insurer’s liability for all Reputation Loss arising from all
                      Reputation Risk Events occurring during the Policy Period, in the aggregate, shall be
                      the amount set forth in the Declarations as the Reputation Loss Limit of Liability. This
                      Reputation Loss Limit of Liability shall be the maximum limit of the Insurer under this
                      D&O Coverage Part for Reputation Loss, regardless of the number of Reputation Risk
                      Events occurring during the Policy Period; provided, however, the Reputation Loss
                      Limit of Liability shall be part of, and not in addition to, the Coverage Part Limit of
                      Liability applicable to this D&O Coverage Part as set forth in the Declarations.
                      Investigation Costs For Derivative Demand
                      The maximum limit of the Insurer’s liability for all Investigation Costs arising from all
                      Derivative Demand Investigations occurring during the Policy Period or the Discovery
                      Period (if applicable), in the aggregate, shall be the amount set forth in the Declarations as
                      the Derivative Demand Limit of Liability. The Derivative Demand Limit of Liability shall
                      be the maximum limit of the Insurer under this D&O Coverage Part for Investigation
                      Costs regardless of the number of Derivative Demand Investigations occurring during the
                      Policy Period or the Discovery Period (if applicable), or the number of Executives subject
                      to such Derivative Demand Investigation; provided, however, that the Derivative
                      Demand Limit of Liability shall be part of, and not in addition to, the Coverage Part
                      Limit of Liability applicable to this D&O Coverage Part as set forth in the Declarations.


VI. Retention         The following provision shall apply in addition to the provisions of Clause V. RETENTION
                      of the General Terms and Conditions:
                      The Insurer shall only be liable for the amount of Loss arising from a Claim which is in
                      excess of the applicable Retention set forth in Item 4. of the Declarations (or
                      Management Liability Supplemental Declarations if issued as a package policy) for this
                      D&O Coverage Part, such Retention to be borne by the Insureds and shall remain
                      uninsured, with regard to: (i) all Indemnifiable Loss; and (ii) Loss of a Company. A
                      single Retention shall apply to Loss arising from all Claims alleging the same Wrongful
                      Act or Related Wrongful Act(s).
                      In the event a Company is unable to pay an applicable Retention due to Financial
                      Insolvency, then the Insurer shall commence advancing Loss within the Retention;
                      provided, however, that the Insurer shall be entitled to recover the amount of Loss
                      advanced within the Retention from such Company pursuant to Clause X.
                      SUBROGATION of the General Terms and Conditions.
                      No Retention is applicable to Reputation Loss or Investigation Costs or to Non
                      Indemnifiable Loss under Coverage A.
VII. Defense Costs,   Defense

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 Defense Counsel,   The Insurer does not assume any duty to defend. The Insureds shall defend and
 Settlements &      contest any Claim made against them.
 Judgments          Notwithstanding the foregoing, the Insured shall not retain defense counsel or incur any
                    Defense Costs without the prior written consent of the Insurer, such consent not to be
                    unreasonably withheld.
                    Insured’s Option to Tender Defense
                    The Insureds shall have the right to tender the defense of the Claim to the Insurer,
                    which right shall be exercised in writing by the Named Entity on behalf of all Insureds to
                    the Insurer pursuant to the notice provisions of Clause VI. of the General Terms and
                    Conditions. This right shall terminate if not exercised within thirty (30) days of the date
                    the Claim is first made against an Insured. Further, from the date the Claim is first
                    made against an Insured to the date when the Insurer accepts the tender of the defense
                    of such Claim, the Insureds shall take no action, or fail to take any required action, that
                    prejudices the rights of any Insured or the Insurer with respect to such Claim. Provided
                    that the Insureds have complied with the foregoing, the Insurer shall be obligated to
                    assume the defense of the Claim, even it such Claim is groundless, false or fraudulent.
                    The assumption of the defense of the Claim shall be effective upon written confirmation
                    sent thereof by the Insurer to the Named Entity. Once the defense has been so
                    tendered, the Insured shall have the right to effectively associate with the Insurer in the
                    defense and the negotiation of any settlement of any Claim, subject to the provisions of
                    this Clause VII.
                    In the event the Insurer accepts the tender of defense of such Claim, the Insurer shall
                    be responsible for the retention of defense counsel for such Claim.
                    General Provisions
                    When the Insurer has not assumed the defense of a Claim pursuant to this Clause VII.,
                    the Insurer nevertheless shall advance, at the written request of the Insured, Defense
                    Costs prior to the final disposition of a Claim. Such advanced payments by the Insurer
                    shall be repaid to the Insurer by each and every Insured, severally according to their
                    respective interests, in the event and to the extent that any such Insured shall not be
                    entitled under the terms and conditions of this D&O Coverage Part to payment of such
                    Loss.
                    The Insurer shall have the right to fully and effectively associate with each and every
                    Insured in the defense of any Claim that appears reasonably likely to involve the
                    Insurer, including, but not limited to, negotiating a settlement. Each and every Insured
                    agrees to provide such information as the Insurer may reasonably require and to give the
                    Insurer full cooperation and take such actions which, in such Insured’s judgment, are
                    deemed necessary and practicable to prevent or limit Loss arising from any Wrongful
                    Act.
                    Additionally, the Insured shall not admit or assume any liability, enter into any settlement
                    agreement, stipulate to any judgment, incur any Defense Costs or Reputation Loss or
                    retain a risk management, public relations or law firm without the prior written consent of
                    the Insurer. If the Insured admits or assumes any liability in connection with any Claim
                    without the consent of the Insurer, then the Insurer shall not have any obligation to pay
                    Loss with respect to such Claim. Only those settlements, stipulated judgments, Defense
                    Costs and Reputation Loss which have been consented to by the Insurer shall be
                    recoverable as Loss under the terms of this D&O Coverage Part. The Insurer shall not

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                     unreasonably withhold any consent required under this D&O Coverage Part, provided
                     that in all events the Insurer may withhold consent to any settlement, stipulated judgment
                     or Defense Costs, or any portion thereof, to the extent such Claim (or any portion
                     thereof) is not covered under the terms of this D&O Coverage Part. In addition, the
                     Insured shall not take any action, without the Insurer’s written consent, which prejudices
                     the Insurer’s rights under this D&O Coverage Part.
                     When the Insurer has assumed the defense of a Claim and the Insureds do not consent
                     to the first Settlement Opportunity within thirty (30) days of the date the Insureds are
                     first made aware of such Settlement Opportunity (or in the case of a Settlement
                     Opportunity which arises from a settlement offer by the claimant, then within the time
                     permitted by the claimant to accept such settlement offer, but in all events no later than
                     thirty (30) days after the settlement offer was made), then, subject to any applicable Limit
                     of Liability, the Insurer’s liability for all Loss on account of such Claim shall not exceed:
                     (1) the amount for which the Insurer could have settled such Claim plus Defense Costs
                     incurred as of the date such settlement was proposed in writing by the Insurer
                     (“Settlement Opportunity Amount”), plus (2) eighty percent (80%) of covered Loss in
                     excess of such Settlement Opportunity Amount, it being a condition of this insurance
                     that the remaining twenty percent (20%) of such covered Loss excess of such
                     Settlement Opportunity Amount shall be carried by the Insureds at their own risk and
                     be uninsured. Notwithstanding the foregoing, this paragraph shall not apply until such
                     Settlement Opportunity Amount exceeds the applicable Retention set forth in Item 4. of
                     the Declarations (or Management Liability Supplemental Declarations if issued as a
                     package policy) or to those Claims for which the Insurer has not assumed the defense.
                     With the express prior written consent of the Insurer, an Insured may select a defense
                     counsel different from that selected by other Insured defendants if such selection is
                     required due to an actual conflict of interest.


VIII. Allocation     In the event that the Insured tenders the defense of a Claim in accordance with Clause
                     VII. above, the following allocation provision shall apply
                     If both Loss covered under this D&O Coverage Part and loss not covered under this
                     D&O Coverage Part are incurred by the Insureds on account of any Claim because
                     such Claim against the Insureds includes both covered and non-covered matters, then
                     coverage under this D&O Coverage Part with respect to such Claim shall apply as
                     follows:
                     A.   Defense Costs: One hundred percent (100%) of Defense Costs incurred by the
                          Insured on account of such Claim will be considered covered Loss subject to
                          Clause VII. of this D&O Coverage Part; and
                     B.   Loss other than Defense Costs: All remaining amounts incurred by the Insured on
                          account of such Claim shall be allocated by the Insurer pro rata between covered
                          Loss and non-covered loss based on the legal liability and financial exposures of
                          the Insureds to covered and non-covered matters and, in the event of a settlement
                          in such Claim, based on the number of covered and non-covered counts, causes of
                          action or allegations against the Insureds.
                     If the Insureds and the Insurer cannot agree on an allocation of Loss:
                     A.   no presumption as to allocation shall exist in any arbitration, suit or other

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                             proceeding; and
                        B.   the Insurer, if requested by the Insureds, shall submit the dispute to binding
                             arbitration. The rules of the American Arbitration Association shall apply except with
                             respect to the selection of the arbitration panel, which shall consist of one (1)
                             arbitrator selected by the Insureds, one (1) arbitrator selected by the Insurer, and a
                             third independent arbitrator selected by the first two (2) arbitrators.


IX. Derivative Demand   It is understood and agreed that the Company shall be entitled to payment under
    Coverage            Coverage E. of this D&O Coverage Part for reimbursement of its covered Investigation
                        Costs ninety (90) days after: (i) the Company has made its final decision not to bring a
                        civil proceeding in a court of law against any of its Executives, and (ii) such decision has
                        been communicated to the security holders who made the Derivative Demand upon the
                        Company. However, such payment shall be subject to an undertaking by the Company,
                        in a form acceptable to the Insurer, that the Company shall return to the Insurer such
                        payment in the event any Company or any security holder of the Company brings a
                        Claim alleging, arising out of, based upon or attributable to any Wrongful Acts which
                        were the subject of the Derivative Demand.
                        Nothing in this D&O Coverage Part, including Coverage E., shall be construed to afford
                        coverage under this D&O Coverage Part for any Claim brought by the Company
                        against one or more of its own Executives, other than Investigation Costs incurred in a
                        covered Derivative Demand Investigation. Payment of any Investigation Costs under
                        this D&O Coverage Part shall not waive any of the Insurer’s rights under this Policy or
                        at law.


X. Public Securities    If, during the Policy Period, the Named Entity intends to sell or offer to sell securities of
   Transactions         any kind or nature whatsoever, issued at any time by the Named Entity in a transaction
                        that is not exempt from registration under the Securities Act of 1933, as amended (a
                        “Transaction”), the Named Entity will, no later than thirty (30) days prior to the effective
                        date of the registration statement for such sale or offering, give the Insurer written notice
                        of the proposed sale or offering and all information requested by the Insurer relating
                        thereto. Unless the Insurer determines to issue coverage there shall in fact be no
                        coverage for such Transaction.
                        If, during the Policy Period, a Company purchases securities of a “Publicly Traded
                        Entity” in a transaction which would result in such entity becoming an Affiliate or a
                        Subsidiary of a Company, the Named Entity will, no later than thirty (30) days prior to
                        such entity becoming an Affiliate or Subsidiary, give the Insurer written notice of the
                        proposed purchase and all information requested by the Insurer relating thereto. Unless
                        the Insurer determines to issue coverage there shall in fact be no coverage for such
                        “Publicly Traded Entity.”


XI. Order of Payments   In the event of Loss arising from any Claim for which payment is due under the
                        provisions of this D&O Coverage Part but which Loss, in the aggregate, exceeds the
                        remaining available Limit of Liability applicable to this D&O Coverage Part, then the
                        Insurer shall:
                        A.   first pay such Loss for which coverage is provided under Coverage_A of this D&O

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                 Private Company Management Liability Insurance Policy
                 Directors & Officers Liability Coverage Part (“D&O Coverage Part”)

                       Coverage Part, then with respect to whatever remaining Limit of Liability is
                       available after payment of such Loss;
                 B.    then pay such Loss for which coverage is provided under Coverage B of this D&O
                       Coverage Part, and


                 C.    then pay such Loss for which coverage is provided under Coverage C, D or E of
                       this D&O Coverage Part.
                 In the event of Loss arising from a Claim for which payment is due under the provisions
                 of this D&O Coverage Part (including those circumstances described in the first
                 paragraph of this Clause Xl., the Insurer shall at the written request of the Named
                 Entity:
                 A.    first pay such Loss for which coverage is provided under Coverage A of this D&O
                       Coverage Part, then
                 B.    either pay or hold payment for such Loss for which coverage is provided under
                       Coverage B, C, D or E of this D&O Coverage Part.
                 In the event that the Insurer withholds payment under Coverage B, C, D or E of this D&O
                 Coverage Part pursuant to the above request, then the Insurer shall at any time in the
                 future, at the request of the Named Entity, release such Loss payment to a Company,
                 or make such Loss payment directly to the Individual Insured in the event of covered
                 Loss for any Claim covered under this D&O Coverage Part pursuant to Coverage A of
                 this D&O Coverage Part.
                 The Financial Insolvency of any Company or any Individual Insured shall not relieve
                 the Insurer of any of its obligations to prioritize payment of covered Loss under this
                 D&O Coverage Part pursuant to this Clause XI.




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                              Private Company Management Liability Insurance Policy
                              Employment Practices Liability Coverage Part (“EPLI Coverage Part”)

 IOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE DEPARTMENT.
 IOWEVER, SUCH FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE
‘1EW YORK INSURANCE LAW AND REGULATIONS.




                         In consideration of the premium charged and in reliance upon the statements made by
                         the Insureds in the Application, which forms a part of this Policy, the Insurer agrees as
                         follows:


I. Insuring Agreements   This EPLI Coverage Part shall pay the Loss of an Insured arising from a Claim first
                         made against such Insured during the Policy Period or Discovery Period (it applicable)
                         for any actual or alleged Wrongful Act of such Insured.
                         Defense Provision
                         The Insurer does not assume any duty to defend; provided, however, the Named Entity
                         may, at its sole option, tender to the Insurer the defense of a Claim for which coverage
                         is provided by Clause V. of this EPLI Coverage Part. Regardless of whether the
                         defense is so tendered, the Insurer shall advance Defense Costs in excess of the
                         applicable Retention amount on behalf of the Insured prior to final disposition of the
                         Claim.


II. Definitions          A.     Claim means:
                                (i)     a written demand for monetary, non-monetary or injunctive relief (including any
                                        request to toll or waive any statute of limitations);
                                (ii)    a civil, criminal, administrative or regulatory proceeding for monetary, non-
                                        monetary or injunctive relief which is commenced by:
                                        (1) service of a complaint or similar pleading;
                                        (2) return of an indictment, information or similar document (in the case of a
                                            criminal proceeding); or
                                        (3) receipt or filing of a notice of charges;
                                        including, but not limited to, an Equal Employment Opportunity Commission
                                        (‘EEOC”) or Office of Federal Contract Compliance Program (“OFCCP”) (or
                                        similar federal, state or local agency) proceeding or investigation; or
                                (iii)   an arbitration proceeding pursuant to an employment contract, policy or
                                        practice of a Company commenced by receipt of a demand for arbitration or
                                        similar document.
                                However, in no event shall the term “Claim” include any labor or grievance
                                proceeding which is subject to a collective bargaining agreement.
                         B.     Defense Costs means reasonable and necessary fees, costs and expenses
                                consented to by the Insurer (including premiums for any appeal bond, attachment
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                      bond or similar bond arising out of a covered judgment, but without any obligation to
                      apply for or furnish any such bond), resulting solely from the investigation,
                      adjustment, defense and appeal of a Claim against an Insured, but excluding
                      compensation of any Individual Insured. Defense Costs shall not include any
                      fees, costs or expenses incurred prior to the time that a Claim is first made against
                      an Insured.
               C.     Employee means any past, present or future employee of a Company, whether
                      such employee is in a supervisory, co-worker or subordinate position or otherwise,
                      including any part-time, seasonal and temporary employee or volunteer of a
                      Company in his or her capacity as such. An individual who is leased to a Company
                      shall also be an Employee, but only if such Company provides indemnification to
                      such leased individual in the same manner as is provided to such Company’s own
                      employees.
                      Employee shall also mean any other individual who is contracted to perform work
                      for a Company, or who is an independent contractor for a Company, but only if
                      such Company provides or is required to provide indemnification to such individual
                      in the same manner as provided to such Company’s own employees, pursuant to a
                      written contract; provided, however, a Company may request that no coverage be
                      provided under this EPLI Coverage Part for an independent contractor named in a
                      specific Claim. Such request must be made in writing and within ninety (90) days of
                      the Claim being reported to the Insurer. If no such request is made, this EPLI
                      Coverage Part shall apply as if such Company determined that such independent
                      contractor shall receive coverage.
               D.     Employment Practices Violation means any actual or alleged:
                      (I)     wrongful termination of employment (actual or constructive), dismissal or
                              discharge;
                      (ii)    breach of an implied contract;
                      (iii)   harassment, sexual harassment or hostile work environment;
                      (iv)    discrimination (including, but not limited to, discrimination based upon age,
                              gender, race, color, national origin, religion, sexual orientation or preference,
                              pregnancy or disability);
                      (v)     Retaliation;
                      (vi)    employment-related misrepresentation(s) to an Employee of a Company or
                              applicant for employment with a Company or an Outside Entity;
                      (vii) employment-related libel, slander, humiliation, defamation or invasion of
                            privacy;
                      (viii) wrongful failure to employ or promote;
                      (ix)    wrongful deprivation of career opportunity with a Company, wrongful
                              discipline, wrongful demotion or negligent Employee evaluation, including the
                              giving of negative or defamatory statements in connection with an Employee
                              reference;
                      (x)     failure to grant tenure; or
                      (xi)    with respect to subparagraphs (I) through (x) of this Definition: negligent hiring,

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                              retention, training or supervision, infliction of emotional distress or mental
                              anguish, failure to provide or enforce adequate or consistent organizational
                              policies and procedures, or violation of an individual’s civil rights;
                      but only if the actual or alleged Employment Practices Violation relates to an
                      Employee of a Company or an Outside Entity, or to an applicant for employment
                      with a Company or an Outside Entity, whether committed directly, indirectly,
                      intentionally or unintentionally.
               E.     Executive means:
                      (I)     any past, present or future duly elected or appointed director, officer,
                              management committee member (of a duly constituted committee) or member
                              of the Board of Managers;
                      (ii)    any past, present or future person in a duly elected or appointed position in an
                              entity which is organized and operated in a Foreign Jurisdiction that is
                              equivalent to an executive position listed in subparagraph fi) of this Definition;
                              or
                      (iii)   any past, present or future General Counsel and Risk Manager (or equivalent
                              position) of the Named Entity.
               F.     Financial Insolvency means: fi) the appointment by any government official,
                      agency, commission, court or other governmental authority of a receiver,
                      conservator, liquidator, trustee, rehabilitator or similar official to take control of,
                      supervise, manage or liquidate an insolvent Company; (ii) the filing of a petition
                      under the bankruptcy laws of the United States of America; or (iii) as to both fi) or (ii)
                      of this Definition, any equivalent events outside the United States of America.
               G.     Foreign Jurisdiction means any jurisdiction other than the United States of
                      America or any of its territories or possessions.
               H.     Individual Insured means any:
                      (i)     Executive of a Company;
                      (ii)    Employee of a Company; or
                      (iii)   Outside Entity Executive.
                      Insured means:
                      (i)     a Company; or
                      (ii)    an Individual Insured.
               J.     Loss means the amount that any Insured becomes legally obligated to pay in
                      connection with any covered Claim, including, but not limited to:
                      fi)     judgments (including pre-judgment and post-judgment interest on any covered
                              portion thereof) and settlements;
                      (ii)    Defense Costs;
                      (iii)   damages, including punitive or exemplary damages and the multiple portion of
                              multiplied damages relating to punitive or exemplary damages (including the
                              multiple or liquidated damages awards under the Age Discrimination in
                              Employment Act and the Equal Pay Act). The enforceability of this
                              subparagraph (iii) shall be governed by such applicable law that most favors

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                             coverage for such punitive, exemplary and multiple damages;
                      (iv)   salary, wages and bonus compensation, including back pay and front pay; and
                      (v)    an award of statutory attorneys’ fees.
                      Loss shall not include: fi) any amount for which the lnsureds are not financially
                      liable or which are without legal recourse to the Insureds; (ii) matters which may be
                      deemed uninsurable under the law pursuant to which this Policy shall be construed;
                       iii) employment-related benefits, stock options, perquisites, deferred compensation
                      or any other type of compensation other than salary, wages or bonus compensation;
                      (iv) the costs and expenses of complying with any order of injunctive relief or other
                      form of non-monetary relief, including any liability or costs incurred by any Insured
                      to modify any building or property in order to make said building or property more
                      accessible or accommodating to any disabled person, or any liability or costs
                      incurred in connection with any educational, sensitivity or other corporate program,
                      policy or seminar; (v) civil or criminal fines or penalties; (vi) taxes or tax penalties or
                      interest thereon (whether imposed by federal, state, local or other governmental
                      authority). Defense Costs shall be provided for items specifically excluded from
                      Loss pursuant to subparagraphs (i) through (vi) of this subparagraph provided such
                      Defense Costs result from a covered Claim.
               K.     Outside Entity means:
                      (i)    any not-for-profit organization, other than a Subsidiary or Affiliate; or
                      (ii)   any other entity listed as an Outside Entity by endorsement to this Policy.
               L.     Outside Entity Executive means: (I) any Executive of a Company serving in the
                      capacity as director, officer, trustee, trustee emeritus or governor of an Outside
                      Entity, but only if such service is at the specific request or direction of a Company;
                      or (ii) any other person listed as an Outside Entity Executive in an endorsement to
                      this EPLI Coverage Part. It is understood and agreed that, in the event of a
                      disagreement between a Company and an individual as to whether such individual
                      was acting at the specific request or direction of such Company, this EPLI
                      Coverage Part shall abide by the determination of the Named Entity on this issue
                      and such determination shall be made by written notice to the Insurer within ninety
                      (90) days after the Claim is first reported to the Insurer pursuant to the terms of the
                      Policy. In the event no determination is made within such period, this EPLI
                      Coverage Part shall apply as if the Named Entity determined that such Individual
                      Insured was not acting at such Company’s specific request or direction.
                M.    Retaliation means an adverse employment act of an Insured alleged to be in
                      response to any of the following activities: fi) the disclosure or threat of disclosure by
                      an Employee of a Company or an Outside Entity to a superior or to any
                      governmental agency of any act by an Insured that is alleged to be a violation of
                      any federal, state, local or foreign law, common or statutory, or any rule or
                      regulation promulgated thereunder; (ii) the actual or attempted exercise by an
                      Employee of a Company or an Outside Entity of any right that such Employee
                      has under law, including rights under worker’s compensation laws, the Family and
                      Medical Leave Act, the Americans with Disabilities Act or any other law relating to
                      employee rights; (iii) the filing of any claim under the Federal False Claims Act or
                      any other federal, state, local or foreign “whistle-blower” law; or (iv) strikes of an
                      Employee of a Company or an Outside Entity.

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                         Employment Practices Liability Coverage Part (“EPLI Coverage Part”)

                    N.     Settlement Opportunity means an Insurer recommended settlement that is within
                           any applicable Limit of Liability and that is acceptable to the claimant.
                    0.     Third Party Violation means any actual or alleged harassment or unlawful
                           discrimination, as described in subparagraphs (iii) and (iv) of the Definition of
                           Employment Practices Violation, or the violation of the civil rights of a person
                           relating to such harassment or discrimination, when such acts are alleged to be
                           committed against anyone other than an Individual Insured or applicant for
                           employment with a Company or an Outside Entity, including, but not limited to,
                           customers, vendors and suppliers.
                    P.     Wrongful Act means any actual or alleged: (i) Employment Practices Violation;
                           or (ii) Third Party Violation.


Ill. Exclusions     The Insurer shall not be liable to make any payment for Loss in connection with any
                    Claim made against any Insured:
                    A.     arising out of, based upon or attributable to the committing of any deliberate criminal
                           or deliberate fraudulent act if any final adjudication establishes that such deliberate
                           criminal or deliberate fraudulent act was committed;
                    B.     alleging, arising out of, based upon or attributable to the facts alleged, or the same
                           or Related Wrongful Act(s) alleged or contained in any claim or demand which has
                           been reported, or in any circumstances of which notice has been given, under any
                           prior insurer’s policy or policy of which this EPLI Coverage Part is a renewal or
                           replacement or which it may succeed in time;
                    C.     alleging, arising out of, based upon or attributable to any demand, suit, EEOC (or
                           similar state, local or foreign agency) proceeding or investigation or other
                           proceeding pending against any Insured, or order, decree or judgment entered for
                           or against any Insured, on or prior to the Continuity Date for this EPLI Coverage
                           Part, or the alleging of any Wrongful Act which is the same or a Related Wrongful
                           Act to that alleged in such pending or prior demand, suit, EEOC (or similar state,
                           local or foreign agency) proceeding or investigation or other proceeding in the
                           underlying demand, order, decree or judgment;
                    D.     with respect to an Outside Entity Executive, for any Wrongful Act occurring prior
                           to the Continuity Date if any Insured, as of such Continuity Date, knew or could
                           have reasonably foreseen that such Wrongful Act could lead to a Claim under this
                           EPLI Coverage Part;
                    E.     alleging, arising out of, based upon or attributable to any actual or alleged act, error
                           or omission of an Individual Insured serving in any capacity, other than as an
                           Executive or Employee of a Company, or as an Outside Entity Executive of an
                           Outside Entity;
                    F.     for bodily injury, sickness, disease or death of any person, or damage to, loss of use
                           or destruction of any tangible property; provided, however, this Exclusion shall not
                           apply to a Claim for emotional distress or mental anguish arising from a Wrongful
                           Act;
                    G.     for violation(s) of any of the responsibilities, obligations or duties imposed by the
                           Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act
                           (except the Equal Pay Act), the National Labor Relations Act, the Worker

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                          Adjustment and Retraining Notification Act, the Consolidated Omnibus Budget
                          Reconciliation Act, the Occupational Safety and Health Act, any rules or regulations
                          of the foregoing promulgated thereunder, and amendments thereto or any similar
                          federal, state, local or foreign statutory law or common law; provided, however, this
                          Exclusion shall not apply to the portion of a Claim attributable to Retaliation;
                   H.     alleging, arising out of, based upon or attributable to:
                          fi)     the refusal, failure or inability of any Insured to pay wages or overtime pay (or
                                  amounts representing such wages or overtime pay) for services rendered
                                  (other than tort-based back pay or front pay damages for non-conversion
                                  related torts);
                          (ii)    improper payroll deductions taken by any Insured from any Employee or
                                  purported Employee; or
                          (iii)   failure to provide or enforce legally required meal or rest break periods;
                          provided, however, this Exclusion shall not apply to the portion of a Claim
                          attributable to Retaliation;
                   I.     alleging, arising out of, based upon or attributable to any obligation pursuant to any
                          worker’s compensation, disability benefits, unemployment compensation,
                          unemployment insurance, retirement benefits, social security benefits or similar law;
                          provided, however, this Exclusion shall not apply to the portion of a Claim
                          attributable to Retaliation; or
                   J.     alleging, arising out of, based upon or attributable to any actual or alleged
                          contractual liability of any Insured under any express contract or agreement;
                          provided, however, this Exclusion shall not apply to:
                          (i)     liability which would have attached in the absence of such express contract or
                                  agreement; or
                          (ii)    Loss constituting Defense Costs.
                   For the purpose of determining the applicability of the foregoing Exclusions, other than
                   Exclusions B., C. and D.: (i) the facts pertaining to and knowledge possessed by any
                   Insured shall not be imputed to any other Individual Insured; and (ii) only facts
                   pertaining to and knowledge possessed by any past, present or future chairman, chief
                   executive officer or chief financial officer (or equivalent positions) of a Company shall be
                   imputed to such Company.


IV. Retention      The following provision shall apply in addition to the provisions of Clause V. RETENTION
                   of the General Terms and Conditions:
                   The Insurer shall only be liable for the amount of Loss arising from a Claim which is in
                   excess of the applicable Retention set forth in Item 4. of the Declarations (or
                   Management Liability Supplemental Declarations if issued as a package policy) for this
                   EPLI Coverage Part, such Retention to be borne by the Insureds and shall remain
                   uninsured. A single Retention shall apply to Loss arising from all Claims alleging the
                   same Wrongful Act or Related Wrongful Act(s).
                   In the event a Company is unable to pay an applicable Retention due to Financial
                   Insolvency, then the Insurer shall commence advancing Loss within the Retention;

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                      provided, however, that the Insurer shall be entitled to recover the amount of Loss
                      advanced within the Retention from such Company pursuant to Clause X.
                      SUBROGATION of the General Terms and Conditions.



V. Defense Costs,     Defense
   Defense Counsel,   The Insurer does not assume any duty to defend. The Insureds shall defend and
   Settlements &      contest any Claim made against them.
   Judgments
                      Notwithstanding the foregoing, the Insured shall not retain defense counsel or incur any
                      Defense Costs without the prior written consent of the Insurer, such consent not to be
                      unreasonably withheld.
                      Insured’s Option to Tender Defense
                      The lnsureds shall have the right to tender the defense of the Claim to the Insurer,
                      which right shall be exercised in writing by the Named Entity on behalf of all Insureds to
                      the Insurer pursuant to the notice provisions of Clause VI. of the General Terms and
                      Conditions. This right shall terminate it not exercised within thirty (30) days of the date
                      the Claim is first made against an Insured. Further, from the date the Claim is first
                      made against an Insured to the date when the Insurer accepts the tender of the defense
                      of such Claim, the Insureds shall take no action, or fail to take any required action, that
                      prejudices the rights of any Insured or the Insurer with respect to such Claim. Provided
                      that the Insureds have complied with the foregoing, the Insurer shall be obligated to
                      assume the defense of the Claim, even if such Claim is groundless, false or fraudulent.
                      The assumption of the defense of the Claim shall be effective upon written confirmation
                      sent thereof by the Insurer to the Named Entity. Once the defense has been so
                      tendered, the Insured shall have the right to effectively associate with the Insurer in the
                      defense and the negotiation of any settlement of any Claim, subject to the provisions of
                      this Clause V.
                      In the event the Insurer accepts the tender of defense of such Claim, the Insurer shall
                      be responsible for the retention of defense counsel for such Claim.
                      General Provisions
                      When the Insurer has not assumed the defense of a Claim pursuant to this Clause V.,
                      the Insurer nevertheless shall advance, at the written request of the Insured, Defense
                      Costs prior to the final disposition of a Claim. Such advanced payments by the Insurer
                      shall be repaid to the Insurer by the Insureds, severally according to their respective
                      interests, in the event and to the extent that the Insu reds shall not be entitled under the
                      terms and conditions of this EPLI Coverage Part to payment of such Loss.
                      The Insurer shall have the right to fully and effectively associate with each and every
                      Insured in the defense of any Claim that appears reasonably likely to involve the
                      Insurer, including, but not limited to, negotiating a settlement. Each and every Insured
                      agrees to provide such information as the Insurer may reasonably require and to give the
                      Insurer full cooperation and take such actions which, in such Insured’s judgment, are
                      deemed necessary and practicable to prevent or limit Loss arising from any Wrongful
                      Act.
                      Additionally, the Insured shall not admit or assume any liability, enter into any settlement

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                   agreement or stipulate to any judgment without the prior written consent of the Insurer. If
                   the Insured admits or assumes any liability in connection with any Claim without the
                   consent of the Insurer, then the Insurer shall not have any obligation to pay Loss with
                   respect to such Claim. Only those settlements, stipulated judgments and Defense Costs
                   which have been consented to by the Insurer shall be recoverable as Loss under the
                   terms of this EPLI Coverage Part. The Insurer shall not unreasonably withhold any
                   consent required under this EPLI Coverage Part, provided that in all events the Insurer
                   may withhold consent to any settlement, stipulated judgment or Defense Costs, or any
                   portion thereof, to the extent such Claim (or any portion thereof) is not covered under the
                   terms of this EPLI Coverage Part. In addition, the Insured shall not take any action,
                   without the Insurer’s written consent, which prejudices the Insurer’s rights under this
                   EPLI Coverage Part.
                   In the event the Insureds do not consent to the first Settlement Opportunity within thirty
                   (30) days of the date the Insureds are first made aware of such Settlement Opportunity
                   (or in the case of a Settlement Opportunity which arises from a settlement offer by the
                   claimant, then within the time permitted by the claimant to accept such settlement offer,
                   but in all events no later than thirty (30) days after the settlement offer was made), then,
                   subject to any applicable Limit of Liability, the Insurer’s liability for all Loss on account
                   of such Claim shall not exceed: (1) the amount for which the Insurer could have settled
                   such Claim plus Defense Costs incurred as of the date such settlement was proposed in
                   writing by the Insurer (Settlement Opportunity Amount”), plus (2) eighty percent
                   (80%) of covered Loss in excess of such Settlement Opportunity Amount, it being a
                   condition of this insurance that the remaining twenty percent (20%) of such covered Loss
                   excess of such Settlement Opportunity Amount shall be carried by the Insureds at
                   their own risk and be uninsured. Notwithstanding the foregoing, this paragraph shall not
                   apply until such Settlement Opportunity Amount exceeds the applicable Retention set
                   forth in Item 4. of the Declarations (or Management Liability Supplemental Declarations if
                   issued as a package policy).
                   With the express prior written consent of the Insurer, an Insured may select a defense
                   counsel different from that selected by other Insured defendants if such selection is
                   required due to an actual conflict of interest.


VI. Allocation     In the event that the Insured tenders the defense of a Claim in accordance with Clause
                   V. above, the following allocation provision shall apply:
                   If both Loss covered under this EPLI Coverage Part and loss not covered under this
                   EPLI Coverage Part are incurred by the Insureds on account of any Claim because
                   such Claim against the Insureds includes both covered and non-covered matters, then
                   coverage under this EPLI Coverage Part with respect to such Claim shall apply as
                   follows:
                   A.      Defense Costs: One hundred percent (100%) of Defense Costs incurred by the
                           Insured on account of such Claim will be considered covered Loss subject to
                           Clause V. of this EPLI Coverage Part; and
                    B.     Loss other than Defense Costs: All remaining amounts incurred by the Insured on
                           account of such Claim shall be allocated by the Insurer pro rata between covered
                           Loss and non-covered loss based on the legal liability and financial exposures of
                           the Insureds to covered and non-covered matters and, in the event of a settlement

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                      in such Claim, also based on the number of covered and non-covered counts,
                      causes of action or allegations against the Insured(s).
               If the Insureds and the Insurer cannot agree on an allocation of Loss:
               A.     no presumption as to allocation shall exist in any arbitration, suit or other
                      proceeding; and
               B.     the Insurer, if requested by the Insureds, shall submit the dispute to binding
                      arbitration. The rules of the American Arbitration Association shall apply except with
                      respect to the selection of the arbitration panel, which shall consist of one (1)
                      arbitrator selected by the Insureds, one (1) arbitrator selected by the Insurer, and a
                      third independent arbitrator selected by the first two (2) arbitrators.


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 IOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE DEPARTMENT.
 IOWEVER, SUCH FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE
f’IEW YORK INSURANCE LAW AND REGULATIONS.




                         In consideration of the premium charged and in reliance upon the statements made by
                         the Insureds in the Application, which forms a part of this Policy, the Insurer agrees as
                         follows:


I. Insuring Agreements   This FLI Coverage Part affords the following coverage:
                         Coverage A: Fiduciary Liability Coverage
                         This ELI Coverage Part shall pay the Loss of an Insured arising from a Claim first made
                         against such Insured during the Policy Period or the Discovery Period (if applicable)
                         for any actual or alleged Wrongful Act of such Insured (or any person for whom such
                         Insured is legally responsible).


                         Coverage B: Voluntary Settlement Program Coverage
                         This FLI Coverage Part shall pay the Voluntary Compliance Loss of an Insured with
                         respect to a Voluntary Settlement Program Notice first given to the Insurer during the
                         Policy Period or the Discovery Period (if applicable) provided: (i) the Voluntary
                         Compliance Loss is incurred after such Voluntary Settlement Program Notice is first
                         given to the Insurer; and (ii) the Insurer’s maximum liability for all Voluntary
                         Compliance Loss with respect to all Voluntary Settlement Program Notices shall be
                         the Voluntary Compliance Loss Limit of Liability.
                         The payment of any Voluntary Compliance Loss under this FLI Coverage Part shall
                         not waive any of the Insurer’s rights under this Policy or at law, including in the event
                         that a Voluntary Compliance Loss results in a Claim.


                         Defense Provision
                         In accordance with Clause VII. of this FLI Coverage Part, the Insurer shall have the right
                         and duty to defend any Claim against an Insured alleging a Wrongful Act, even if such
                         Claim is groundless, false or fraudulent; provided, however, the Insured may at its sole
                         option assume the defense of a Claim for which coverage is provided by this ELI
                         Coverage Part. Regardless of whether the defense is so assumed, the Insurer shall
                         advance Defense Costs in excess of the applicable Retention on behalf of the Insured
                         prior to final disposition of the Claim.
                         With respect to any Voluntary Settlement Program Notice, the Insured shall not admit
                         or assume any liability, enter into any settlement agreement, stipulate to any judgment,
                         incur any Voluntary Compliance Loss or retain any defense counsel without the prior


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                     wriffen consent of the Insurer.


II. Definitions      A.   Benefits means any obligation under a Plan to a participant or beneficiary that is a
                          payment of money or property, or the grant of a privilege, right, option or perquisite.
                     B.   Breach of Fiduciary Duty means a violation of the responsibilities, obligations or
                          duties imposed upon Insureds by ERISA.
                     C.   Claim means:
                          (i)     a written demand for monetary, non-monetary or injunctive relief (including any
                                  request to toll or waive any statute of limitations);
                          (ii)    a civil, criminal or arbitration proceeding for monetary, non-monetary or
                                  injunctive relief which is commenced by:
                                  (1) service of a complaint or similar pleading;
                                  (2) return of an indictment, information or similar document (in the case of a
                                      criminal proceeding); or
                                  (3) receipt or filing of a notice of charges;
                          (iii)   a formal agency or regulatory or adjudicative proceeding commenced by the
                                  filing of a notice of charges or similar document or by entry of a formal
                                  investigative order or similar document to which an Insured is subject; or
                          (iv)    a written notice of commencement of a fact-finding investigation by the U.S.
                                  Department of Labor, the U.S. Pension Benefit Guaranty Corporation, or any
                                  similar governmental authority located outside the United States, including, but
                                  not limited to, the Pensions Ombudsman appointed by the United Kingdom
                                  Secretary of State for Social Services or by the United Kingdom Occupational
                                  Pensions Regulatory Authority, pursuant to the English Pension Scheme Act
                                  1993, the English Pensions Act 1995, or rules or regulations thereunder.
                     D.   Cleanup Costs means expenses (including, but not limited to, legal and
                          professional fees) incurred in testing for, monitoring, cleaning up, removing,
                          containing, treating, neutralizing, detoxifying or assessing the effects of Pollutants.
                     F.   Consulting Fees means fees charged by a third party actuary, benefits consultant
                          or accountant resulting solely from the correction of an actual or potential Breach of
                          Fiduciary Duty, but excluding any fees, costs or expenses associated with: (i) a
                          routine or regularly scheduled Plan audit; or (ii) an audit or review for the purpose of
                          identifying or finding the Breach of Fiduciary Duty or assessing the extent of Loss
                          resulting from such Breach of Fiduciary Duty.
                     F.   Defense Costs means the reasonable and necessary fees, costs and expenses
                          consented to by the Insurer (including premiums for any appeal bond, attachment
                          bond or similar bond arising out of a covered judgment, but without any obligation to
                          apply for or furnish any such bond), resulting solely from the investigation,
                          adjustment, defense and appeal of a Claim against an Insured, but excluding
                          compensation of any Individual Insured. Defense Costs shall not include any
                          fees, costs or expenses incurred prior to the time that a Claim is first made against
                          an Insured.
                     G.   ERISA means the Employee Retirement Income Security Act of 1974, the English

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                     Pension Scheme Act 1993, the English Pensions Act 1995, all as amended, any
                     similar common or statutory law anywhere in the world, and any rules or regulations
                     promulgated under any such Acts or law.
                H.   Foreign Jurisdiction means any jurisdiction other than the United States of
                     America or any of its territories or possessions.
                     Foreign Policy means any standard fiduciary or pension trust liability insurance
                     policy (including all mandatory endorsements, if any) of the Insurer or an affiliate of
                     the Insurer, which has been approved for sale within a Foreign Jurisdiction that
                     provides coverage substantially similar to the coverage afforded under this FLI
                     Coverage Part. If more than one such policy exists, then Foreign Policy means the
                     standard basic policy form typically offered for sale in that Foreign Jurisdiction for
                     comparable risks by the Insurer or any other affiliate company of the Insurer. The
                     term Foreign Policy shall not include any directors and officers, partnership
                     management, comprehensive general liability, employment practices liability or
                     professional liability coverage.
                J.   Indemnifiable Loss means Loss for which an Organization has indemnified or is
                     permitted or required to indemnify any Individual Insured pursuant to law, contract
                     or the charter, by-laws, operating agreement or similar documents of such
                     Organization.
                K.   Individual Insured means:
                     (i)     any past, present or future director, officer, governor, general partner,
                             management committee member, duly elected or appointed member of a
                             Pension Oversight Committee, member of the board of managers or
                             employee of an Organization or, if applicable, of a Plan;
                     (ii)    anyone described in subparagraph (I) of this Definition acting in their capacity
                             as a fiduciary, administrator or trustee of a Plan; or
                     (iii)   any past, present or future natural person in a position equivalent to a position
                             listed in subparagraph (i) or (ii) of this Definition in the event that an
                             Organization is operating in a Foreign Jurisdiction.
                L.   Insured means: (i) any Individual Insured; (ii) any Plan; (iii) any Organization; (iv)
                     any Pension Oversight Committee; or (v) any other person or entity in his, her or
                     its capacity as a fiduciary, administrator or trustee of a Plan and included by written
                     endorsement attached to this FLI Coverage Part.
                M.   Loss means the amount that any Insured becomes legally obligated to pay in
                     connection with any covered Claim, including, but not limited to:
                     (i)     judgments (including pre-judgment and post-judgment interest on any covered
                             portion thereof) and settlements;
                     (ii)    Defense Costs; and
                     (iii)   damages, including punitive or exemplary damages and the multiple portion of
                             multiplied damages relating to punitive or exemplary damages. The
                             enforceability of this subparagraph (iii) shall be governed by such applicable
                             law that most favors coverage for such punitive, exemplary and multiple
                             damages.


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                   Solely with respect to Coverage B, Loss means Voluntary Compliance Loss.
                   With respect to Coverages A and B, Loss does not include:
                   (i)     any amount for which an Insured is not financially liable or which is without
                           legal recourse to the Insured;
                   (ii)    any costs incurred by an Organization or Plan to comply with any order for
                           injunctive or other non-monetary relief, or to comply with an agreement to
                           provide such relief;
                   (iii)   any amount incurred by an Insured in the defense or investigation of any
                           action, proceeding, investigation or demand that is not then a Claim even if (1)
                           such amount also benefits the defense of a covered Claim, or (2) such action,
                           proceeding, investigation or demand subsequently gives rise to a Claim;
                   (iv)    matters which may be deemed uninsurable under the law pursuant to which
                           this Policy shall be construed;
                   (v)     taxes, fines or penalties (whether imposed by federal, state, local or other
                           governmental authority), except:
                           (1)   the five percent (5%) or less, or the twenty percent (20%) or less, civil
                                 penalties imposed upon an Insured as a fiduciary under Section 502(i) or
                                 (I), respectively, of ERISA, as amended;
                           (2)   any civil penalties imposed by the Pension Ombudsman appointed by the
                                 United Kingdom Secretary of State for Social Services or by the United
                                 Kingdom Occupational Pensions Regulatory Authority, pursuant to the
                                 English Pension Scheme Act 1993, the English Pensions Act 1995, or
                                 rules or regulations thereunder; provided any coverage for such civil
                                 penalties applies only if the funds or assets of the subject Plan are not
                                 used to fund, pay or reimburse the premium for this ELI Coverage Part;
                           (3)   solely with respect to Coverage B, Voluntary Compliance Loss; or
                           (4)   any civil money penalties imposed upon an Insured for violation of the
                                 privacy provisions of the Health Insurance Portability and Accountability
                                 Act (“HIPAA”) (hereinafter civil money penalties referred to as “HIPAA
                                 Penalties”); provided the Insurer’s maximum liability for all HIPAA
                                 Penalties on account of all Claims first made during each Policy Period
                                 shall be the HIPAA Penalties Sublimit of Liability set forth under
                                 Clause V. of this FLI Coverage Part; or
                   (vi)    Benefits, or that portion of any settlement or award in an amount equal to
                           such Benefits, unless and to the extent that recovery of such Benefits is
                           based upon a covered Wrongful Act and is payable as a personal obligation
                           of an Individual Insured; provided, however, Loss shall include a monetary
                           award in, or fund for settling, a Claim against any Insured to the extent it
                           alleges a reduction in the value of Plan assets or a reduction in the value of
                           the actual accounts of Plan participants by reason of a change in value of the
                           investments held by that Plan, regardless of whether the amounts sought in
                           such Claim have been characterized by plaintiffs as “benefits” or held by a
                           court to be benefits.”
                   Defense Costs shall be provided for items specifically excluded from Loss

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                     pursuant to subparagraphs (i), (ii), (iv), (v) and (vi) as applicable to Coverages A and
                     B, subject to the other terms, conditions and Exclusions of this FLI Coverage Part.
                     Defense Costs shall not be provided for items specifically excluded from Loss
                     pursuant to subparagraph (iii) immediately above.
                N.   Pension Oversight Committee means any committee or subcommittee duly
                     formed by a Trustee Company and duly appointed to act as a trustee of the Plan or
                     acting as a constructive trustee of the Plan with responsibility for pension or
                     Benefits oversight.
                0.   Plan means:
                     (i)     any plan, fund, trust or program (including any Employee Benefit Plan,
                             Pension Benefit Plan, Welfare Plan and IRA-Based Plan, as each are defined
                             in ERISA), established anywhere in the world, which was, is or shall be
                             sponsored solely by an Organization, or sponsored jointly by an Organization
                             and a labor organization, solely for the benefit of the employees or the
                             directors and officers of such Organization and which existed on or before the
                             inception date set forth in Item 2. of the Declarations or which is created,
                             formed or acquired after such inception date; provided that any coverage with
                             respect to any such Plan created, formed or acquired during the Policy
                             Period shall apply only for Wrongful Acts committed, attempted, or allegedly
                             committed or attempted, after the effective date of such creation, formation or
                             acquisition and shall be subject to Clause IX. of this FLI Coverage Part;
                     (ii)    any other employee benefit plan or program not subject to ERISA which is
                             sponsored solely by an Organization for the benefit of the employees or
                             directors and officers of such Organization, including any fringe benefit or
                             excess benefit plan;
                     (iii)   any other plan or program otherwise described in subparagraphs (i) or (ii) of
                             this Definition while such plan or program is being actively developed, formed
                             or proposed by an Organization prior to the formal creation of such plan or
                             program; provided, however, no coverage is afforded under this FLI Coverage
                             Part for any Claim against an Insured as a settlor of any plan, fund, trust or
                             program or similar uninsured capacity with respect to any plan or program; and
                     (iv)    any other plan, fund or program specifically included as a Plan by
                             endorsement to this ELI Coverage Part.
                     The Definition of Plan shall also include: the following government-mandated
                     programs: unemployment insurance, Social Security or disability benefits, but solely
                     with respect to a Wrongful Act defined in subparagraph (ii) of the Definition of
                     Wrongful Act.
                     In no event, however, shall the Definition of Plan include any employee stock
                     ownership plan or multiemployer plan.
                P.   Pollutants means any solid, liquid, gaseous, biological, radiological or thermal
                     irritant or contaminant, including smoke, vapor, dust, fibers, mold, spores, fungi,
                     germs, soot, fumes, acids, alkalis, chemicals and Waste. Waste” includes, but is
                     not limited to, materials to be recycled, reconditioned or reclaimed and nuclear
                     materials.
                Q.   Remediation Expenses means reasonable and necessary fees, costs and

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                    expenses consented to by the Insurer resulting from the correction of an actual or
                    potential Breach of Fiduciary Duty, but excluding any fees, costs and expenses
                    associated with finding or assessing such Breach of Fiduciary Duty and any
                    compensation of Individual lnsureds or employees of an Insured.
               R.   Settlement Opportunity means an Insurer recommended settlement that is within
                    any applicable Limit of Liability and that is acceptable to the claimant.
               S.   Trustee Company means a corporate trustee company that is: (i) established by an
                    Organization formed and operating in a Foreign Jurisdiction, or any predecessor
                    of such Organization; and (ii) duly appointed to act as a trustee of a Plan in a
                    Foreign Jurisdiction and sponsored solely by such Organization.
               I.   Voluntary Compliance Loss means any Remediation Expenses, Consulting
                    Fees or other amounts paid by an Insured to a governmental authority pursuant to
                    a Voluntary Settlement Program for the actual or alleged inadvertent non
                    compliance by a Plan with any statute, rule or regulation; provided, however,
                    Voluntary Compliance Loss shall not include: (i) any costs to correct the non
                    compliance, or any other charges, expenses, taxes or damages; or f ii) any fees,
                    fines, penalties or sanctions relating to a Plan which, as of the earlier of the
                    inception of this FLI Coverage Part or the inception of the first policy in an
                    uninterrupted series of policies issued by the Insurer of which this FLI Coverage
                    Part is a direct or indirect renewal or replacement, any Insured had knowledge of
                    the actual or alleged inadvertent non-compliance.
               U.   Voluntary Compliance Loss Limit of Liability means the dollar amount set forth
                    in Item 6(b) of the Declarations for Management Liability Supplemental Declarations
                    if issued as a package policy).
               V.   Voluntary Settlement Program means any voluntary compliance resolution
                    program or similar voluntary settlement program administered by the U.S. Internal
                    Revenue Service or the U.S. Department of Labor, including, but not limited to, the
                    Employee Plans Compliance Resolution System, the Audit Closing Agreement
                    Program, the Voluntary Compliance Resolution Program, the Walk-in Closing
                    Agreement Program, the Administrative Policy Regarding Self-Correction, the Tax
                    Sheltered Annuity Voluntary Correction Program, the Delinquent Filer Voluntary
                    Compliance Program and the Voluntary Fiduciary Correction Program, or any
                    similar program administered by a governmental authority located outside the
                    United States of America.
               W.   Voluntary Settlement Program Notice means prior written notice to the Insurer by
                    the Insured of the Insured’s intent to enter into a Voluntary Settlement Program.
               X.   Wrongful Act means:
                    (i)    a violation of any of the responsibilities, obligations or duties imposed upon
                           fiduciaries by ERISA with respect to a Plan, or any matter claimed against an
                           Insured solely by reason of his, her or its status as a fiduciary, but only with
                           respect to a Plan;
                    (ii)   any act, error or omission solely in the perlormance the following
                           administrative duties or activities, but only with respect to a Plan:
                           (1)   counseling employees, participants and beneficiaries;


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                                      (2)   providing interpretations;
                                      (3)   handling of records;
                                      (4)   activities affecting enrollment, termination or cancellation of employees,
                                            participants and beneficiaries under the Plan; or
                                      (5)   complying with the privacy provisions of the HIPAA and any amendments
                                            thereto;
                                      or any matter claimed against an Insured solely by reason of his, her or its
                                      status as an administrator, but only with respect to a Plan.


Ill. Worldwide Coverage   For Claims made and maintained in a Foreign Jurisdiction for Wrongful Acts
                          committed in such Foreign Jurisdiction, the Insurer shall apply to such Claims the
                          provisions of the Foreign Policy in the Foreign Jurisdiction that are more favorable to
                          such Insured in the Foreign Jurisdiction; provided, however, this paragraph shall apply
                          only to provisions more favorable by virtue of insuring clauses, extensions, definitions,
                          exclusions, pre-authorized securities or other defense counsel, discovery or extended
                          reporting period, notice and authority, dispute resolution process or order of payments
                          provisions, if any, of the Foreign Policy when compared to the same or similar clauses
                          of this FLI Coverage Part. This paragraph shall not apply to excess provisions or policy
                          provisions that address cancellation and non-renewal, duty to defend, defense within or
                          without limits, taxes, claims made provisions or any other provision of this Policy intended
                          to govern coverage worldwide.
                          All premiums, limits, Retentions, Loss and other amounts under this FLI Coverage Part
                          are expressed and payable in the currency of the United States of America. If judgment
                          is rendered, settlement is denominated or other elements of Loss are stated or incurred
                          in a currency other than United States of America dollars, payment of covered Loss due
                          under this FLI Coverage Part (subject to the terms, conditions and limitations of this FLI
                          Coverage Part) will be made either in such other currency (at the option of the Insurer
                          and if agreeable to the Named Organization) or, in United States of America dollars, at
                          the rate of exchange published in The Wall Street Journal on the date the Insurer’s
                          obligation to pay such Loss is established (or if not published on such date the next
                          publication date of The Wall Street Journal).


IV. Exclusions            The Insurer shall not be liable to make any payment for Loss in connection with any
                          Claim made against any Insured:
                          A.   arising out of, based upon or attributable to:
                               (i)    the gaining of any profit or advantage to which any final adjudication
                                      establishes the Insured was not legally entitled; or
                               (ii)   the committing of any deliberate criminal or deliberate fraudulent act, or any
                                      willful violation of any statute, rule or law, including, but not limited to ERISA, if
                                      any final adjudication establishes that such deliberate criminal or deliberate
                                      fraudulent act or willful violation of statute, rule or law was committed;
                          B.   alleging, arising out of, based upon or attributable to the facts alleged, or the same
                               or Related Wrongful Act(s) alleged or contained in any claim or demand which has
                               been reported, or in any circumstances of which notice has been given, under any

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                    prior insurer’s policy or policy of which this FLI Coverage Part is a renewal or
                    replacement or which it may succeed in time;
               C.   alleging, arising out of, based upon or attributable to any demand, suit or other
                    proceeding pending against, or order, decree or judgment entered for or against any
                    Insured, on or prior to the Continuity Date for this ELI Coverage Part, or the
                    alleging of any Wrongful Act which is the same or a Related Wrongful Act to that
                    alleged in such pending or prior demand, suit, proceeding or in the underlying
                    demand, order, decree or judgment;
               D.   for discrimination in violation of any law; provided, however, this Exclusion shall not
                    apply to discrimination in violation of ERISA;
               E.   for failure to fund a Plan in accordance with ERISA or the Plan instrument or
                    documents, or the failure to collect contributions owed to the Plan; provided,
                    however, this Exclusion shall not apply to: (I) Defense Costs; or (ii) the portion of
                    Loss that is payable as a personal obligation of an Individual Insured;
               F.   alleging, arising out of, based upon or attributable to any act, error or omission of an
                    Insured in his, her or its capacity as a fiduciary or administrator of any plan, fund or
                    program, other than a Plan as defined in this ELI Coverage Part, or by reason of
                    his, her or its status as a fiduciary or administrator of such other plan, fund or
                    program;
               G.   for bodily injury, sickness, disease, death or emotional distress of any person, or
                    damage to, loss of use or destruction of any tangible property; provided, however,
                    this Exclusion shall not apply to Defense Costs incurred in the defense of a Claim
                    for Breach of Fiduciary Duty;
               H.   alleging, arising out of, based upon or attributable to any Wrongful Act as respects
                    the Plan taking place at any time when an Organization did not sponsor such Plan
                    or when the Individual Insured was not a fiduciary, administrator, trustee, Pension
                    Oversight Committee Member, director, officer, governor, management committee
                    member, member of the board of managers, general partner or employee of an
                    Organization or, if applicable, a Plan; or
                    alleging, arising out of, based upon, attributable to: (I) the actual, alleged or
                    threatened discharge, dispersal, release or escape of Pollutants; or (ii) any
                    direction or request to test for, monitor, clean up, remove, contain, treat, detoxify or
                    neutralize Pollutants; including any Claim for financial loss to any Organization or
                    Plan or creditors based upon, arising from or in consequence of any matter
                    described in subparagraph (i) or (ii) of this Exclusion; provided, however, this
                    Exclusion shall not apply to:
                    (i)    non-Indemnifiable Loss arising from a Claim alleging damage to a Plan,
                           other than Cleanup Costs; or
                    (ii)   any Claim brought by or on behalf of a beneficiary of or participant in any Plan
                           based upon, arising from or in consequence of the diminution in value of any
                           securities owned by the Plan in any entity other than an Organization, if such
                           diminution in value is allegedly as a result of the matters described above in
                           this Exclusion (I).
               For the purpose of determining the applicability of the foregoing Exclusions, other than
               Exclusions B. and C.: (1) the facts pertaining to and knowledge possessed by any

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                         Insured shall not be imputed to any other Individual Insured; and (2) only facts
                         pertaining to and knowledge possessed by any past, present or future executive director,
                         chief executive officer or chief financial officer (or equivalent positions) of an
                         Organization shall be imputed to such Organization.


V. Limits of Liability   The following provisions shall apply in addition to the provisions of Clause IV. LIMITS OF
                         LIABILITY of the General Terms and Conditions:


                         Voluntary Compliance Loss Limit of Liability
                         The maximum limit of the Insurer’s liability for all Voluntary Compliance Loss incurred
                         during the Policy Period and/or the Discovery Period (if applicable), in the aggregate,
                         shall be the Voluntary Compliance Loss Limit of Liability. The Voluntary
                         Compliance Loss Limit of Liability shall be part of, and not in addition to, the
                         Coverage Part Limit of Liability applicable to this FLI Coverage Part as set forth in
                         Item 4. of the Declarations (or Management Liability Supplemental Declarations if issued
                         as a package policy).


                         HIPAA Penalties Sublimit of Liability
                         The maximum limit of the Insurer’s liability for all HIPAA Penalties in the aggregate shall
                         be twenty-five thousand dollars ($25,000) (“HIPAA Penalties Sublimit of Liability”).
                         The HIPAA Penalties Sublimit of Liability shall be part of, and not in addition to, the
                         Coverage Part Limit of Liability applicable to this FLI Coverage Part as set forth in
                         Item 4. of the Declarations (or Management Liability Supplemental Declarations if issued
                         as a package policy).


VI. Retention            The following provision shall apply in addition to the provisions of Clause V. RETENTION
                         of the General Terms and Conditions:
                         The Insurer shall only be liable for the amount of Loss arising from a Claim which is in
                         excess of the applicable Retention set forth in Item 4. of the Declarations (or
                         Management Liability Supplemental Declarations if issued as a package policy) for this
                         ELI Coverage Part, such Retention to be borne by the Insureds and shall remain
                         uninsured, with regard to: (i) all Indemnifiable Loss; and (ii) Loss of an Organization.
                         A single Retention shall apply to Loss arising from all Claims alleging the same
                         Wrongful Act or Related Wrongful Act(s).
                         No Retention is applicable to Voluntary Compliance Loss or HIPAA Penalties.


VII. Defense Costs,      Defense
    Defense Counsel,     Except as hereinafter stated, the Insurer shall have both the right and duty to defend any
    Settlements,         Claim against an Insured alleging a Wrongful Act, even if such Claim is groundless,
    Judgments            false or fraudulent.
                         The Insured shall have the right to effectively associate with the Insurer in the defense
                         of any Claim, including, but not limited to, negotiating a settlement, subject to the

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               provisions of this Clause VII.


               Insured’s Option to Assume Defense
               Notwithstanding the above, the Insureds shall have the right to assume the defense of
               any Claim made against them. This right shall be exercised in writing by the Named
               Organization on the behalf of all Insureds within thirty (30) days of the reporting of the
               Claim to the Insurer pursuant to Clause VI. of the General Terms and Conditions.
               Upon receipt of such written request, the Insurer shall tender the defense of the Claim to
               the Insureds and the Insurer cannot re-assume the defense of the Claim. The Insurer
               shall have the right to effectively associate with the Insureds in the defense of any
               Claim, including, but not limited to, negotiating a settlement and approving the selection
               of defense counsel. Provided that the Insurer shall be permitted to effectively associate
               with the Insureds in the defense of any Claim, including, but not limited, to negotiating a
               settlement of any Claim and approving the selection of defense counsel, the Insurer’s
               consent to settlements, stipulated judgments and Defense Costs shall not be
               unreasonably withheld.


               General Provisions
               The Insurer shall advance Defense Costs on behalf of the Insured prior to the final
               disposition of a Claim, subject to the other provisions of this FLI Coverage Part. Such
               advance payments by the Insurer shall be repaid to the Insurer by the Insureds,
               severally according to their respective interests, in the event and to the extent that the
               Insureds shall not be entitled to payment of such Loss under the terms and conditions of
               this FLI Coverage Part.
               The Insureds shall not admit or assume any liability, enter into any settlement
               agreement, stipulate to any judgment, incur any Defense Costs or Voluntary
               Compliance Loss or retain any defense counsel without the prior written consent of the
               Insurer. Only those settlements, stipulated judgments, Defense Costs and Voluntary
               Compliance Loss which have been consented to in writing by the Insurer shall be
               recoverable as Loss under the terms of this FLI Coverage Part.
               If an Insured has not assumed the defense of a Claim and does not consent to the first
               Settlement Opportunity within thirty (30) days of the date the Insureds are first made
               aware of such Settlement Opportunity (or in the case of a Settlement Opportunity
               which arises from a settlement offer by the claimant, then within the time permitted by the
               claimant to accept such settlement offer, but in all events no later than thirty (30) days
               after the settlement offer was made), then, subject to any applicable Limit of Liability,
               the Insurer’s liability for all Loss on account of such Claim shall not exceed: (1) the
               amount for which the Insurer could have settled such Claim plus Defense Costs
               incurred as of the date such settlement was proposed in writing by the Insurer
               (“Settlement Opportunity Amount”), plus (2) eighty percent (80%) of covered Loss in
               excess of such Settlement Opportunity Amount, it being a condition of this insurance
               that the remaining twenty percent (20%) of such covered Loss excess of such
               Settlement Opportunity Amount shall be carried by the Insureds at their own risk and
               be uninsured. Notwithstanding the foregoing, this paragraph shall not apply until such
               Settlement Opportunity Amount exceeds the applicable Retention set forth in Item 4. of
               the Declarations (or Management Liability Supplemental Declarations if issued as a

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        4,
HISCOX
                          Management Liability Insurance Policy
                          Fiduciary Liability Insurance Coverage Part (“ELI Coverage Part”)

                         package policy) or to those Claims for which the Insured has assumed the defense.
                         The Insureds shall give the Insurer full cooperation and such information as the Insurer
                         may reasonably require.


VIII. Allocation         Provided that the Insured does not assume the defense of a Claim in accordance with
                         Clause VII. above, the following allocation provision shall apply:
                         If both Loss covered under this FLI Coverage Part and loss not covered under this FLI
                         Coverage Part are incurred by the Insureds on account of any Claim because such
                         Claim against the Insureds includes both covered and non-covered matters, then
                         coverage under this ELI Coverage Part with respect to such Claim shall apply as
                         follows:
                         A.   Defense Costs: One hundred percent (100%) of Defense Costs incurred by the
                              Insured on account of such Claim will be considered covered Loss subject to
                              Clause VII. of this FLI Coverage Part; and
                         B.   Loss other than Defense Costs: All remaining amounts incurred by the Insured on
                              account of such Claim shall be allocated by the Insurer pro rata between covered
                              Loss and non-covered loss based on the legal liability and financial exposures of
                              the Insureds to covered and non-covered matters and, in the event of a settlement
                              in such Claim, based on the number of counts, causes of action or allegations
                              against the Insu reds.
                         If the Insureds and the Insurer cannot agree on an allocation of Loss:
                         A.   no presumption as to allocation shall exist in any arbitration, suit or other
                              proceeding; and
                         B.   the Insurer, if requested by the Insureds, shall submit the dispute to binding
                              arbitration. The rules of the American Arbitration Association shall apply except with
                              respect to the selection of the arbitration panel, which shall consist of one (1)
                              arbitrator selected by the Insureds, one (1) arbitrator selected by the Insurer, and a
                              third independent arbitrator selected by the first two (2) arbitrators.


IX. Change in Exposure   Coverage for Plans Created, Formed or Acquired During the Policy Period
                         If a Plan:
                         A.   is created, formed or acquired during the Policy Period as a result of an
                              Organization’s acquisition of a Subsidiary whose assets total less than twenty five
                              percent (25%) of the total consolidated assets of such Organization as of the
                              inception date of this FLI Coverage Part; or
                         B.   is created, formed or acquired during the Policy Period and such Plan’s assets
                              total less than twenty five percent (25%) of the total consolidated assets of all
                              covered Plans as of the inception date of this FLI Coverage Part;
                         then this FLI Coverage Part shall apply to such Plan (but solely with respect to any
                         Wrongful Act occurring after the date of such creation, formation or acquisition). The
                         Named Organization shall provide the Insurer with full particulars of such new Plan
                         before the end of the Policy Period.


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                        If a Plan:
                        A.   is created, formed or acquired during the Policy Period as a result of an
                             Organization’s acquisition of a Subsidiary whose assets total twenty five percent
                             (25%) or more of the total consolidated assets of such Organization as of the
                             inception date of this ELI Coverage Part; or
                        B.   is created, formed or acquired during the Policy Period and such Plan’s assets
                             total twenty five percent (25%) or more of the total consolidated assets of all
                             covered Plans as of the inception date of this ELI Coverage Part;
                        then, this ELI Coverage Part shall apply to such Plan (but solely with respect to any
                        Wrongful Act occurring after the date of such creation, formation or acquisition), but only
                        upon the condition that within ninety (90) days of its creation, formation or acquisition, the
                        Named Organization shall have provided the Insurer with a completed Application for
                        such new Plan and agreed to any additional premium or amendment of the provisions of
                        this FLI Coverage Part required by the Insurer relating to such new Plan.
                        Coverage for Terminated Plans
                        If an Organization terminates a Plan before or after the inception date set forth in Item 2.
                        of the Declarations, coverage under this ELI Coverage Part with respect to such
                        terminated Plan and its Insureds shall continue until termination of this FLI Coverage
                        Part for those who were Insureds prior to or at the time of such Plan termination or who
                        would have been Insureds at the time of such termination if this FLI Coverage Part had
                        then been in effect. Such continuation of coverage shall apply with respect to Claims for
                        Wrongful Acts committed, attempted, or allegedly committed or attempted, prior to or
                        after the date the Plan was terminated.


X. Subrogation          Notwithstanding anything in Clause X. SUBROGATION of the General Terms and
                        Conditions to the contrary, the Insurer shall not exercise it’s subrogation rights unless
                        required to exercise its recourse rights pursuant to ERISA.
                        In the event the Insurer recovers any amounts based on its recourse rights under
                        ERISA, any Limit of Liability applicable to this FLI Coverage Part shall be restored to
                        the extent of such recovery after subtracting any costs, expenses or reimbursements
                        incurred by the Insurer in connection therewith.


XI. Order of Payments   In the event of Loss arising from a covered Claim for which payment is due under the
                        provisions of this FLI Coverage Part, then the Insurer shall in all events:
                        A.   first, pay Loss for which coverage is provided under this FLI Coverage Part for any
                             Individual Insured;
                        B.   second, only after payment of Loss has been made pursuant to subparagraph A. of
                             this Clause with respect to whatever remaining Limit of Liability applicable to this
                             FLI Coverage Part is available after such payment, pay the Loss of any covered
                             Plan; and
                        C.   then, only after payment of Loss has been made pursuant to subparagraphs A. and
                             B. of this Clause, with respect to whatever remaining Limit of Liability applicable to
                             this ELI Coverage Part is available after such payment, shall payment for an
                             Organization be made for such other Loss for which coverage is provided under

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                 Management Liability Insurance Policy
                 Fiduciary Liability Insurance Coverage Part (“ELI Coverage Part’)

                     this FLI Coverage Part.


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NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

___    Declarations
_X_    General Terms and Conditions
_X_    D&O Coverage Part
_X_    EPLI Coverage Part
_X_    FLI Coverage Part
_X_    ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above, if purchased, are modified as follows:

1.    Clause II. Definitions of the General Terms and Conditions is amended to include the
      following additional definitions at the end thereof:

      NY-A.    Claims-Made Relationship means that period of time between the effective date of
               the first claims-made policy between the Insurer and the Named Entity and the
               cancellation or nonrenewal of the last consecutive claims-made policy between the
               Insurer and the Named Entity, where there has been no gap in coverage, but does
               not include any period covered by the Automatic Discovery Period or the Optional
               Discovery Period.

      NY-B.    Termination of Coverage means, with respect to this Policy or any Coverage Part
               and whether done at the direction of the Insurer or at the direction of the Named
               Entity and whether done at any time after the inception of the Policy Period:

               (a)    cancellation or nonrenewal of this Policy or any Coverage Part;
               (b)    Change in Control; or
               (c)    a decrease in any Coverage Part Limit of Liability, a reduction in coverage, an
                      increased Retention, the addition of a new exclusion that results in the removal
                      of coverage previously provided, or any other change in coverage less favorable
                      to the Insureds. The Automatic Discovery Period granted for these reasons
                      and the Optional Discovery Period offered for these reasons shall only apply
                      in regard to that coverage terminated.




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2.   Clause IV. Limits of Liability of the General Terms and Conditions is modified to the extent to
     provide the following:

     Automatic Discovery Period Limit of Liability
       In the event of Termination of Coverage of the Policy, the limit of liability available during
       the Automatic Discovery Period shall be equal to the amount of coverage remaining under
       the Policy Aggregate Limit of Liability set forth in the Declarations.

        In the event of Termination of Coverage of a Coverage Part, the limit of liability available
        during the Automatic Discovery Period for such Coverage Part shall be equal to the
        amount of coverage remaining under the applicable Coverage Part Limit of Liability set
        forth in the Declarations.

     All other terms and provisions of this Policy shall continue to apply during the Automatic
     Discovery Period.

     Optional Discovery Period Limit of Liability

     The limit of liability available during any purchased Optional Discovery Period shall be as
     follows:

     A. If Section 13. Exceptions to Minimum Statutory Requirements of this Amendatory
        Endorsement applies to the Named Entity the limit of liability available for the Optional
        Discovery Period shall be equal to the amount of coverage remaining under:

        (1) the Policy Aggregate Limit of Liability set forth in the Declarations in the event of
            Termination of Coverage of the Policy; or
        (2) the applicable Coverage Part Limit of Liability set forth in the Declarations in the event
            of Termination of Coverage of a Coverage Part.

     B. If Section 13. Exceptions to Minimum Statutory Requirements of this Amendatory
        Endorsement does not apply to the Named Entity:

        (1) if as of the effective date of Termination of Coverage, the Claims-Made Relationship
            has been in effect without interruption for at least three (3) years, the limit of liability for
            the Optional Discovery Period shall be equal to:

               (a) one hundred percent (100%) of the Policy Aggregate Limit of Liability in effect
                   immediately prior to Termination of Coverage in the event of Termination of
                   Coverage of the Policy; or
               (b)one hundred percent (100%) of the applicable Coverage Part Limit of Liability in
                   effect immediately prior to Termination of Coverage in the event of Termination
                   of Coverage of a Coverage Part.




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         (2) if as of the effective date of Termination of Coverage, the Claims-Made Relationship
             has been in effect without interruption for less than three (3) years, the limit of liability for
             the Optional Discovery Period shall be the greater of:

             (a) the amount of coverage remaining under the
                 (i) Policy Aggregate Limit of Liability set forth in the Declarations at the time of the
                      subject Claim is made (in the event of Termination of Coverage of the Policy); or
                 (ii) the applicable Coverage Part Limit of Liability set forth in the Declarations at the
                      time of the subject Claim is made (in the event of Termination of Coverage of a
                      Coverage Part)
             (b) fifty percent (50%) of the
                 (i) Policy Aggregate Limit of Liability set forth in the Declarations (in the event of
                      Termination of Coverage of the Policy); or
                 (ii) the applicable Coverage Part Limit of Liability set forth in the Declarations (in the
                      event of Termination of Coverage of a Coverage Part).

Notwithstanding the above, where Termination of Coverage is due only to a decrease in the Policy
      Aggregate Limit of Liability (or Coverage Part Limit of Liability, if applicable), the limit of
      liability for any purchased Optional Discovery Period (if the Insurer is obligated to offer an
      Optional Discovery Period for such reason) shall be no greater than the amount of such
      decrease. In such instance, the Policy Aggregate Limit of Liability (or Coverage Part Limit
      of Liability, if applicable) provided for the Optional Discovery Period shall replace, and shall
      not be in addition to, the Policy Aggregate Limit of Liability (or Coverage Part Limit of
      Liability, if applicable) provided for the Automatic Discovery Period.

3.    Clause VI. Reporting and Notice of the General Terms and Conditions is modified to the
      extent necessary to provide the following:

         Failure to timely give notice of a Claim shall not invalidate coverage for such Claim unless
         the failure to do so has prejudiced the Insurer.

         Notwithstanding the foregoing, coverage may not be invalidated if it shall be shown not to
         have been reasonably possible to give notice within the prescribed time and that notice was
         given as soon as was reasonably possible.

         Notice given by or on behalf of the Named Entity, or written notice by or on behalf of the
         injured party or any other claimant, to any licensed agent of the Insurer in the state of New
         York, with particulars sufficient to identify the Named Entity, shall be deemed notice to the
         Insurer.




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4.   Clause VII. Cancellation of the General Terms and Conditions is deleted in its entirety and
     replaced by the following:

     Cancellation

            1. This Policy may be cancelled by the Named Entity by giving advance written notice to
               the Insurer stating when thereafter such cancellation shall be effective.

            2. If this Policy has been in effect for sixty (60) days or less, the Insurer may cancel this
               Policy by mailing to the Named Entity written notice of cancellation at least:

                  a.    twenty (20) days before the effective date of cancellation if cancellation is for
                        any reason not included in paragraph 2.b. below.
                  b.    fifteen (15) days before the effective date of cancellation if cancellation is for
                        any of the following reasons:

                        (1)      Nonpayment of premium;
                        (2)     Conviction of a crime arising out of acts increasing the hazard insured
                                against;
                        (3)     Discovery of fraud or material misrepresentation in the obtaining of this
                                Policy or in the presentation of a Claim;
                        (4)     After issuance of this Policy or after the last renewal date, discovery of
                                an act or omission, or a violation of any policy condition, that
                                substantially and materially increases the hazard insured against, and
                                which occurred subsequent to the inception of the current Policy
                                Period;
                        (5)     Material change in the nature or extent of the risk, occurring after the
                                issuance or last annual renewal anniversary date of the Policy that
                                causes the risk of loss to be substantially and materially increased
                                beyond that contemplated at the time the Policy was issued or last
                                renewed;
                        (6)     Required pursuant to a determination by the New York State
                                Superintendent of Financial Services that continuation of the Insurer’s
                                present premium volume would jeopardize the Insurer’s solvency or
                                be hazardous to the interest of the Insurer’s policyholders, creditors or
                                the public;
                        (7)     Required pursuant to a determination by the New York State
                                Superintendent of Financial Services that the continuation of this
                                Policy would violate, or would place the Insurer in violation of any
                                provision of the New York Insurance Code; or

                        (8)     Revocation or suspension of the Insured's license to practice their
                                profession.

               If this Policy has been in effect for more than sixty (60) days or if this Policy is a
               renewal or continuation of a Policy issued by the Insurer, the Insurer may cancel this
               Policy only for one or more of the reasons listed above in paragraph 2.b. provided a
               written notice of cancellation is mailed to the Named Entity at least sixty (60) days
               before the effective date of cancellation, or fifteen (15) days before the effective date
               of cancellation if the reason for cancellation is nonpayment of premium.

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5.   Clause VIII. Discovery Period of the General Terms and Conditions is deleted in its entirety
     and replaced by the following:

     Discovery Period

     A.    ADVICE REGARDING DISCOVERY PERIODS

           The Insurer will notify the Named Entity, in writing, of the Automatic Discovery Period,
           and the availability of, the premium for and the importance of purchasing an Optional
           Discovery Period (the "Advice"). The Advice shall be sent to the Named Entity no
           earlier than the date of notification of Termination of Coverage nor later than thirty (30)
           days after the effective date of Termination of Coverage. If this Policy has been
           terminated for non-payment of premium or fraud, the Insurer shall not be required to
           provide a premium quotation for the Optional Discovery Period unless requested by the
           Named Entity.

           The Insurer has no obligation to send the Advice if Section 13. Exceptions to Minimum
           Statutory Requirements of this Amendatory Endorsement applies to the Named Entity.

     B.    AUTOMATIC DISCOVERY PERIOD

           In the event of Termination of Coverage, the Insurer will provide, at no additional
           premium, a period of sixty (60) days, beginning on the effective date of Termination of
           Coverage during which the Insureds shall be permitted to report to the Insurer Claims
           first made against the Insureds during such sixty (60) day period that are for or based
           upon Wrongful Acts committed or allegedly committed after the applicable prior acts date
           (if any) and prior to the effective date of Termination of Coverage and otherwise covered
           by this Policy. Such extension of coverage shall be referred to as the "Automatic
           Discovery Period."

           Provided, however, that the Insurer has no obligation to grant the Automatic Discovery
           Period for a Termination of Coverage for the reasons outlined in subparagraph (c) of
           that definition if Section 13. Exceptions to Minimum Statutory Requirements of this
           Amendatory Endorsement applies to the Named Entity.

     C.    OPTIONAL DISCOVERY PERIOD

           In the event of Termination of Coverage, the Insureds shall have the right, upon
           payment of the applicable additional premium, to an extension of the coverage granted by
           this Policy for the period offered by the Insurer. The periods offered by the Insurer shall
           be one (1) year, two (2) years, three (3) years, four (4) years, five (5) years and six (6)
           years. Such extension of coverage shall be referred to as the "Optional Discovery
           Period" and shall commence upon the effective date of Termination of Coverage. This
           Optional Discovery Period will apply only to Claims first made against the Insureds
           during the Optional Discovery Period that are for or based upon Wrongful Acts
           committed or allegedly committed after the applicable prior acts date (if any) and prior to
           the effective date of Termination of Coverage and otherwise covered by this Policy. The
           Automatic Discovery Period shall be included in and shall be a part of the Optional
           Discovery Period.

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           Provided, however, that the Company has no obligation to offer:
           (1) any Optional Discovery Period for a Termination of Coverage for the reasons
               outlined in subparagraph (c) of that definition if Section 13. Exceptions to Minimum
               Statutory Requirements of this Amendatory Endorsement applies to the Named
               Entity; or

           (2) two (2), three (3), four (4), five (5) and six (6) year Optional Discovery Period options
               if Section 13. Exceptions to Minimum Statutory Requirements of this Amendatory
               Endorsement applies to the Named Entity.

     D.    TERMINATION OF COVERAGE FOR NON-PAYMENT OF PREMIUM OR FRAUD
           (APPLICABLE TO POLICIES IN EFFECT LESS THAN ONE (1) YEAR)

           The Insureds shall have no right to elect and purchase the Optional Discovery Period
           if:

           (a) coverage is terminated because of non-payment of premium or fraud; and
           (b) the Claims-Made Relationship has been less than one (1) year at the effective date
               of such Termination of Coverage.

     E.    NOTICE OF WRITTEN ACCEPTANCE OF THE OPTIONAL DISCOVERY PERIOD

           The right to purchase the Optional Discovery Period shall lapse unless a written notice
           of the election of, and full payment of additional premium for, the Optional Discovery
           Period is received by the Insurer within the greater of:

           (a) sixty (60) days from the effective date of Termination of Coverage; or
           (b) thirty (30) days after the Insurer has mailed or delivered the Advice as described in
               paragraph A. above (if the Insurer is obligated to give such written Advice).

           In the event such written notice of election and the payment of the additional premium are
           not received by the Insurer within such time, there shall be no right to purchase the
           Optional Discovery Period at a later date.

     F.    PREMIUM CHARGE FOR THE OPTIONAL DISCOVERY PERIOD

           (a) The additional premium for the Optional Discovery Period shall be based upon the
               rates in effect on the date the Policy was issued or last renewed. The premium for the
               Optional Discovery Period shall be commensurate with the coverage provided.
               Upon Termination of Coverage on a date other than the policy's anniversary date,
               the cost of the Optional Discovery Period shall be appropriately reduced.

           (b) The additional premium for the Optional Discovery Periods shall be priced in
               accordance with the specifications of the New York Regulation 121 Policyholder
               Notices attached to this Policy.

           (c) As a condition to the right to purchase the Optional Discovery Period the total
               premium for this Policy must have been paid. Upon Termination of Coverage:



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                  (1)   Any return premium due to the Named Entity shall be credited toward the
                         premium for the Optional Discovery Period if the Named Entity elects
                         such coverage.
                  (2)   Where premium is due to the Insurer for coverage during the Claims-Made
                        Relationship, any monies received by the Insurer from the Named Entity as
                        payment for the Optional Discovery Period shall first be applied to such
                        premium owing for this Policy.

           (d) The Optional Discovery Period shall not be cancelable except by the Insurer for
               non-payment of the premium amount due for the Optional Discovery Period. The
               entire premium for the Optional Discovery Period shall be deemed fully earned at its
               commencement without any obligation by the Insurer to later return any portion
               thereof.

     G.   COVERAGE FOR CORPORATIONS, PARTNERSHIPS AND OTHER ENTITIES

          If the Named Entity has been placed in liquidation or bankruptcy, or permanently ceases
          operation, and if the Named Entity or its designated trustee, although entitled to, does not
          purchase an Optional Discovery Period, any other Insureds under this Policy shall have
          one hundred-twenty (120) days from the effective date of the Termination of Coverage to
          purchase an Optional Discovery Period on behalf of itself/themselves. The Insurer has
          no obligation to provide notice of this right to such Insureds, but may charge a premium
          commensurate with such coverage. If such person does not pay the required additional
          premium when due, then the Optional Discovery Period for such person shall be void.

          Provided, however, the Insurer has no obligation to provide an Optional Discovery
          Period to such Insureds if Section 13. Exceptions to Minimum Statutory
          Requirements of this Amendatory Endorsement applies to the Named Entity.

     H.   COVERAGE FOR INSUREDS WITH PRIOR AFFILIATION

     A person employed or otherwise affiliated with the Named Entity and covered by the Named
           Entity's policy during such affiliation shall continue to be covered under this Policy and
           any discovery period after such affiliation has ceased for such person's covered
           Wrongful Acts during such affiliation.

     I.     PRIOR ACTS DATE ADVANCEMENT

           If a prior acts date has been established by endorsement for this Policy or any Coverage
           Part, it may not be changed during the term of the Claims-Made Relationship, the
           Automatic Discovery Period or the Optional Discovery Period.

6.   Clause XV. Action Against Insurer of the General Terms and Conditions is deleted in its
     entirety and replaced by the following:




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     Action Against Insurer

        No action shall be taken against the Insurer unless there shall have been full compliance by
        the Insureds with all the terms and conditions of this Policy. If the Insurer does not pay a
        judgment covered under this Policy within thirty (30) days from the service of notice of the
        judgment upon the Insureds or its attorney and the Insurer, then an action may be brought
        against the Insurer for the amount of the judgment, not exceeding the amount of the
        applicable limits of liability under this Policy, except during a stay or limited stay of execution
        against the Insurer on such judgment. No person or organization shall have any right under
        this Policy to join the Insurer as a party to any Claim against the Insureds nor shall the
        Insurer be impleaded by the Insureds or their legal representatives in any such Claim.

7.   The General Terms and Conditions is amended to include the following additional Clauses at
     the end thereof:

     Loss Information

        Upon written notice by the Named Entity or their authorized agent or broker, if any, the
        Insurer shall provide the Named Entity with the following loss information for the period of
        time that the Insurer has continuously provided coverage under this Policy:

        1. Information on closed Claims, including the date and description of Wrongful Acts, and
           amounts of any payments;
        2. Information on open Claims, including the date and description of Wrongful Acts, and
            amounts of any payments; and
        3. Information on notice of any Wrongful Acts, including the date and description of
           Wrongful Acts.

        The Insurer shall mail this loss information to the Named Entity or their authorized agent or
        broker, if any, within ten (10) days after the receipt of such request.

     Notice of Nonrenewal and Conditional Renewal

        1. If the Insurer elects not to renew this Policy, the Insurer shall send notice as provided in
            paragraph 3. below, along with the reason for nonrenewal.

        2. If the Insurer conditions renewal of this Policy upon:

           (a)   change of limits;
           (b)   change in type of coverage;
           (c)   reduction of coverage;
           (d)   increased deductible;
           (e)   addition of exclusion; or

           (f) increased premiums in excess of ten percent (10%), exclusive of any premium
               increase due to and commensurate with, insured value added or increased exposure
               units; or as a result of experience rating, loss rating, retrospective rating or audit;

           the Insurer shall send notice as provided in paragraph 3. below, along with the reason for
           conditional renewal.
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         3. Notice of nonrenewal and conditional renewal will be provided as follows:

            (a) If the Insurer decides not to renew this Policy or to conditionally renew this Policy as
               provided in paragraphs 1. and 2. above, the Insurer shall mail or deliver written notice
               to the Named Entity at least sixty (60) days but not more than one hundred twenty
               (120) days before:
               (1) the expiration date of this Policy; or
               (2) the anniversary date of this Policy, if this is a continuous policy.

            (b) Notice will be mailed or delivered to the Named Entity at the address shown in Item 1.
                of the Declarations, and to its authorized agent or broker, if any. If notice is mailed,
                proof of mailing shall be sufficient proof of notice.

            (c) The Insurer will not send notice of nonrenewal or conditional renewal if the Named
                Entity or the Named Entity’s authorized agent or broker mails or delivers notice that
                the Policy has been replaced or is no longer desired.

         4. If the Insurer violates any of the provisions of this subsection by sending the Named
            Entity an incomplete or late nonrenewal or conditional renewal notice prior to the
            expiration date of this Policy, coverage will remain in effect at the same terms and
            conditions of this Policy and at the lower of the current rates or the prior period’s rates until
            sixty (60) days after such notice is mailed or delivered, unless the Named Entity, during
            this sixty (60) day period, has replaced coverage or elects to cancel.

            If late notice is sent on or after the expiration date of this Policy, coverage will remain in
            effect at the same terms and conditions of this Policy for another policy period, at the
            lower of the current rates or the prior period’s rates, unless the Named Entity during the
            additional policy period, has replaced the coverage or elects to cancel.

            The Policy aggregate limit of liability will be increased only in proportion to any extension
            of coverage the Insurer is required to grant if a nonrenewal or conditional renewal notice
            is not provided to the Named Entity within the time frame required by New York law.

      Policy Conflicts
         To the extent any term or condition contained in the Policy or any Endorsement attached
         thereto conflicts with any term or condition contained in this or any other State Amendatory
         Endorsement attached to the Policy, such terms and conditions most favorable to the
         Insureds shall apply.

8.   The definition of Loss in the Definitions Clause of the D&O Coverage Part, the EPLI
     Coverage Part, the FLI Coverage Part and the ELAW Coverage Part, if purchased, is modifed
     to the extent necessary to provide the following:

Punitive and exemplary damages shall not be insurable in cases where New York law governs the
       claim.




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9.    The definition of Pollutants in the Definitions Clause of the D&O Coverage Part, the FLI
      Coverage Part and the ELAW Coverage Part, if purchased, is deleted in its entirety and
      replaced with the following:

Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant including smoke, vapor,
      soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled,
      reconditioned or reclaimed.

10.   The Exclusions Clause of the EPLI Coverage Part, if purchased, is amended to include the
      following at the end thereof:

      The Insurer shall not be liable to make any payment for Loss in connection with any Claim
      subject to New York law made against any Insured:
      NY-A.      alleging, arising out of or attributable to any intentional discrimination in violation of any
                 law, rule or statute of New York, if any final adjudication establishes that intentional
                 discrimination occurred; provided, however, for purposes of this exclusion, (1) the
                 facts pertaining to and knowledge possessed by any Insured shall not be imputed to
                 any Individual Insured; and (2) only facts pertaining to and knowledge possessed by
                 any past, present or future executive director, chief executive officer or chief financial
                 officer (or equivalent positions) of an Organization shall be imputed to such
                 Organization.
11.   The Defense Costs, Defense Counsel, Settlements & Judgments Clause of the D&O
      Coverage Part, the EPLI Coverage Part, the FLI Coverage Part and the ELAW Coverage
      Part, if purchased, is amended to include the following at the end thereof:

      Transfer of Duties When a Limit of Insurance is Used Up
      The following shall only apply for coverage where the Insurer has the duty to defend or where
      the defense duties have been tendered from the Insureds to the Insurer:

        1. If the Insurer concludes that, based on Wrongful Acts or Claims which have been
           reported to the Insurer and to which this insurance may apply, a limit of insurance shown in
           the Declarations is likely to be used up in the payment of judgments or settlements, the
           Insurer will notify the first Named Entity, in writing, to that effect.

       2. When a limit of insurance described in paragraph 1. has actually been used up in the
          payment of judgments or settlements:

           (a)   The Insurer will notify the first Named Entity, in writing, as soon as practicable, that:

                  (1)    Such a limit has actually been used up; and
                  (2)    The Insurer's duty to defend Claims subject to that limit has also ended.




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          (b)   The Insurer will initiate, and cooperate in, the transfer of control, to any appropriate
                insured, of all Claims which are subject to that limit and which are reported to the
                Insurer before that limit is used up. That insured must cooperate in the transfer of
                control of said Claims.

                The Insurer agrees to take such steps, as we deem appropriate, to avoid a default in,
                or continue the defense of, such Claims until such transfer is completed, provided the
                appropriate insured is cooperating in completing such transfer.

                The Insurer will take no action whatsoever with respect to any Claim that would have
                been subject to that limit, had it not been used up, if the Claim is reported to the
                Insurer after that limit of insurance has been used up.

          (c) The Named Entity, and any other insured involved in a Claim subject to that limit,
           must arrange for the defense of such Claim within such time period as agreed to between
           the appropriate insured and the Insurer. Absent any such agreement, arrangements for
           the defense of such Claim must be made as soon as practicable.

       3. The Named Entity will reimburse the Insurer for expenses the Insurer incurs in taking
          those steps the Insurer deems appropriate in accordance with paragraph 2(b) above. The
          duty of the Named Entity to reimburse the Insurer will begin on:
          (a) The date on which the applicable limit of insurance is used up, if the Insurer sent
               notice in accordance with paragraph 1. above; or

          (b)   The date on which the Insurer sent notice in accordance with paragraph 2(a) above, if
                the Insurer did not send notice in accordance with paragraph 1. above

       4. The exhaustion of any limit of insurance by the payments of judgments or settlements, and
          the resulting end of the Insurer's duty to defend, will not be affected by the Insurer's failure
          to comply with any of the provisions of this condition.

12.   The Defense Costs, Defense Counsel, Settlements & Judgments Clause of the D&O
      Coverage Part, the EPLI Coverage Part, the FLI Coverage Part and the ELAW Coverage
      Part, if purchased, is modified to the extent necessary to provide the following:

       The following shall only apply for coverage where the Insurer has the duty to defend or where
      the defense duties have been tendered from the Insureds to the Insurer:

        The Insureds shall have the right to: (1) select a defense attorney or to consent to the
        Insurer's choice of defense attorney, which consent shall not be unreasonably withheld; (2)
        participate in, and assist in the direction of, the defense of any Claim, and (3) consent to a
        settlement, which consent shall not be unreasonably withheld. The Insurer shall have no
        obligation to grant this right if Section 13. Exceptions to Minimum Statutory Requirements
        of this Amendatory Endorsement applies to the Named Entity.




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13.   Exceptions to Minimum Statutory Requirements

       Where referenced in any provision of this Amendatory Endorsement, any of the following shall
       qualify as "applying" to the Named Entity as Exceptions to Minimum Statutory
       Requirements:
       1. the Policy contains an aggregate Limit of Liability of $5,000,000 or more;
       2. the Policy contains a Retention of at least $100,000; or
       3. the Named Entity is a Large Commercial Insured.

       A Large Commercial Insured is defined as an insured that meets one (1) of the following:

       (a) has a net worth of at least $7,500,000, as determined by an independent certified public
           accountant, as of the Named Entity's fiscal year end immediately preceding the Policy's
           effective date;
       (b) has gross assets exceeding $25,000,000 and a net worth of at least $3,000,000, as
           determined by an independent certified public accountant, as of the Named Entity's fiscal
           year end immediately preceding the Policy's effective date;

       (c) is a for-profit business entity that generates annual gross revenues exceeding $25,000,000,
           and has a net worth of at least $1,500,000, as determined by an independent certified
           public accountant, as of the Named Entity's fiscal year end immediately preceding the
           Policy's effective date;
       (d) is a for-profit business entity that has gross assets exceeding $25,000,000 and generates
           annual gross revenues exceeding $25,000,000, as determined by an independent certified
           public accountant, as of the Named Entity's fiscal year end immediately preceding the
           Policy's effective date; or
       (e) is a not-for-profit organization or public entity with an annual budget exceeding $25,000,000
           for each of its three (3) fiscal years immediately preceding the Policy's effective date.

All other terms and conditions remain unchanged.

PVT E4132 NY (07/09)



Endorsement effective: 03/08/2017             Policy No.:   UVA1901769.17
Endorsement No:        1                      Processed Date: 03/06/2017




                 By : Carl Bach
                 (Appointed Representative)



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                                          Endorsement 2

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E9997.4 Policyholder Disclosure Notice of Terrorism Insurance Coverage




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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NAMED INSURED: Rochester Drug Cooperative, Inc.

E9997.4 Policyholder Disclosure Notice of Terrorism Insurance Coverage                  Page 1 of 1


Coverage for acts of terrorism is included in your policy. You are hereby notified that under the
Terrorism Risk Insurance Act, as amended in2015, the definition of act of terrorism has changed. As
defined in Section 102(1) of the Act: the term “act of terrorism” means any act or acts that are certified
by the Secretary of the Treasury - in consultation with the Secretary of Homeland Security, and the
Attorney General of the United States - to be an act of terrorism; to be a violent act or an act that is
dangerous to human life, property, or infrastructure; to have resulted in damage within the United
States, or outside the United States in the case of certain air carriers or vessels or the premises of a
United States mission; and to have been committed by an individual or individuals as part of an effort
to coerce the civilian population of the United States or to influence the policy or affect the conduct of
the United States Government by coercion. Under your coverage, any losses resulting from certified
acts of terrorism may be partially reimbursed by the United States Government under a formula
established by the Terrorism Risk Insurance Act, as amended. However, your policy may contain other
exclusions which might affect your coverage, such as an exclusion for nuclear events. Under the
formula, the United States Government generally reimburses 85% through 2015; 84% beginning on
January 1, 2016; 83% beginning on January 1, 2017; 82% beginning on January 1, 2018; 81%
beginning on January 1, 2019 and 80% beginning on January 1, 2020 of covered terrorism losses
exceeding the statutorily established deductible paid by the insurance company providing the
coverage. The Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that limits U.S.
Government reimbursement as well as insurers’ liability for losses resulting from certified acts of
terrorism when the amount of such losses exceeds $100 billion in any one calendar year. If the
aggregate insured losses for all insurers exceed $100 billion, your coverage may be reduced.

The portion of your annual premium that is attributable to coverage for acts of terrorism is $359.00, and
does not include any charges for the portion of losses covered by the United States government under
the Act.

I ACKNOWLEDGE THAT I HAVE BEEN NOTIFIED THAT UNDER THE TERRORISM RISK
INSURANCE ACT, AS AMENDED, ANY LOSSES RESULTING FROM CERTIFIED ACTS OF
TERRORISM UNDER MY POLICY COVERAGE MAY BE PARTIALLY REIMBURSED BY THE
UNITED STATES GOVERNMENT AND MAY BE SUBJECT TO A $100 BILLION CAP THAT MAY
REDUCE MY COVERAGE AND I HAVE BEEN NOTIFIED OF THE PORTION OF MY PREMIUM
ATTRIBUTABLE TO SUCH COVERAGE.



Policyholder/Applicant’s Signature: ______________________

Print Name: _____________________ Date: ___________________

Insurance Company: _________________________


INT E9997 CW (01/15)




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Endorsement No:        2                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




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    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E7002.2 Coverage Amendatory Endorsement




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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E7002.2 Coverage Amendatory Endorsement                                                 Page 1 of 11

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]       Declarations
[X]       General Terms and Conditions
[X]       D&O Coverage Part
[X]       EPLI Coverage Part
[X]       FLI Coverage Part
[ ]       ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

The below paragraphs 1. through 7. modify the General Terms and Conditions with respect to the
Coverage Part(s) selected above:

1. In the Definitions Clause, the definition of Application is deleted in its entirety and replaced with
   the following:

      B. Application means the signed application for the Policy, including any attachments and other
         materials or information submitted in conjunction with the signed application. The Application
         shall be deemed attached to and part of this Policy. With respect to the FLI Coverage Part (if
         purchased), Application shall also mean any public documents filed by the Named Entity or
         any Subsidiary with any federal, state, local or foreign regulatory agency.

2. In the Definitions Clause, the definition of Related Wrongful Act(s) is deleted in its entirety and
   replaced with the following:

      P. Related Wrongful Act(s) means Wrongful Act(s) as defined in the applicable Coverage Part
         which are the same, repeated or continuous to other Wrongful Act(s) as defined in the same
         applicable Coverage Part.

          Related Wrongful Act(s) shall also mean Wrongful Act(s) as defined in the applicable
          Coverage Part which arise from a common causal connection or cause the same or related
          damages, or a common nexus or nucleus of facts to other Wrongful Act(s) as defined in the
          same applicable Coverage Part.

          Claims can allege Related Wrongful Act(s) regardless of whether such Claims involve the
          same or different claimants, Insureds or legal causes of action.




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3. In the Definitions Clause, the definition of Subsidiary is deleted in its entirety and replaced with
   the following:

     S. Subsidiary means:

             (i) any for-profit entity, whose securities are not publicly traded, of which the Named
                  Entity has or had Management Control (“Controlled Entity”) either directly or
                  indirectly through one or more other Controlled Entities; and
             (ii) any not-for-profit entity sponsored exclusively by a Company.

         Notwithstanding the foregoing, coverage afforded under this Policy with respect to a Claim
         made against any Subsidiary or any Individual Insureds thereof shall only apply for
         Wrongful Acts committed or allegedly committed after the effective time that the Named
         Entity obtained Management Control of such Subsidiary and prior to the time that such
         Named Entity ceased to have Management Control of such Subsidiary.

4. In the Reporting and Notice Clause, paragraph A. is deleted in its entirety and replaced with the
   following:

     A. The Insureds shall, as a condition precedent to the obligations of the Insurer under this
        Policy, give written notice to the Insurer of any Claim made against an Insured as soon as
        practicable after the Company’s Chief Financial Officer (or equivalent position), Risk Manager
        (or equivalent position) or General Counsel (or equivalent position) first becomes aware of
        such Claim, but in all events a Claim must be reported no later than either: (i) anytime during
        the Policy Period or during the Discovery Period (if applicable); or (ii) within ninety (90) days
        after the end of the Policy Period or the Discovery Period (if applicable) provided the Claim
        is reported no later than ninety (90) days after the date such Claim was first made against an
        Insured.

5.   The Cancellation Clause is deleted in its entirety and replaced with the following:

     VII. Cancellation

             This Policy or any individual Coverage Part may be canceled by the Named Entity at any
             time by either surrendering or mailing written notice to the Insurer or its authorized agent
             stating: (i) which Coverage Part(s) is/are to be canceled or that the entire Policy is to be
             canceled; and (ii) when thereafter such cancellation shall be effective. In no event shall
             such cancellation be effective prior to the Insurer’s receipt of such notice or such
             surrender.




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E7002.2 Coverage Amendatory Endorsement                                                    Page 3 of 11

            This Policy may be canceled by or on the behalf of the Insurer only in the event of non-
            payment of premium by the Insured. In the event of non-payment of premium by the
            Insured, the Insurer may cancel this Policy by written notice stating when, not less than
            twenty (20) days thereafter, the cancellation shall be effective. The mailing of such notice
            as aforesaid shall be sufficient proof of notice. The Policy Period terminates at the date
            and hour specified in such notice, or at the date and time of surrender.

            If the Policy or any Coverage Part shall be canceled by the Named Entity, the Insurer
            shall retain the short rate proportion of the applicable premium herein.

            If the Policy is canceled by the Insurer, the Insurer shall retain the pro rata proportion of
            the applicable premium herein.

            Payment or tender of any unearned premium by the Insurer shall not be a condition
            precedent to the effectiveness of cancellation, but such payment shall be made as soon as
            practicable.

            If the period of limitation relating to the giving of notice as set forth above is also set forth
            in any law controlling the construction thereof, the period set forth above shall be deemed
            to be amended so as to be equal to the minimum period of limitation set forth in the
            controlling law.

6. The Discovery Period Clause is deleted in its entirety and replaced with the following:

    VIII. Discovery Period

            A. Cancellation or Non-Renewal

                If the Policy or any Coverage Part is either cancelled or not renewed for any reason
                other than non-payment of premium, the Named Entity shall have the right to
                purchase a Discovery Period for a length of time indicated by endorsement to this
                Policy, subject to the following:




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              (i) The premium for the purchased Discovery Period shall be the Full Annual
                  Premium multiplied by the applicable percentage amount set forth immediately
                  below for the length of time elected, where permissible by law. If no such
                  percentage is set forth for a specific length of time, or the percentage is set forth
                  as “to be determined,” then the premium for such Discovery Period shall be an
                  amount as the Insurer may reasonably decide.

                  1 Year                75%
                  2 Years               100%
                  3 Years               125%
                  4 Years               TBD
                  5 Years               TBD
                  6 Years               TBD

              (ii) Unless notice of election and the premium contemplated above are received by
                   the Insurer within sixty (60) days of the cancellation or non-renewal date, the
                   Insured’s rights contained in this Clause shall lapse.

              (iii) The Insured shall have the right to give the Insurer written notice of Claims first
                    made against any Insured during the Discovery Period, but only for Wrongful
                    Acts occurring: (1) in the event of a cancellation, prior to the termination date for
                    the Policy or Coverage Part; or (2) in the event of a nonrenewal, prior to the end
                    of the Policy Period.

              (iv) Notwithstanding the foregoing, the Discovery Period shall not apply to a
                   Reputation Risk Event occurring during the Discovery Period.

              B. Change in Control

              If there is a Change in Control as defined in Clause IX. of these General Terms and
              Conditions, the Named Entity shall have the right within sixty (60) days before the
              end of the Policy Period to request an offer from the Insurer of a Discovery Period
              for a length of time that does not exceed those lengths offered by endorsement to this
              Policy per subparagraph A. above and subject to such terms, conditions and premium
              as the Insurer may reasonably decide.

              In the event of a Change in Control, the right to a Discovery Period shall not
              otherwise exist except as indicated in this subparagraph B.




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         C. General

                If any premium is owed for the Policy, any premium received from the Named Entity
                shall first be applied to the premium owing for the Policy with the remainder applied to
                the premium for the Discovery Period. The Discovery Period shall not take effect
                unless the outstanding premium for the Policy is paid in full and the premium for the
                Discovery Period is paid when due.

7. The Representations and Severability Clause is deleted in its entirety and replaced with the
   following:

    XII. Representations and Severability

            In granting coverage under this Policy, it is agreed that the Insurer has relied upon the
            statements and representations contained in the Application for this Policy as being
            accurate and complete. All such statements and representations are the basis of this
            Policy and are to be considered as incorporated into this Policy.

            The Insureds agree that in the event that the particulars and statements contained in the
            Application are not accurate and complete and materially affect either the acceptance of
            the risk or the hazard assumed by the Insurer under the Policy, then this Policy shall be
            void ab initio as to any Insured who knew as of the inception date of the Policy Period of
            the facts that were not accurately and completely disclosed in the Application (whether or
            not such Insured knew that such facts were not accurately and completely disclosed in the
            Application).

            Solely for purposes of determining whether this Policy shall be void ab initio as to an
            Insured, such aforesaid knowledge possessed by any Individual Insured shall not be
            imputed to any other Individual Insured and only knowledge possessed by the Chief
            Executive Officer, Chief Financial Officer and signor of the Application shall be imputed to
            the Company.

The below paragraphs 8. through 12. shall only apply to the D&O Coverage Part if selected above:

8. In the DEFINITIONS Clause, the definition of Executive is amended to include the following at the
   end thereof:

    Executive shall also include any advisory board members and committee members.




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NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                                   Page 6 of 11

9. In the EXCLUSIONS Clause, Exclusion F. is deleted in its entirety and replaced with the following:

    F. which is brought by or on behalf of a Company or any Individual Insured, other than an
       Employee of a Company; or which is brought by any security holder of the Company,
       whether directly or derivatively, unless such security holder's Claim is instigated and continued
       totally independent of, and totally without the solicitation of, assistance of, active participation
       of or intervention of any Company or any Executive of a Company; provided, however, this
       exclusion shall not apply to:

             (i) any Claim brought by an Individual Insured in the form of a cross-claim or third-party
                   claim for contribution or indemnity which is part of and results directly from a Claim
                   which is covered by this Policy;
             (ii) in any bankruptcy proceeding by or against a Company, any Claim brought by the
                   examiner, trustee, receiver, liquidator or rehabilitator (or any assignee thereof) of such
                   Company;
             (iii) any Claim brought by any past Executive of a Company provided he/she has not
                   served as an Executive, General Counsel, Risk Manager or consultant of a Company
                   at any time during the two (2) years prior to the Claim being first made against any
                   Insured;
             (iv) any Claim brought by an Executive of a Company formed and operating in a Foreign
                   Jurisdiction against such Company or any Executive thereof, provided that such
                   Claim is brought and maintained outside the United States, Canada or any other
                   common law country (including any territories thereof); or
             (v) any instigation of or involvement in any Claim by, or solicitation, assistance, active
                   participation or intervention of any Executive of a Company whistleblower under
                   Section 806 of the Sarbanes-Oxley Act of 2002 or any rule or regulation promulgated
                   thereunder, or under any similar whistleblower statute, rule or regulation under any
                   other federal or state law.

10. Item 6(c) of the Declarations, “Additional Executive Limit of Liability,” is deleted in its entirety
    and replaced with the following:

    6(c).        Additional Executive Limit of Liability:$1,000,000




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                                            Endorsement 3

NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                                 Page 7 of 11

11. In the Limits of Liability Clause, the Additional Executive Limit of Liability provision is deleted
    in its entirely and replaced with the following:

        Additional Executive Limit of Liability

        The Additional Executive Limit of Liability, if purchased as set forth in Item 6(c) of the
        Declarations, will be an additional Limit of Liability in an amount not to exceed $1,000,000,
        which amount is in addition to, and not part of, the Coverage Part Limit of Liability applicable
        to this D&O Coverage Part as set forth in the Declarations (“Additional Executive Limit of
        Liability”).

        This Additional Executive Limit of Liability is available solely for Loss resulting from any
        Claim against any Executive of a Company covered under Coverage A of this D&O
        Coverage Part.

        Notwithstanding anything in this Policy to the contrary, the Additional Executive Limit of
        Liability shall be excess of any insurance available that is specifically excess to this Policy and
        such excess insurance must be completely exhausted by payment of loss, damages or
        defense costs thereunder before the Insurer shall have any obligation to make any payment
        on account of the Additional Executive Limit of Liability.

12. In the Defense Costs, Defense Counsel, Settlements & Judgments Clause, the paragraph
    concerning the Insureds’ failure to consent to a Settlement Opportunity is deleted in its entirety
    and replaced with the following:

When the Insurer has assumed the defense of a Claim and the Insureds do not consent to the first
Settlement Opportunity within thirty (30) days of the date the Insureds are first made aware of such
Settlement Opportunity (or in the case of a Settlement Opportunity which arises from a settlement
offer by the claimant, then within the time permitted by the claimant to accept such settlement offer, but
in all events no later than thirty (30) days after the settlement offer was made), then, subject to any
applicable Limit of Liability, the Insurer’s liability for all Loss on account of such Claim shall not
exceed: (1) the amount for which the Insurer could have settled such Claim plus Defense Costs
incurred as of the date such settlement was proposed in writing by the Insurer (“Settlement
Opportunity Amount”), plus (2) Ninety percent (90%) of covered Loss in excess of such Settlement
Opportunity Amount, it being a condition of this insurance that the remaining ten percent 10% of such
covered Loss excess of such Settlement Opportunity Amount shall be carried by the Insureds at
their own risk and be uninsured. Notwithstanding the foregoing, this paragraph shall not apply until
such Settlement Opportunity Amount exceeds the applicable Retention set forth in Item 4. of the
Declarations or to those Claims for which the Insurer has not assumed the defense.




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                     Description: Exhibit B, Page 75 of 127
                                               Endorsement 3

NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                                     Page 8 of 11

The below paragraphs 13. through 15. only apply to the EPLI Coverage Part if selected above:

13. In the DEFINITIONS Clause, subparagraph (xi) in the definition of Employment Practices
    Violation is deleted in its entirety and replaced with the following:

    (xi)   with respect to subparagraphs (i) through (x) of this Definition: negligent hiring, retention,
           training or supervision, infliction of emotional distress or mental anguish, failure to provide or
           enforce adequate or consistent organizational policies and procedures, or violation of an
           individual’s civil rights (including any of the foregoing which is related to “workplace bullying”).

14. In the DEFINITIONS Clause, the definition of Executive is amended to include the following at the
    end thereof:

    Executive shall also include any advisory board members and committee members.

15. In the Defense Costs, Defense Counsel, Settlements & Judgments Clause, the paragraph
    concerning the Insureds’ failure to consent to a Settlement Opportunity is deleted in its entirety
    and replaced with the following:

    In the event the Insureds do not consent to the first Settlement Opportunity within thirty (30)
    days of the date the Insureds are first made aware of such Settlement Opportunity (or in the
    case of a Settlement Opportunity which arises from a settlement offer by the claimant, then
    within the time permitted by the claimant to accept such settlement offer, but in all events no later
    than thirty (30) days after the settlement offer was made), then, subject to any applicable Limit of
    Liability, the Insurer’s liability for all Loss on account of such Claim shall not exceed: (1) the
    amount for which the Insurer could have settled such Claim plus Defense Costs incurred as of
    the date such settlement was proposed in writing by the Insurer (“Settlement Opportunity
    Amount”), plus (2) ninety percent (90%) of covered Loss in excess of such Settlement
    Opportunity Amount, it being a condition of this insurance that the remaining ten percent (10%)
    of such covered Loss excess of such Settlement Opportunity Amount shall be carried by the
    Insureds at their own risk and be uninsured. Notwithstanding the foregoing, this paragraph shall
    not apply until such Settlement Opportunity Amount exceeds the applicable Retention set forth
    in Item 4. of the Declarations.




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                     Description: Exhibit B, Page 76 of 127
                                            Endorsement 3

NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                               Page 9 of 11

The below paragraphs 16. through 18. only apply to the FLI Coverage Part if selected above:

16. In the Limits of Liability Clause, the HIPAA Penalties Sublimit of Liability provision is deleted in
    its entirely and replaced with the following:

    HIPAA Penalties Sublimit of Liability

    The maximum limit of the Insurer’s liability for all HIPAA Penalties in the aggregate shall be one
    hundred thousand dollars ($100,000) (“HIPAA Penalties Sublimit of Liability”). The HIPAA
    Penalties Sublimit of Liability shall be part of, and not in addition to, the Coverage Part Limit of
    Liability applicable to this FLI Coverage Part as set forth in Item 4. the Declarations.

17. In the Defense Costs, Defense Counsel, Settlements & Judgments Clause, the paragraph
    concerning the Insureds’ failure to consent to a Settlement Opportunity is deleted in its entirety
    and replaced with the following:

If an Insured has not assumed the defense of a Claim and does not consent to the first Settlement
Opportunity within thirty (30) days of the date the Insureds are first made aware of such Settlement
Opportunity (or in the case of a Settlement Opportunity which arises from a settlement offer by the
claimant, then within the time permitted by the claimant to accept such settlement offer, but in all
events no later than thirty (30) days after the settlement offer was made), then, subject to any
applicable Limit of Liability, the Insurer’s liability for all Loss on account of such Claim shall not
exceed: (1) the amount for which the Insurer could have settled such Claim plus Defense Costs
incurred as of the date such settlement was proposed in writing by the Insurer (“Settlement
Opportunity Amount”), plus (2) ninety percent (90%) of covered Loss in excess of such Settlement
Opportunity Amount, it being a condition of this insurance that the remaining ten percent (10%) of
such covered Loss excess of such Settlement Opportunity Amount shall be carried by the Insureds
at their own risk and be uninsured. Notwithstanding the foregoing, this paragraph shall not apply until
such Settlement Opportunity Amount exceeds the applicable Retention set forth in Item 4. of the
Declarations or to those Claims for which the Insured has assumed the defense.




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NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                                Page 10 of 11

18. In the Change in Exposure Clause, the Coverage for Plans Created Formed or Acquired
    During the Policy Period provision is deleted in its entirety and replaced with the following:

    Coverage for Plans Created or Formed During the Policy Period

      If a Plan is created or formed during the Policy Period, then this FLI Coverage Part shall apply
      to such Plain (but solely with respect to any Wrongful Act occurring after the date of such
      creation or formation). The Named Entity shall provide the Insurer with full particulars of such
      new Plan before the end of the Policy Period.

    Coverage for Plans Acquired During the Policy Period

      If a Plan:

      A. is acquired during the Policy Period as a result of a Company’s acquisition of a Subsidiary
         whose assets total less than thirty five percent (35%) of the total consolidated assets of such
         Company as of the inception date of this FLI Coverage Part; or
      B. is acquired during the Policy Period and such Plan’s assets total less than thirty five percent
         (35%) of the total consolidated assets of all covered Plans as of the inception date of this FLI
         Coverage Part;

      then this FLI Coverage Part shall apply to such Plan (but solely with respect to any Wrongful
      Act occurring after the date of such acquisition). The Named Entity shall provide the Insurer
      with full particulars of such new Plan before the end of the Policy Period.

      If a Plan:

      A. is acquired during the Policy Period as a result of a Company’s acquisition of a Subsidiary
         whose assets total thirty five percent (35%) or more of the total consolidated assets of such
         Company as of the inception date of this FLI Coverage Part; or




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NAMED INSURED: Rochester Drug Cooperative, Inc.

E7002.2 Coverage Amendatory Endorsement                                               Page 11 of 11

      B. is acquired during the Policy Period and such Plan’s assets total thirty five percent (35%) or
         more of the total consolidated assets of all covered Plans as of the inception date of this FLI
         Coverage Part;

      then, this FLI Coverage Part shall apply to such Plan (but solely with respect to any Wrongful
      Act occurring after the date of such acquisition), but only upon the condition that within ninety
      (90) days of its acquisition, the Named Entity shall have provided the Insurer with a completed
      Application for such new Plan and agreed to any additional premium or amendment of the
      provisions of this FLI Coverage Part required by the Insurer relating to such new Plan.



All other terms and conditions remain unchanged.




Endorsement effective: 03/08/2017             Policy No.:   UVA1901769.17
Endorsement No:        3                      Processed Date: 03/06/2017




                 By : Carl Bach
                 (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 79 of 127
                                           Endorsement 4

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3840.1 Specific Claim/Investigation Exclusion




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                                               Endorsement 4

NAMED INSURED: Rochester Drug Cooperative, Inc.

E3840.1 Specific Claim/Investigation Exclusion                                             Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

___       Declarations
___       General Terms and Conditions
_X_       D&O Coverage Part
_X_       EPLI Coverage Part
___       FLI Coverage Part
___       ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above are modified as follows:

1. The DEFINITIONS Clause is amended to include the following definition at the end thereof:

      SC-A. Event(s) means:

              (i) Disgruntle Board Member 2011 Claim
              (ii) Eric Maloney 2012 Discrimination Claim
              (iii) Jonathan Jordan November 2015 Discrimination Complaint

      SC-B. Interrelated Wrongful Act means: (i) any fact, circumstance, act or omission alleged in
            any Event(s) and/or (ii) any Wrongful Act which is Related Wrongful Act to any
            Wrongful Act alleged in any Event(s).

2. The EXCLUSIONS Clause is amended to include the following exclusion at the end thereof:

      The Insurer shall not be liable to make any payment for Loss in connection with any (i) any Claim
      (s), notices, events, investigations or actions referred to in any Event(s); (ii) the prosecution,
      adjudication, settlement, disposition, resolution or defense of: (a) any Event(s); or (b) any Claim(s)
      arising from any Event(s); or (iii) any Wrongful Act, underlying facts, circumstances, acts or
      omissions in any way relating to any Event(s).

      It is further understood and agreed that the Insurer shall not be liable for any Loss in connection
      with any Claim(s) alleging, arising out of, based upon, attributable to or in any way related directly
      or indirectly, in part or in whole, to an Interrelated Wrongful Act, regardless of whether or not
      such Claim involved the same or different Insureds, the same or different legal causes of action
      or the same or different claimants or is brought in the same or different venue or resolved in the
      same or different forum.

All other terms and conditions remain unchanged.

PVT E3840 CW (06/09)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 81 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        4                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




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                     Description: Exhibit B, Page 82 of 127
                                          Endorsement 5

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3943.1 Bodily Injury/Property Damage Exclusion (Absolute)




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                                               Endorsement 5

NAMED INSURED: Rochester Drug Cooperative, Inc.

E3943.1 Bodily Injury/Property Damage Exclusion (Absolute)                                 Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

___        Declarations
___        General Terms and Conditions
_X_        D&O Coverage Part
_X_        EPLI Coverage Part
___        FLI Coverage Part
___        ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above are modified as follows:

The below paragraph 1. shall only apply to the D&O Coverage Part if selected above:

1. In the EXCLUSIONS Clause, paragraph J. is deleted in its entirety and replaced with the following:

      J.   alleging, arising out of, based upon or attributable to bodily injury, emotional distress, mental
           anguish, sickness, disease or death of any person, or damage to, loss of use of or destruction
           of any tangible property; provided, however, that this exclusion shall not apply to Securities
           Claims;

The below paragraph 2. shall only apply to the EPLI Coverage Part if selected above:

2. In the EXCLUSIONS Clause, paragraph F. is deleted in its entirety and replaced with the following:

      F. alleging, arising out of, based upon or attributable to bodily injury, sickness, disease or death of
         any person, or damage to, loss of use of or destruction of any tangible property; provided,
         however, that this exclusion shall not apply to emotional distress or mental anguish arising
         from a Wrongful Act;

The below paragraph 3. shall only apply to the FLI Coverage Part if selected above:

3. In the EXCLUSIONS Clause, paragraph G. is deleted in its entirety and replaced with the following:

      G. alleging, arising out of, based upon or attributable to bodily injury, sickness, disease, death,
         emotional distress or mental anguish of any person, or damage to, loss of use or destruction of
         any tangible property; provided, however, this Exclusion shall not apply to Defense Costs
         incurred in the defense of a Claim for Breach of Fiduciary Duty;


All other terms and conditions remain unchanged.

PVT E3943 CW (07/09)




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                     Description: Exhibit B, Page 84 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        5                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




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                     Description: Exhibit B, Page 85 of 127
                                           Endorsement 6

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3837.1 Reliance on Other Carriers Application




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                             Description: Exhibit B, Page 86 of 127
                                           Endorsement 6

NAMED INSURED: Rochester Drug Cooperative, Inc.

E3837.1 Reliance on Other Carriers Application                                       Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

___     Declarations
___     General Terms and Conditions
_X_     D&O Coverage Part
_X_     EPLI Coverage Part
___     FLI Coverage Part
___     ELAW Coverage Part

In consideration of the premium charged, it is hereby understood and agreed that the General Terms
and Conditions is amended to include the following Clause at the end thereof:

RO-I.   RELIANCE ON OTHER CARRIER’S APPLICATION

        In granting coverage under this Policy, it is agreed that the Insurer has relied upon the
        statements and representations contained in the below listed application (including materials
        submitted thereto and, if such application is a renewal application, all such previous policy
        applications, and their attachments and materials, for which this Policy is a renewal or
        succeeds in time) (hereinafter collectively the “Competitor’s Application”) as being accurate
        and complete as of the Date Signed. It is further understood and agreed that the Insureds
        extend any warranties and representations in the Competitor’s Application to the Insurer
        and further warrant and represent to the Insurer that the statements and representations
        made in the Competitor’s Application were accurate and complete on the Date Signed. All
        such statements and representations shall be deemed to be material to the risk assumed by
        the Insurer, are the basis of this policy and are to be considered as incorporated into this
        policy.

        TYPE OF POLICY APPLICATION
        Portfolio Select Application

        CARRIER
        AIG

        DATE SIGNED
        02/01/17


All other terms and conditions remain unchanged.

PVT E3837 CW (06/09)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 87 of 127
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Endorsement No:        6                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




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                     Description: Exhibit B, Page 88 of 127
                                            Endorsement 7

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E999.2 Antitrust Exclusion (Applicable to all Coverages)




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                             Description: Exhibit B, Page 89 of 127
                                             Endorsement 7

NAMED INSURED: Rochester Drug Cooperative, Inc.

E999.2 Antitrust Exclusion (Applicable to all Coverages)                                 Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

         Declarations
         General Terms and Conditions
X        D&O Coverage Part
         EPLI Coverage Part
         FLI Coverage Part
         ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

1. In the EXCLUSIONS Clause, subparagraph Q(ii) is deleted in its entirety.

2. The EXCLUSIONS Clause is amended to include the following at the end thereof:

     With respect to all Coverages, The Insurer shall not be liable to make any payment for Loss in
     connection with any Claim made against any Insured:

     AT-A.       arising out of, based upon or attributable to any actual or alleged violation of any law,
                 whether statutory, regulatory or common law, as respects the following activities: anti-
                 trust, business competition, unfair trade practices, or tortious interference in another’s
                 business or contractual relationships.

All other terms and conditions remain unchanged.




Endorsement effective: 03/08/2017              Policy No.:   UVA1901769.17
Endorsement No:        7                       Processed Date: 03/06/2017




                  By : Carl Bach
                  (Appointed Representative)




    Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                        Description: Exhibit B, Page 90 of 127
                                         Endorsement 8

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4214.1 Amend Insured vs. Insured Exclusion Endorsement (Creditor Co




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                             Description: Exhibit B, Page 91 of 127
                                            Endorsement 8

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4214.1 Amend Insured vs. Insured Exclusion Endorsement (Creditor Co                    Page 1 of 1


This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[X]     D&O Coverage Part
[ ]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the D&O Coverage Part(s)
selected above is modified as follows:

 In Clause IV. Exclusions, Exclusion F. is deleted in its entirety and replaced with the following:
 F. which is brought by or on behalf of a Company or any Individual Insured, other than an
      Employee of a Company; or which is brought by any security holder of the Company, whether
      directly or derivatively, unless such security holder's Claim is instigated and continued totally
      independent of, and totally without the solicitation of, assistance of, active participation of or
      intervention of any Company or any Executive of a Company; provided, however, this
      Exclusion will not apply to:
      (i)     any Claim brought by an Individual Insured in the form of a cross-claim or third-party
              claim for contribution or indemnity which is part of and results directly from a Claim which
              is covered by this Policy;
      (ii)    in any bankruptcy proceeding by or against a Company, any Claim brought by the
              examiner, trustee, receiver, liquidator, rehabilitator, creditor committee, or debtor-in-
              possession (or any assignee thereof) of such Company;
      (iii)   any Claim brought by any past Executive of a Company provided he/she has not served
              as an Executive, General Counsel, Risk Manager or consultant of a Company at any
              time during the three (3) years prior to the Claim being first made against any Insured;
      (iv)    any Claim brought by an Executive of a Company formed and operating in a Foreign
              Jurisdiction against such Company or any Executive thereof, provided that such Claim
              is brought and maintained outside the United States, Canada or any other common law
              country (including any territories thereof); or
      (v)     any instigation of or involvement in any Claim by, or solicitation, assistance, active
              participation or intervention of any Executive whistle-blower under Section 806 of the
              Sarbanes-Oxley Act of 2002, as may be amended, or any rule or regulation promulgated
              thereunder, or under any similar whistle-blower statute, rule, or regulation under any other
              federal or state law;

PVT E4214 CW (02/16)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 92 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        8                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 93 of 127
                                         Endorsement 9

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3958.2 Extradition Costs Coverage Endorsement [D&O]




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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NAMED INSURED: Rochester Drug Cooperative, Inc.

E3958.2 Extradition Costs Coverage Endorsement [D&O]                                    Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]      Declarations
[ ]      General Terms and Conditions
[X]      D&O Coverage Part
[ ]      EPLI Coverage Part
[ ]      FLI Coverage Part
[ ]      ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the D&O Coverage Part is
modified as follows:

 I.     The following is added to the end of Clause I. Insuring Agreements:
        This D&O Coverage Part will pay the Extradition Costs for an Extradition Action first made
        during the Policy Period.
 II.    Solely with respect to the Coverage as provided in paragraph I. above, the following is added to
        the definition of “Claim” in the Definitions Clause:
        Claim will also mean Extradition Action.
 III.   Solely with respect to the Coverage as provided in paragraph I. above, the following is added to
        the end of the definition of “Defense Costs” in the Definitions Clause:
        Defense Costs will also mean Extradition Costs.
 IV.    Solely with respect to the Coverage as provided in paragraph I. above, the following is added to
        the end of the Definitions Clause:
          EC-A.      Extradition Action means any official request from one nation or state to another for
                     the surrender of an Executive to face criminal charges for Wrongful Acts committed
                     in such Executive’s capacity as an Executive.
          EC-B.      Extradition Costs means the reasonable and necessary fees, costs, and expenses
                     consented to by the Insurer to:
                     a.    oppose, challenge, resist, or defend an Extradition Action; or
                     b.    appeal any order or grant arising from an Extradition Action.
 V.     Notwithstanding anything in the Policy to the contrary, the Insurer will not be liable to pay any
        Loss arising from an Extradition Action other than Extradition Costs, which will be part of,
        and not in addition to, any applicable Limit of Liability.


All other terms and conditions remain unchanged.

PVT E3958 CW (02/16)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 95 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        9                     Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 96 of 127
                                         Endorsement 10

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4222.1 TCPA Defense Costs Endorsement [D&O]




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




         Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                             Description: Exhibit B, Page 97 of 127
                                             Endorsement 10

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4222.1 TCPA Defense Costs Endorsement [D&O]                                              Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]      Declarations
[ ]      General Terms and Conditions
[X]      D&O Coverage Part
[ ]      EPLI Coverage Part
[ ]      FLI Coverage Part
[ ]      ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

 I.     The following exclusion is added to the end of Clause IV. Exclusions:
        TC-      for violation(s) of the Telephone Consumer Protection Act, as may be amended, or any
        A.       similar federal, state, or local statutes, ordinances, or regulations; provided, however,
                 this Exclusion will not apply to Defense Costs incurred to defend such Claims, subject
                 to the TCPA Defense Sublimit identified in Section III of this Endorsement;
 II.    In Clause IV. Exclusions, part (iv) of Exclusion Q. is deleted in its entirety and replaced with the
        following:
        (iv)   for injury resulting from libel, slander, oral or written publication of defamatory or
               disparaging material, invasion of privacy, wrongful entry, eviction, false arrest, false
               imprisonment, malicious prosecution, malicious use or abuse of process, assault, battery,
               or loss of consortium; provided, however, this Exclusion will not apply to Defense Costs
               incurred in connection with a Claim for violation of the Telephone Consumer Protection
               Act, as may be amended, or any similar federal, state, or local statutes, ordinances, or
               regulations, subject to the TCPA Defense Sublimit identified in Section III of this
               Endorsement;
 III.   TCPA Defense Sublimit:           $50,000 in the aggregate for all Defense Costs incurred in
                                         connection with any Claims for violation of the Telephone
                                         Consumer Protection Act, as may be amended, or any similar
                                         federal, state, or local statutes, ordinances, or regulations. The
                                         TCPA Defense Sublimit will be part of, and not in addition to, any
                                         applicable Limit of Liability under this D&O Coverage Part.


PVT E4222 CW (02/16)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 98 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        10                    Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                     Description: Exhibit B, Page 99 of 127
                                         Endorsement 11

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4221.1 WARN Act Defense Costs Endorsement




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




         Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                            Description: Exhibit B, Page 100 of 127
                                             Endorsement 11

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4221.1 WARN Act Defense Costs Endorsement                                                Page 1 of 2

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[X]     D&O Coverage Part
[X]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

 I.    In Clause IV. Exclusions of the D&O Coverage Part, Paragraph L. is deleted in its entirety and
       replaced with the following:
       L. for violation(s) of any of the responsibilities, obligations or duties imposed by the Employee
            Retirement Income Security Act of 1974, the Fair Labor Standards Act, the National Labor
            Relations Act, the Worker Adjustment and Retraining Notification Act, the Consolidated
            Omnibus Budget Reconciliation Act, the Occupational Safety and Health Act, any rules or
            regulations of the foregoing promulgated thereunder, and amendments thereto or any similar
            federal, state, local or foreign statutory law or common law;
            provided, however, this Exclusion will not apply to Defense Costs incurred in connection
            with a Claim alleging violation(s) of any of the responsibilities, obligations or duties imposed
            by the Worker Adjustment and Retraining Notification Act, subject to a sublimit of liability of
            $100,000, which sublimit will be part of, and not in addition to, any applicable Limit of
            Liability;
 II.   In Clause III. Exclusions of the EPLI Coverage Part, Paragraph G. is deleted in its entirety and
       replaced with the following:
       G. for violation(s) of any of the responsibilities, obligations or duties imposed by the Employee
            Retirement Income Security Act of 1974, the Fair Labor Standards Act (except the Equal
            Pay Act), the National Labor Relations Act, the Worker Adjustment and Retraining
            Notification Act, the Consolidated Omnibus Budget Reconciliation Act, the Occupational
            Safety and Health Act, any rules or regulations of the foregoing promulgated thereunder, and
            amendments thereto or any similar federal, state, local or foreign statutory law or common
            law; provided, however, this Exclusion will not apply to:
            (i) the portion of a Claim attributable to Retaliation; or
            (ii) Defense Costs incurred in connection with a Claim alleging violation(s) of any of the
                  responsibilities, obligations or duties imposed by the Worker Adjustment and Retraining
                  Notification Act, subject to a sublimit of liability of $100,000, which sublimit will be part
                  of, and not in addition to, any applicable Limit of Liability;




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                                            Endorsement 11

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4221.1 WARN Act Defense Costs Endorsement                                            Page 2 of 2

 III.   The maximum limit of the Insurer’s liability for all Defense Costs incurred in connection with a
        Claim alleging violation(s) of any of the responsibilities, obligations or duties imposed by the
        Worker Adjustment and Retraining Notification Act, in the aggregate, will be $100,000, regardless
        of the Coverage Part under which the Claim(s) arises. Such sublimit will be part of, and not in
        addition to, any applicable Limit of Liability.


PVT E4221 CW (02/16)

Endorsement effective: 03/08/2017               Policy No.:   UVA1901769.17
Endorsement No:        11                       Processed Date: 03/06/2017




                   By : Carl Bach
                   (Appointed Representative)




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                    Description: Exhibit B, Page 102 of 127
                                         Endorsement 12

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3959.2 Immigration Proceeding Coverage [D&O]




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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                                             Endorsement 12

NAMED INSURED: Rochester Drug Cooperative, Inc.

E3959.2 Immigration Proceeding Coverage [D&O]                                             Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]      Declarations
[ ]      General Terms and Conditions
[X]      D&O Coverage Part
[ ]      EPLI Coverage Part
[ ]      FLI Coverage Part
[ ]      ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the D&O Coverage Part
selected above is modified as follows:

 I.     The following is added to the end of Clause I. Insuring Agreements:
        Immigration Proceeding Coverage
        This D&O Coverage Part will pay a maximum of $100,000 for Defense Costs arising from an
        Immigration Proceeding first made during the Policy Period.
 II.    Solely with respect to the coverage as provided in Section I of this Endorsement, in Clause II.
        Definitions, the following is added to the end of the definition of “Claim”:
        Claim will also mean an Immigration Proceeding.
 III.   Solely with respect to the coverage as provided in Section I of this Endorsement, Clause II.
        Definitions is amended to include the following at the end thereof:
        IP-A.     Immigration Proceeding means a criminal investigation of any Insured by a
                  governmental agency alleging a violation of the Immigration Reform and Control Act of
                  1986, as amended, including any similar federal, state, or local law relating to the hiring
                  or harboring of illegal aliens.

 IV.    Notwithstanding anything in the Policy to the contrary, the Insurer will not be liable to pay any
        Loss other than Defense Costs in connection with an Immigration Proceeding, which will be a
        part of, and not in addition to, any applicable Limit of Liability.


All other terms and conditions remain unchanged.


PVT E3959 CW (06/15)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 104 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        12                    Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 105 of 127
                                         Endorsement 13

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4238.1 Amend Public Offering Exclusion (Road Show Carveback) [D&O]




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




         Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                            Description: Exhibit B, Page 106 of 127
                                           Endorsement 13

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4238.1 Amend Public Offering Exclusion (Road Show Carveback) [D&O]                    Page 1 of 1


This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[X]     D&O Coverage Part
[ ]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the D&O Coverage Part
selected above is modified as follows:

 In Clause IV. Exclusions, Exclusion H. is deleted in its entirety and replaced with the following:
 H.      alleging, arising out of, based upon or attributable to any public offering of securities by a
         Company, an Outside Entity, or an Affiliate, or alleging, arising out of, based upon or
         attributable to the purchase or sale of such securities subsequent to such public offering;
         provided, however, this exclusion will not apply to:
         (i)   any purchase or sale of securities, whether debt or equity, in a transaction or a series of
               transactions that are exempt from registration under the Securities Act of 1933. Coverage
               for such purchase or sale transaction will not be conditioned upon payment of any
               additional premium; provided, however, the Named Entity will give the Insurer written
               notice of any exempt public offering, together with full particulars, as soon as practicable
               but not later than thirty (30) days after the effective date of the exempt public offering;
         (ii) any Claim made by any security holder of a Company for the failure of such Company to
               undertake or complete the initial public offering or sale of securities of such Company; or
         (iii) any Claim in connection with the Company’s preparation for any initial public offering,
               including any presentations (“road show” or otherwise), but only if such initial public
               offering is not completed;

All other terms and conditions remain unchanged.

PVT E4238 CW (09/16)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 107 of 127
Endorsement effective: 03/08/2017            Policy No.:   UVA1901769.17
Endorsement No:        13                    Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 108 of 127
                                          Endorsement 14

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4213.1 Retention Reduction Incentive Endorsement (90/10) [EPLI]




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




         Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                            Description: Exhibit B, Page 109 of 127
                                           Endorsement 14

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4213.1 Retention Reduction Incentive Endorsement (90/10) [EPLI]                       Page 1 of 3

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[ ]     D&O Coverage Part
[X]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

 I.    In Clause I. Insuring Agreement of the EPLI Coverage Part , the paragraph titled “Defense
       Provision” is deleted in its entirety and replaced with the following:
       Defense Provision
       In accordance with the Defense Costs, Defense Counsel, Settlements & Judgments Clause
       of this EPLI Coverage Part, the Insurer will have the right and duty to defend any Claim against
       an Insured alleging a Wrongful Act, even if such Claim is groundless, false or fraudulent;
       provided, however, the Insured may at its sole option assume the defense of a Claim for which
       coverage is provided by this Coverage Part.
 II.   Clause V. Defense Costs, Defense Counsel, Settlements & Judgments of the EPLI
       Coverage Part is deleted in its entirety and replaced with the following:
       Defense
       Except as hereinafter stated, the Insurer will have both the right and duty to defend any Claim
       against an Insured alleging a Wrongful Act, even if such Claim is groundless, false or
       fraudulent. The Insurer will have the right to select and appoint the law firm identified below to
       defend the Insured against a covered Claim. However, the Insured will have the right to
       effectively associate with the Insurer in the defense of any Claim, including, but not limited to,
       negotiating a settlement, subject to the provisions of this Clause. Billing rates for the law firm
       identified below will not exceed the agreed upon rates.
       Littler Mendelson




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                                          Endorsement 14

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4213.1 Retention Reduction Incentive Endorsement (90/10) [EPLI]                      Page 2 of 3

     Insured’s Option to Assume Defense
     Notwithstanding the above, the Insureds will have the right to assume the defense of any Claim
     made against them. This right will be exercised in writing by the Named Entity on the behalf of
     all Insureds within thirty (30) days of the reporting of the Claim to the Insurer pursuant to
     Clause VI. of the General Terms and Conditions. Upon receipt of such written request, the
     Insurer will tender the defense of the Claim to the Insureds and the Insurer cannot re-assume
     the defense of the Claim. The Insurer will have the right to effectively associate with the
     Insureds in the defense of any Claim, including, but not limited to, negotiating a settlement and
     approving the selection of defense counsel. Provided that the Insurer will be permitted to
     effectively associate with the Insureds in the defense of any Claim, including, but not limited to,
     negotiating a settlement of any Claim and approving the selection of defense counsel, the
     Insurer’s consent to settlements, stipulated judgments and Defense Costs will not be
     unreasonably withheld.
     General Provisions
     The Insurer will advance Defense Costs on behalf of the Insured prior to the final disposition of
     a Claim, subject to the other provisions of this EPLI Coverage Part. Such advance payments
     by the Insurer will be repaid to the Insurer by the Insureds, severally according to their
     respective interests, in the event and to the extent that the Insureds will not be entitled to
     payment of such Loss under the terms and conditions of this EPLI Coverage Part.
     The Insureds will not admit or assume any liability, enter into any settlement agreement,
     stipulate to any judgment, incur any Defense Costs, or retain any defense counsel without the
     prior written consent of the Insurer. Only those settlements, stipulated judgments, and Defense
     Costs which have been consented to in writing by the Insurer will be recoverable as Loss under
     the terms of this EPLI Coverage Part.




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 111 of 127
                                            Endorsement 14

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4213.1 Retention Reduction Incentive Endorsement (90/10) [EPLI]                        Page 3 of 3

        If an Insured has not assumed the defense of a Claim and does not consent to the first
        Settlement Opportunity within thirty (30) days of the date the Insureds are first made aware of
        such Settlement Opportunity (or in the case of a Settlement Opportunity which arises from a
        settlement offer by the claimant, then within the time permitted by the claimant to accept such
        settlement offer, but in all events no later than thirty (30) days after the settlement offer was
        made), then, subject to any applicable Limit of Liability, the Insurer’s liability for all Loss on
        account of such Claim will not exceed: (1) the amount for which the Insurer could have settled
        such Claim plus Defense Costs incurred as of the date such settlement was proposed in writing
        by the Insurer (“Settlement Opportunity Amount”), plus (2) ninety percent (90%) of covered
        Loss in excess of such Settlement Opportunity Amount, it being a condition of this insurance
        that the remaining ten percent (10%) of such covered Loss excess of such Settlement
        Opportunity Amount will be carried by the Insureds at their own risk and be uninsured.
        Notwithstanding the foregoing, this paragraph will not apply until such Settlement Opportunity
        Amount exceeds the applicable Retention set forth in Item 4. of the Declarations or to those
        Claims for which the Insured has assumed the defense.
        The Insureds will give the Insurer full cooperation and such information as the Insurer may
        reasonably require.
 III.   The following is added to the end of Clause V. Retention of the General Terms and
        Conditions:
        The Retention will be reduced by 20% for any Claim for which the Insured does not exercise its
        option to assume the defense.

PVT E4213 CW (02/16)


Endorsement effective: 03/08/2017               Policy No.:   UVA1901769.17
Endorsement No:        14                       Processed Date: 03/06/2017




                   By : Carl Bach
                   (Appointed Representative)




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                    Description: Exhibit B, Page 112 of 127
                                         Endorsement 15

    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4227.1 Workplace Violence Extension Endorsement




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




         Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
                            Description: Exhibit B, Page 113 of 127
                                          Endorsement 15

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4227.1 Workplace Violence Extension Endorsement                                     Page 1 of 7

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[ ]     D&O Coverage Part
[X]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above are modified as follows:

 The General Terms and Conditions is modified as follows:
 I.     Solely with respect to the coverage provided by this Endorsement, Clause VI. Reporting and
        Notice is deleted in its entirety and replaced with the following:
        Solely with respect to Threat Events:
        TH-A.      The Insured(s) shall, as a condition precedent to the obligations of the Insurer under
                   this Endorsement, give notice to Control Risks of any Threat Event as soon as
                   practicable, at 844-610-5952.
        TH-B.      If notice of a Threat Event has been given to Control Risks pursuant to Section I.TH-
                   A. of this Endorsement, then any prior or subsequent Threat Event or Workplace
                   Violence Event arising out of, based upon, or attributable to the same or substantially
                   similar facts or circumstances surrounding the previously reported Threat Event shall
                   be deemed to have been reported at the time notice was originally given and shall be
                   considered a “Related Event” for purposes of this Policy.
        Solely with respect to Workplace Violence Events:
        WV-A.      The Insured(s) shall, as a condition precedent to the obligations of the Insurer under
                   this Endorsement, give notice to the Insurer of any Workplace Violence Event within
                   thirty (30) days after such Workplace Violence Event takes place, and in no event
                   later than thirty (30) days after the end of the Policy Period.
                   Such notice shall be given in writing at the address set forth in Item 7 of the
                   Declarations (and Item 6 of the Common Declaration if issued as a package policy).
                   Notice shall reference the policy number set forth in the Declarations under which the
                   Workplace Violence Event is being noticed. If mailed, the date of mailing shall
                   constitute the date that such notice was given and proof of mailing shall be sufficient
                   proof of notice.




 Case 2-20-20230-PRW, Doc 1745-2, Filed 01/05/23, Entered 01/05/23 18:31:26,
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                                           Endorsement 15

NAMED INSURED: Rochester Drug Cooperative, Inc.

E4227.1 Workplace Violence Extension Endorsement                                      Page 2 of 7

         WV-B.     If written notice has been given to the Insurer pursuant to Section I.WV-A. of this
                   Endorsement, then any subsequent Threat Event or Workplace Violence Event
                   arising out of, based upon, or attributable to the same or substantially similar facts or
                   circumstances surrounding the previously reported Workplace Violence Event shall
                   be deemed to have been reported at the time notice was originally given and shall be
                   considered a “Related Event” for purposes of this Policy.
        WV-C.      The Insured(s) shall, as a condition precedent to exercising any right to coverage
                   under this Endorsement, give to the Insurer such information, assistance, and
                   cooperation as the Insurer may reasonably require, and shall include the following
                   information in any notice under Section I.WV-A. or WV-B. of this Endorsement and/or
                   if subsequently requested by the Insurer:
                   (i)     a description of the Workplace Violence Event;
                   (ii)    the name(s) of any individual(s) whose conduct or act(s) resulted in the
                           Workplace Violence Event;
                   (iii) the manner in which such Insured(s) first became aware of the Workplace
                           Violence Event; and
                   (iv) the nature and extent of any actual or potential bodily injury or death of any
                           Insured Person(s), including the name(s) of any injured and/or deceased
                           Insured Person(s) and supporting medical invoices and documentation; and
                   (v)     the nature and extent of any lost Business Income incurred by the Company,
                           including documentation supporting the calculation of such Business Income.
 II.    The following is added to the end of Clause XI. Other Insurance:
        With respect to coverage provided under the Workplace Violence Extension, this Policy is
        specifically excess of and will not contribute with any other valid and collectible insurance.
 The EPLI Coverage Part is modified as follows:
 III.   The following is added to the end of Clause I. Insuring Agreements:
        Workplace Violence Coverage
        This EPLI Coverage Part shall also pay:
        (i) Threat Expenses incurred by the Company directly resulting from a Threat Event that
             takes place, in whole or in part, during the Policy Period, and is reported in accordance
             with Section I. of this Endorsement, regardless of whether such Threat Event occurs on or
             off the Insured Premises;
        (ii) Workplace Violence Expenses and Business Interruption Expenses incurred by the
             Company or any Insured Person directly resulting from a Workplace Violence Event that
             takes place on the Insured Premises during the Policy Period and is reported in
             accordance with Section I. of this Endorsement; and




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       (iii)   Loss of Life Benefits incurred by the Company directly resulting from a Workplace
               Violence Event that takes place on the Insured Premises during the Policy Period and
               is reported in accordance with Section I. of this Endorsement.

 IV.    In Clause II. Definitions, the following is added to the end of the definition of “Wrongful Act”:
        However, in no event shall the term “Wrongful Act” include any Threat Event or Workplace
        Violence Event carried out in whole or in part by an Insured.
 V.     The following is added to the end of Clause II. Definitions:
       WV-A.       Business Income means:
                   (i)     the sum of:
                           (1)   net profit before taxes that would have been earned had no Workplace
                                 Violence Event occurred;
                           (2)   the actual cost of continuing, on a curtailed basis, activities which are
                                 necessary for the Company to resume operations with substantially the
                                 same quality of service which existed immediately before the Workplace
                                 Violence Event; and
                           (3)   reasonable expenses which would not have been incurred except for
                                 such Workplace Violence Event and which were incurred by the
                                 Company for the sole purpose of reducing loss described in
                                 subparagraphs (i)(1) and (i)(2) of this Definition;
                   (ii)    less the sum of:
                           (1)   all recoveries, insurance, suretyship, and other indemnity which would
                                 cover loss described in subparagraph (i) of this Definition in the absence
                                 of this coverage; and
                           (2)   the amount by which the Company fails to reduce loss described in
                                 subparagraph (i) of this Definition through any reasonable measures,
                   all as incurred during the Period of Restoration.
       WV-B.       Business Interruption Expenses means the actual lost Business Income incurred
                   by the Company due to:
                   (i)     the actual suspension of the Company’s operations during the Period of
                           Restoration; or
                   (ii)    an order by a civil or military authority prohibiting access to the Insured
                           Premises, in whole or in part.
       WV-C.       Insured Person(s) means, for purposes of this Endorsement:
                   (i)     any Employee or Executive in his or her capacity as such; or




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           (ii)     any guest or customer of the Company while on the Insured Premises;
           however, in no event shall Insured Person(s) include any individual whose threat,
           conduct, or act directly resulted in a Threat Event or Workplace Violence Event.
 WV-D.     Insured Premises means any real property owned or rented by the Company in the
           conduct of its operations.
 WV-E.     Loss of Life Benefits means $100,000 per deceased Employee or Executive,
           which the Insurer shall pay as a result of the death or clinical death of an Employee
           or Executive.
           However, in no event shall Loss of Life Benefits be paid for any Employee or
           Executive whose threat, conduct, or act directly resulted in a Threat Event or
           Workplace Violence Event.
 WV-F.     Period of Restoration means the period of time beginning twenty-four (24) hours
           after the Company’s operations are actually suspended or an order by a civil or
           military authority prohibits access to the Insured Premises, and ending on the
           earliest of:
           (i)     after due diligence, the date such operations are restored by the Company to
                   the level that existed prior to the Workplace Violence Event;
           (ii)    ninety (90) days after the suspension of operations; or
           (iii)   thirty (30) days after a civil or military authority denies access to the Insured
                   Premises.
           However, in no event shall the termination of this Policy reduce the Period of
           Restoration.
 WV-G.     Threat Event means any threat or conduct, other than a Workplace Violence
           Event, which demonstrates intent to:
           (i)     inflict bodily harm on any Insured Person(s); or
           (ii)    damage, destroy, or contaminate the Named Entity’s tangible property.
 WV-H.     Threat Expenses means reasonable fees and expenses for:
           (i)     independent threat management or security consultant services provided by
                   Control Risks to assess and provide advice concerning a Threat Event,
                   incurred within ninety (90) days of such Threat Event;
           (ii)    independent security guard services provided by a security firm selected by the
                   Insurer, incurred by the Company within ninety (90) days of a Threat Event;
                   and
           (iii)   other costs incurred by the Company with the prior written consent of the
                   Insurer.




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       WV-I.      Workplace Violence Event means any act of potentially deadly force involving the
                  use of a lethal weapon which results in bodily injury or death to any Insured Person
                  (s); however, in no event shall the term “Workplace Violence Event” include any
                  accidental act.
       WV-J.      Workplace Violence Expenses means reasonable fees and expenses for:
                  (i)      medical, mental health, dental, and cosmetic services, including the cost of
                           plastic surgery, incurred by any Insured Person within thirty-six (36) months
                           of a Workplace Violence Event;
                  (ii)     rest and rehabilitation, including meals and recreation, taken within ninety
                           (90) days of a Workplace Violence Event, incurred by any Insured Person
                           who has suffered bodily injury, such Insured Person’s spouse, domestic
                           partner, and/or child(ren), and/or the spouse, domestic partner, and/or child
                           (ren) of any deceased Insured Person;
                  (iii)    crisis mental health counseling services, incurred by the Company within
                           ninety (90) days of a Workplace Violence Event for any Insured Person
                           who requests such services;
                  (iv)     independent public relations consultants, crisis management consultants,
                           and/or interpreters, incurred by the Company within ninety (90) days of a
                           Workplace Violence Event;
                  (v)      personal financial loss incurred by an Insured Person within ninety (90) days
                           of a Workplace Violence Event due to his or her physical inability to attend
                           to personal financial matters;
                  (vi)     the gross salary, including bonuses and allowances, for a temporary
                           replacement of any Insured Person who has suffered bodily injury or death,
                           incurred by the Company within ninety (90) days of a Workplace Violence
                           Event, provided that such amounts do not exceed such Insured Person’s
                           total compensation;
                  (vii)    independent computer forensic analysts selected by the Named Entity,
                           incurred by the Company within ninety (90) days of a Workplace Violence
                           Event;
                  (viii)   independent security guard and/or consultant services, incurred by the
                           Company within ninety (90) days of a Workplace Violence Event; and
                  (ix)     other costs incurred by the Company with the prior written consent of the
                           Insurer.
                  However, in no event shall Workplace Violence Expenses include any Defense
                  Costs or Damages for any Claim(s) made against the Insured.




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 VI.      The following is added to the end of Clause III. Exclusions:
          The Insurer shall not be liable to make any payment for Threat Expenses, Workplace Violence
          Expenses, Business Interruption Expenses, or Loss of Life Benefits arising out of, based
          upon, or attributable to:
         WV-A.       the use or threat of force or violence occurring on the Insured Premises for the
                     purpose of demanding money, securities, or property;
         WV-B.      violation(s) of any of the responsibilities, obligations or duties imposed by the
                    Employee Retirement Income Security Act of 1974, the Fair Labor Standards Act
                    (except the Equal Pay Act), the National Labor Relations Act, the Worker Adjustment
                    and Retraining Notification Act, the Consolidated Omnibus Budget Reconciliation
                    Act, the Occupational Safety and Health Act, any rules or regulations of the foregoing
                    promulgated thereunder, and amendments thereto, or any similar federal, state,
                    local, or foreign statutory law or common law; or
         WV-C.      any obligation pursuant to any worker’s compensation, disability benefits,
                    unemployment compensation, unemployment insurance, retirement benefits, social
                    security benefits, or similar law.
         WV-D.      war, invasion, acts of foreign enemies, hostilities (whether war is declared or not),
                    civil war, rebellion, revolution, insurrection, military, or usurped power, or
                    confiscation, nationalization, requisition, destruction of, or damage to property by or
                    under the order of any government, public, or local authority.
         WV-E.      Loss, including Defense Costs, judgments, settlements, and damages incurred as
                    the result of any Claim, suit, or judicial action brought against any Insured in
                    connection with a Threat Event or Workplace Violence Event.

 VII.     The following is added to the end of Clause IV. Retention:
          However, no Retention shall apply to the payment of Threat Expenses, Workplace Violence
          Expenses, Business Interruption Expenses, or Loss of Life Benefits.
 VIII.    The following Conditions are added to the end of the EPLI Coverage Part:
          WP-I.    Foreign Currency             The Insurer shall pay the United States of America dollar
                                                value of foreign currency based on the rate of exchange
                                                published in The Wall Street Journal on the day loss
                                                involving foreign currency is discovered.
          WP-II. Proof of Loss                  As a condition precedent to coverage, the Company shall
                                                provide to the Insurer a signed and sworn proof of loss
                                                stating, at a minimum, a full description of the
                                                circumstances surrounding such loss, including the time,
                                                place, cause, and detailed calculation of any Business
                                                Interruption Expenses, Threat Expenses, or Workplace
                                                Violence Expenses, within ninety (90) days after any such
                                                expenses are incurred.




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 IX.       The maximum limit of the Insurer’s liability for all Threat Expenses, Workplace Violence
           Expenses, Business Interruption Expenses, and Loss of Life Benefits directly resulting from
           any Threat Events or Workplace Violence Events that are reported during the Policy Period
           will be the “Workplace Violence Extension Limit of Liability” identified below:
           Workplace Violence Extension Limit of Liability
           $250,000 per Threat Event, Workplace Violence Event, or Related Event / $250,000 in the
           aggregate
           The Workplace Violence Extension Limit of Liability will be in addition to, and not part of, the
           EPLI Coverage Part Limit of Liability.
 X.        The maximum limit of the Insurer’s liability for all rest and rehabilitation expenses as described
           in this Endorsement directly resulting from any Workplace Violence Events that are reported
           during the Policy Period will be the “Rest and Rehabilitation Sublimit of Liability” identified
           below:
           Rest and Rehabilitation Sublimit of Liability
           $50,000 per Workplace Violence Event or Related Event / $50,000 in the aggregate
           The Rest and Rehabilitation Sublimit of Liability will be part of, and not in addition to, the
           Workplace Violence Extension Limit of Liability.
All other terms and conditions remain unchanged.



Endorsement effective: 03/08/2017              Policy No.:   UVA1901769.17
Endorsement No:        15                      Processed Date: 03/06/2017




                  By : Carl Bach
                  (Appointed Representative)




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    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E3822.1 Nuclear Energy Exclusion




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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E3822.1 Nuclear Energy Exclusion                                                       Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

___      Declarations
___      General Terms and Conditions
_X_      D&O Coverage Part
___      EPLI Coverage Part
___      FLI Coverage Part
___      ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

1. The EXCLUSIONS Clause is amended to include the following exclusion at the end thereof:

      The Insurer shall not be liable to make any payment for Loss in connection with any Claim made
      against any Insured:

      NE-A.      alleging, arising out of, based upon or attributable to any hazardous properties of any
                 nuclear material, including source material, special nuclear material or byproduct
                 material;

      NE-B.      which is insured under a nuclear energy liability policy issued by Nuclear Energy
                 Liability Insurance Association, Mutual Atomic Energy Liability underwriters, or Nuclear
                 Insurance Association of Canada, or would be insured under any such policy but for its
                 termination or exhaustion of its limit of liability; or

      NE-C.      with respect to which:

                 (i)     any person or organization is required to maintain financial protection pursuant
                         to the Atomic Energy Act of 1954, or any law amendatory thereof; or

                 (ii)    the Insured is, or had this policy not been issued would be, entitled to
                         indemnity from the United States of America, or any agency thereof, under any
                         agreement entered into by the United States of America, or any agency
                         thereof, with any person or organization.


All other terms and conditions remain unchanged.




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Endorsement No:        16                    Processed Date: 03/06/2017




                By : Carl Bach
                (Appointed Representative)




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    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E4201.2 Defense Costs Outside Limit (Capped Lower than Coverage Part




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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E4201.2 Defense Costs Outside Limit (Capped Lower than Coverage Part                  Page 1 of 1


This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

[ ]     Declarations
[ ]     General Terms and Conditions
[X]     D&O Coverage Part
[ ]     EPLI Coverage Part
[ ]     FLI Coverage Part
[ ]     ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the Coverage Part(s)
selected above is modified as follows:

 The following is added to the end of the LIMITS OF LIABILITY Clause:
       Defense Costs Outside Limit of Liability
       Notwithstanding anything in the Policy to the contrary, the Insurer will pay up to $1,000,000 in
       Defense Costs incurred in excess of the applicable Retention for a Claim first made during the
       Policy Period or the Discovery Period (if applicable) in addition to, and not as a part of, any
       applicable Limit of Liability. However, regardless of the number of Claims notified to the
       Insurer during the Policy Period or the Discovery Period (if applicable), any additional
       Defense Costs the Insurer pays in excess of $1,000,000 will erode the Limit of Liability
       applicable to that Coverage Part, and will be a part of, and not in addition to, the Coverage Part
       Limit.
       The Insurer will not be obligated to advance or pay any Defense Costs or to undertake or
       continue the defense of any Claim after the applicable Limit of Liability has been exhausted by
       payment of Loss other than Defense Costs.

All other terms and conditions remain unchanged.

PVT E4201 CW (12/15)


Endorsement effective: 03/08/2017             Policy No.:   UVA1901769.17
Endorsement No:        17                     Processed Date: 03/06/2017




                 By : Carl Bach
                 (Appointed Representative)



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    NAMED INSURED: Rochester Drug Cooperative, Inc.

    E998.2 Patient Protection and Affordable Care Act Penalties Sublimi




NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE EXEMPT FROM THE
FILING REQUIREMENTS OF THE NEW YORK STATE INSURANCE LAW AND REGULATIONS.
HOWEVER, THE FORMS AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
YORK INSURANCE LAW AND REGULATIONS.




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E998.2 Patient Protection and Affordable Care Act Penalties Sublimi                    Page 1 of 1

This endorsement modifies only the referenced terms and conditions of the Coverage Part(s)
selected below. All non-selected Coverage Part(s) and non-referenced terms and conditions of
the selected Coverage Part(s) remain unchanged.

        Declarations
        General Terms and Conditions
        D&O Coverage Part
        EPLI Coverage Part
X       FLI Coverage Part
        ELAW Coverage Part

In consideration of the premium charged, it is understood and agreed that the FLI Coverage Part
selected above is modified as follows:

 The following is added to the end of Clause II. Definitions, Paragraph M., “Loss”:
 Loss also means the civil money penalties imposed upon an Insured for an unintentional violation of
 the Patient Protection and Affordable Care Act, as amended, and any rules or regulations promulgated
 thereunder; provided, however, such civil penalties will be subject to a sublimit of $50,000 in the
 aggregate, which will be part of, and not in addition to, the Coverage Part Limit of Liability applicable
 to this FLI Coverage Part.




All other terms and conditions remain unchanged.




Endorsement effective: 03/08/2017              Policy No.:   UVA1901769.17
Endorsement No:        18                      Processed Date: 03/06/2017




                  By : Carl Bach
                  (Appointed Representative)




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